Case 3:22-cv-00406-HEH Document 1-1 Filed 05/31/22 Page 1 of 118 PageID# 6




                      Exhibit A
Case 3:22-cv-00406-HEH Document 1-1 Filed 05/31/22 Page 2 of 118 PageID# 7
                                                                    CT Corporation
                                                     Service of Process Notification
                                                                                                                  05/03/2022
                                                                                                     CT Log Number 541513477


 Service of Process Transmittal Summary

 TO:       Paul Bech
           Chubb
           436 Walnut St
           Philadelphia, PA 19106-3703

 RE:       Process Served in Virginia

 FOR:      ACE American Insurance Company (Domestic State: PA)


 ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

 TITLE OF ACTION:                        IDA CASON CALLAWAY FOUNDATION, INC. vs. ACE AMERICAN INSURANCE COMPANY

 CASE #:                                 760CL2200107400

 NATURE OF ACTION:                       Insurance Litigation

 PROCESS SERVED ON:                      C T Corporation System, Glen Allen, VA

 DATE/METHOD OF SERVICE:                 By Process Server on 05/03/2022 at 04:26

 JURISDICTION SERVED:                    Virginia

 ACTION ITEMS:                           CT has retained the current log, Retain Date: 05/04/2022, Expected Purge Date:
                                         05/09/2022

                                         Image SOP

                                         Email Notification, Incoming Legal incominglegal@chubb.com

 REGISTERED AGENT CONTACT:               CT Corporation System
                                         4701 Cox Road
                                         Suite 285
                                         Glen Allen, VA 23060
                                         800-448-5350
                                         MajorAccountTeam1@wolterskluwer.com



 The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion,
 and should not otherwise be relied on, as to the nature of action, the amount of damages, the answer date, or any other
 information contained in the included documents. The recipient(s) of this form is responsible for reviewing and interpreting the
 included documents and taking appropriate action, including consulting with its legal and other advisors as necessary. CT
 disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be
 contained therein.




                                                                                                                       Page 1 of 1
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                                                                    Wolters Kluwer

                           PROCESS SERVER DELIVERY DETAILS



Date:                                     Tue, May 3, 2022
Server Name:                              Drop Service




 Entity Served               ACE AMERICAN INSURANCE COMPANY

 Case Number                 760CL2200107400

 J urisdiction               VA



                                               Inserts




             11 I I I II
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                             COMMONWEALTH OF VIRGINIA




                                     RICHMOND CITY CIRCUIT COURT
                                             Civil Division
                                        400 NORTH 9TH STREET
                                         RICHMOND VA 23219


                                                Summons


        To: ACE AMERICAN INSURANCE COMPANY                               Case No. 760CL22001074-00
            C/O REGISTERED AGENT
            C T CORPORATION SYSTEM
            4701 COX ROAD #285
            GLEN ALLEN VA 23060


        The party upon whom this summons and the attached complaint are served is hereby notified
        that unless within 21 days after such service, response is made by filing in the clerk's office
        of this court a pleading in writing, in proper legal form, the allegations and charges may be
        taken as admitted and the court may enter an order,judgment, or decree against such party
        either by default or after hearing evidence.
        Appearance in person is not required by this summons.

        Done in the name of the Commonwealth of Virginia on,Tuesday, April 26, 2022

        Clerk of Court: EDWARD F JEWETT

                                by
                                                              EPUTY CLERK)

   Instructions:



Hearing Official:




                    SPALDING, HENRY C; III
Attorney's name:
                    100 SHOCKOE SLIP
                    RICHMOND,VA
                    804649-7545
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 VIRGINIA:

                   IN THE CIRCUIT COURT FOR THE CITY OF RICHMOND

 IDA CASON CALLAWAY FOUNDATION,INC.,

                 Plaintiff,

                                                                      Case No.: C.L        .-..1019-
 ACE AMERICAN INSURANCE COMPANY,

                         Defendant.


                                           COMPLAINT

          Comes now the plaintiff, Ida Cason Callaway Foundation, Inc.("Callaway"), by counsel,

 pursuant to Virginia Code Section 8.01-184 and otherwise, and states the following as its

 complaint seeking declaratory judgment and for monetary damages:

          1.     This action is brought, in part, to determine the presence or absence ofinsurance

 coverage available to Callaway for business interruption losses it has incurred, and which it

 continues to incur, which Callaway contends are covered by an insurance policy, policy number

 GPA D42219174 003 ("the Policy"), issued by defendant ACE American Insurance Company

("ACE"). A copy of relevant parts ofthe Policy are attached hereto as Exhibit A and are

 incorporated by reference herein. By endorsement, Callaway is a named insured under the

Policy.

          2.     At all times relevant to this action, Callaway is and has been a non-profit

corporation organized under the laws of the State of Georgia and having its principal place of

 business located in Pine Mountain, Georgia. At all times relevant herein, Callaway has owned

and operated a resort located in Georgia known as Callaway Gardens Resort("Callaway

Gardens").
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         3.     On information and belief, ACE is a property and casualty insurance company

 licensed to do business in the Commonwealth of Virginia.

         4.     Beginning in March of 2020, Georgia Governor Brian Kemp issued a number of

 executive orders, including Executive Orders 03.23.020.01, 04.02.20.01 and 04.08.20.04, which,

 among other things, limited capacity at Callaway Gardens' numerous attractions and otherwise

 interrupted business at Callaway Gardens, partially closing its operations while these orders were

 in effect.

         5.     The Policy, at Section 20, contains extensions of the Policy's business

 interruption coverage which states, in relevant part, the following:

 20. EXTENSIONS OF BUSINESS INTERRUPTION
 COVERAGE
 This Policy, subject to all its provisions and without
 increasing the amount of said Policy, insures against loss,
 Business Interruption, Extra Expenses, Expense to Reduce
 Loss, Soft Costs, Rental Value, Rental Income, Royalties and
 Leasehold Interest (collectively,"Contingent Business
 Interruption") resulting from the perils insured against, to
 the following:
 ***

 h)Loss of Attraction - This Policy is extended to insure loss
 as insured hereunder, including Clean Up and Remediation,
 when there is an interruption or interference with the
 business of the Insured as a consequence of:
 1. Infectious or contagious disease manifested by any person
 while on the premises of the Insured and access to such
 location is limited, restricted or prohibited by an order of an
 authorized governmental agency regulating the actual not
 suspected presence of communicable disease.
 However, this coverage will not apply to any losses
 sustained from an event arising from the 2019 Coronavirus
(COVID-19).
 ***
 4. Closing of the whole or part of the Covered Property of
 the Insured by order of a public authority consequent upon


                                                  2
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 the existence or threat of hazardous conditions either actual
 or suspected at the Covered Property of the Insured.

        6.       Callaway incurred losses which it estimates to be in excess of the $1,000,000.00

 business interruption coverage limit set forth in the Policy because Callaway was forced to close

 a part of its business by order of a public authority (Governor Kemp's executive orders discussed

 above)consequent upon the threat of hazardous conditions suspected at Callaway Gardens, a

 Covered Property under the Policy.

        7.       ACE has denied Callaway's loss of attraction/business interruption claim, per

 correspondence dated September 15, 2021, and October 15, 2021, attached hereto, collectively,

 as Exhibit B.

                           COUNT ONE DECLARATORY RELIEF:

        8.       Callaway incorporates by reference herein the allegations set forth in paragraphs 1

 through 7 of this complaint as if fully set forth herein.

        9.       The Policy affords coverage to Callaway under Section 20(h)(4), cited above,for

 losses it incurred as a result of the partial closure of Callaway's covered property by order of a

 public authority consequent upon the threat of hazardous conditions suspected at Callaway

 Gardens.

         10.     ACE has unreasonably denied Callaway's claim.

         1 1.    No valid exclusion found in the Policy would serve to defeat coverage. Callaway

 has complied with all material terms and conditions contained in the Policy.

         12.     A justiciable controversy ripe for adjudication exists between the parties because

 ACE has denied Callaway's claim.

        WHEREFORE,the plaintiff, Ida Cason Callaway Foundation, Inc., by counsel, moves

this Court for entry of an order declaring that:



                                                   3
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       (a)     ACE is obligated to pay plaintiffs insurance claim made under Section 20(h)(4)

 ofthe Policy; and

      (b)       Any other relief the Court may deem appropriate.

                          COUNT TWO — BREACH OF CONTRACT:

        13.    Callaway incorporates by reference herein its allegations set forth in paragraphs 1

through 12 of this complaint as if fully set forth herein.

        14.    Callaway has paid all premiums and otherwise complied with all requirements

under the Policy prior to bringing this lawsuit.

        15.    ACE has materially and substantially breached its contract of insurance (that is,

the Policy) by refusing to pay plaintiffs insurance claim.

        16.    Callaway has been damaged as a result of ACE's breach of contract in an amount

in excess of the Policy's $1,000,000.00 limit for business interruption claims.

       WHEREFORE,the plaintiff, Ida Cason Callaway Foundation, Inc., by counsel, moves

this Court for entry ofjudgment in the amount of $1,000,000.00, plus prejudgment and post-

judgment interest and costs, and for any other relief the Court may deem appropriate, under

Count Two of this complaint.

       Trial by jury is demanded.




                                                   4
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                                          IDA CASON CALLAWAY FOUNDATION,INC.,




 Henry C. Spalding, III, Esq.(VSB No. 34382)
 John P. O'Herron, Esq.(VSB No. 79357)
 ThompsonMcMullan,P.C.
 100 Shockoe Slip
 Richmond, VA 23219-4140
 Telephone: 804-649-7545
 Facsimile: 804-780-1813




                                               5
     Case 3:22-cv-00406-HEH Document 1-1 Filed 05/31/22 Page 10 of 118 PageID# 15


     •
  C HUBB'
                                                                                                  Renewing or in lieu of   D42219174 002
 ACE American Insurance Company
 436 Walnut Street                                                                             POLICY NO: GPA D42219174 003
 Philadelphia PA 19106
                                                                   DECLARATIONS

                                                                                                       Service Office: NYU Agency No: 272066
, hsured:         Resort)fOtel Association Inc.                             Agent/Broker:             ALLIANTIN$URANCE•.SERVICES
  Address:        2100 E Cary St FL 3                                       Address:                  140 EAST 45TH STREET
                  Richmond VA 232237270                                                               SUITE6B
                                                                                                      NEW YORK NY 10017

Policy Period: From March 08,2020 at 12:01 A.M., to March 08,2021 at 12:01 A.M. Standard Time at the location of
propertyinsured.
To the extent that coverage in this policy replaces coverage in other policies terminating at noon standard time on the inception date of this policy,
coverage under this policy shall not become effective until such other coverage has terminated.
The insurance afforded is:Ohltwith'resPettito the aPeCifiO Part andtoVeraget•therein, the full title of which is set forth below the caption Form
     PERILS               COVERAGE                  FORM                             LIMITS OF INSURANCE                              "PREMIUM""
    INSURED               PROVIDED
     All Risk           Property                 AS PER              $3,750,000 part of $2000,000-excess of various
                        DamagefTime            MANUSCRIPT            deductibles
                        Element                 WORDINGS
                                                ATTACHED




 AGENT/BROKER:ALLIANT INSURANCE SERVI                                                                                   TOTAL

  Endorsements attached to policy at inception: See Attached Schedule of Endorsements and Notices AGP-46572
 (08/15)

 Surcharges at inception":




 Signature of Licensed Agent (if required)                                                                            0;1'

                    .


 This Declaration and Form(s), with Policy Standard Conditions and Endorsements, if any, issued to form a part
 thereof, completes the above numbered policy.




                                                                                                                             Chubb.Insuredr
UW6033B                                                                                         EXHiBiT                             March 24,2020
                                                                                    t                 1               1
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                        Schedule of Endorsements and Notices

 Endorsement 1                      Biological Or Chemical Materials Exclusion
 Endorsement 2                      Occurrence Limit Of Liability Endorsement
 Endorsement 3                      Combined Millennium Endorsement
 Endorsement 4                      Electronic Data Endorsement A
 Endorsement 5                      Mold, Mildew & Fungus Clause And Microorganism Exclusion
                                   (Map)(Time Limit & Sublimit)
 Endorsement 6                      Pollution, Contamination, Debris Removal Exclusion Endorsement
 Endorsement 7                      Office Of Foreign Assets Control(OFAC)Disclosure Notice
 Endorsement 8                      Leader Clause — New Aquisitions/Deletions
 Endorsement 9                      Upgrade To Green — Commercial Endorsement
 Endorsement 10                     Loss Payees Endorsement - Special Term
                                    Summary Schedule Of 2020 Member Deductibles
 MS-296553(03/20)                   Policy Change Endorsement
 AGP-33235b(08/15)                  Terrorism Exclusion
 AGP-45216(01/15)                   Exclusion of Certified Acts of Terrorism
 TRIA15d (01/15)                    Policyholder Disclosure Notice Of Terrorism Insurance Coverage
 AGP-33209(12/17)                   Biological, Chemical or Nuclear Exclusion
 AGP-33210a(7/19)                   Capping Of Limits Endorsement
 AG P-33229(02/11)                  Political Risk Exclusion
 AGP-33233a(06/17)                  Products Recall Exclusion
 AGP-43955(05/16)                   Certificates of Insurance Endorsement
 AGP-43956(09/14)                   Contingent Time Element Deductible Endorsement
 AGP-43957(09/14)                   Global Program Solutions Endorsement
 AGP-48925a(01/18)                  Lender's Loss Payable Endorsement
 AGP-52327(07/19)                   Virginia Changes — Cancellation And Nonrenewal
 IL N 106(09/03)                    Virginia - Fraud Statement
 Benefit Level                      Applicable State Amendatory Provisions
 AGP-33227(06/19)                   Notification of Claims
 AGP-33236a(09/14)                  Trade Or Economic Sanctions Notice
 ALL 20887(10/16)                   Chubb Producer Compensation Practices & Policies
 IL P 001 01 04                     U.S. Treasury Departments' Office of Foreign Assets Control
                                   ("OFAC")Advisory Notice to Policyholders
 CC-1K11h (03/14)                  Signatures




AGP-46572(08/15)                                                                           Page 1 of 1
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              Property / Boiler & Machinery Policy

                12 Months Effective March 8,2020
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                                  Resort Hotel Association Property Policy — March 8. 2020

   Capitalized terms used in this Policy have the meanings ascribed to them herein.

   1.      NAMED INSURED
           This Policy does insure Resort Hotel Association, Inc. hereafter referred to as the "Insured."


   2.      TERM OF INSURANCE
           In consideration of an annual premium of USD             (100%)annual,(a minimum and deposit
           premium applies) this Policy attaches and covers for a period of one year from March 8, 2020 to
           March 8, 2021, beginning and ending at 12:01 A.M. standard time,(the "Policy Year") at the location
           of the property identified on a Loss Payee Endorsement. It is agreed that the actual effective time of
           attachment of this insurance on the above date shall be the same time on the above date as the
           actual effective time of cancellation or expiration of the Policy(ies) replaced or renewed by this
           Agreement


   3.      PARTICIPATION
           This Policy covers for 15% being USD 3,750,000 part of Primary USD 25,000,000 excess of
           deductible interest in this insurance, and notwithstanding anything to the contrary in this Policy, the
           undersigned insurance company(the "Company")shall not be liable for more than this proportion of
           the Limits of Liability as specified in Clause 4.


  4.       LIMITS OF LIABILITY
           This Company shall not be liable for more than its proportion of USD 300,000,000 per Occurrence,
           except for the program sublimits detailed below. W hen a program sublimit of liability is shown as
           applying in the annual aggregate, this Company's maximum limit of liability will not exceed
           its proportion of such sublimit during any Policy year regardless of the number of locations
           and coverage(s) involved. The total amount to be indemnified under this Policy shall not exceed
           the overall limit of USD 300,000,000. In all cases, the following sublimits are part of, and
           not in addition to the overall Policy limit, and shall apply unless the applicable Loss
           Payee Endorsement states that such sublimits are superseded.

          PROGRAM SUBLIMITS:


                            USD 300,000,000           per Occurrence as respects Named Windstorm,as defined
                                                      herein,to locations in Tier 1 Windstorm Counties as per
                                                      Appendix #1 herein
                            USD 300,000,000           per Occurrence and in the annual aggregate as respects
                                                      the peril of Flood for locations wholly or partially within the
                                                      Special Flood Hazard Areas as defined herein.
                            USD 300,000,000           per Occurrence and in the annual aggregate as respects
                                                      Earth Movement in Earthquake Zones as listed in
                                                      Appendix #2 herein.
                            USD 10,000,000            per Occurrence and in the annual aggregate as respects
                                                      Earth Movement in California as respects locations in
                                                      which Loss Payee Pebble Beach Company and its
                                                      corporate subsidiaries and affiliates have an identified
                                                      interestspecifically included in a Loss Payee
                                                      Endorsement; otherwise,




                                                             1
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                       Resort Hotel Association Property Policy — March 8, 2020

                                            unless specifically endorsed hereon,or as appearing
                                            within a Loss Payee Endorsement, Earth Movement in
                                            California is excluded.
                   USD 100,000,000          per Occurrence as respects Accounts Receivable
                   USD 50,000,000           per Occurrence as respects Brands or Trademarks
                   USD 100,000,000          per Occurrence as respects Demolition and Increased
                                            Cost of Construction
                   USD 100,000,000         per Occurrence as respects Civil Authority occurring within
                                           5 miles of Insured's location, not to exceed 60 consecutive
                                           days
                   USD 100,000,000         per Occurrence as respects Ingress!Egress occurring
                                           within 5 miles of Insured's location, not to exceed 60
                                           consecutivedays
                   USD 100,000,000         per Occurrence as respects Contingent Business
                                           I nterruption for Tier 1 Suppliers or Customers, except USD
                                           25,000,000for Tier 2 Suppliers or Customers
                   USD 100,000,000         per Occurrence as respects Extra Expense
                   USD 100,000,000         per Occurrence as respects Fine Arts
                   USD 100,000,000          per Occurrence as respects Leasehold Interest
                   USD 100,000,000         per Occurrence as respects Rental Value and Rental
                                           Income
                   USD 100,000,000         per Occurrence as respects Off Premises Power/Period of
                                           Service Interruption,except$250,000 per Occurrence loss
                                           or damage resulting from an Accidental Occurrence as
                                           defined herein (not to exceed 30 days)
                   USD 50,000,000          per Occurrence as respects Valuable Papers & Records
                   USD 100,000,000         per Occurrence as respects Boiler & Machinery Accident,
                                           except:

                                           USD 25,000,000 per Occurrence as respects Off Premises
                                           Property Damage as a result of a boiler and machinery
                                           accident

                                           USD 25,000,000 per Occurrence as respects Contingent
                                           Business Interruption as a result of a Boiler and Machinery
                                           Accident

                                           USD 12,500,000 per Occurrence as respects perishable
                                           goods as a result of a Boiler and Machinery Accident

                                           USD 25,000,000 per Occurrence as respects Expediting
                                           Expense as a result of a Boiler and Machinery Accident

                                           USD 5,000,000 per Occurrence as respects Hazardous
                                           Substance as a result of a Boiler and Machinery Accident

                                           USD 1,000,000 as respects Data Restoration,
                                           Replacement,and Research as a result of a Boiler and
                                           Machineryaccident
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                        Resort Hotel Association Property Policy — March 8, 2020

                                             USD 1,000,000 as respects Soft Costs as a result of a
                                             Boiler and MachineryAccident

                   USD 50,000,000            per Occurrence as respects Errors & Omissions



                   USD 10,000,000 per Occurrence and in the annual aggregate as respects
                                     the application of the Mold, Mildew & Fungus Clause and
                                     Microorganism Exclusion.
                   The greater of 25% of loss or USD 20,000,000 per Occurrence as respects
                                          Debris Removal. This sublimit does not apply to Plants,
                                          Trees, Shrubs, Lawns & Golf Courses.
                   USD 25,000,000            per Occurrence for Builders Risks for Property Damage
                                            and Business Interruption combined. However,this
                                            sublimit shall not apply to additions, improvements,
                                             renovations,alterations, or repairs to existing structures.
                                            (This sub-limit does not apply to Property Damage and
                                             Business Interruption losses to existing propertythat result
                                            from a covered Builders Risk loss)
                   USD 25,000,000            per Occurrence as respects Tax Liability
                   USD 25,000,000            per Occurrence as respects Coinsurance Deficiency
                   USD 25,000,000           per Occurrence as respects currency devaluation
                   USD 25,000,000           per Occurrence as respects Tenants & Neighbors Liability
                   USD 25,000,000           per Occurrence as respects Tax Treatment of Profits
                   USD 5,000,000            per Occurrence as respects Beach Improvements subject
                                            to a maximum of $2,500,000 per Loss Payee
                                            Endorsement as respects beach and sand
                                            replacement/reclamationper Occurrence
                   USD 10,000,000           per Occurrence for Automatic Acquisitions(90-day
                                            reporting)
                   USD 10,000,000           per Occurrence for Property Damage and Business
                                            Interruption combined as respects Plants,Trees, Shrubs,
                                            Lawns & Golf Courses,including resultant Debris Removal
                                            not to exceed USD 5,000 any single Plant, Tree, Shrub or
                                            Lawn whether on or off a golf course or USD 550,000 per
                                            Golf Course hole
                                            The term "Lawn" does not apply to golf course tees,
                                            greens orfairways.
                                            Debris Removal included up to 25 feet beyond the tree line
                                            from where natural growth commences. Replacement of
                                            Plants, Trees, and Shrubs in the area excluded.
                   USD 5,000,000            per Occurrence as respects Attraction Properties within
                                            three miles of the Insured's premises
                   USD 5,000,000            per Occurrence as respects Miscellaneous Unscheduled
                                            Locations
                   USD 5,000,000            per Occurrence as respects Architects Fees & Engineering
                                            fees
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                        USD 5,000,000 per Occurrence and annual aggregates as respects
                                          Pollutant and Contaminant Clean Up and Removal of land
                                          and water on Insured property
                        USD 5,000,000             per Occurrence as respects Use of Water
                        USD 5,000,000             per Occurrence as respects property in transit
                        USD 5,000,000             per Occurrence and in the annual aggregate as respects
                                                  Upgrade To Green - Commercial Endorsement
                        USD 2,500,000             per Occurrence as respects Soft Costs. However,this
                                                  sublimit shall not apply to additions, improvements,
                                                  renovations,alterations, or repairs to existing structures.
                        USD 1,000,000             per Occurrence, but not to exceed USD 3,000,000 in the
                                                  aggregate as respects Loss of Attraction
                        USD 250,000               per Occurrence,as respects Loss Adjustment Expenses
                        USD 250,000               per Occurrence as respects Fire Brigade Charges/Fire
                                                  Extinguishing Materials and Expenses
                        USD 100,000               per Occurrence as respects Guest and 3rd Party Property
                                                  while on the Insured's premises
                        USD 250,000               per Occurrence as respects Guest Relocation Expenses
                        USD 25,000                per Occurrence and USD 50,000 in the annual aggregate
                                                  as respects Arson/Theft Reward
                        USD 25,000,000            Electronic Data Endorsement A NMA 2914(Amended)—
                                                  Endorsement#4
                        USD 1,000,000             per Occurrence as respects to Data Restoration to be
                                                  added to Endorsement#4
                        Stated Value for Other Land Improvements



        DEDUCTIBLE
        For the purposes of applying the Resort Hotel Association, Inc. Member's deductibles, which are
        stated below in this Clause 5 or, if different from the amounts stated below in this Clause 5, are
        listed in the applicable Loss Payee Endorsement (the "Member's Deductibles"), all losses,
        damages and expenses arising out of any one Occurrence shall be adjusted as one loss at
        any location or locations listed on the applicable Loss Payee Endorsement. From the amount of
        such adjusted loss shall be deducted the Members' Deductible, plus the difference between
        the Member's Deductible and USD 500,000 (the "Per Occurrence Deductible") such difference,
        plus loss adjustment expenses shall be paid by the Resort Hotel Association, Inc. for each
        Occurrence until an aggregate deductible of USD 1,000,000 for the Policy Year (the "Aggregate
        Deductible") has been paid by the Resort Hotel Association, Inc.

        Only the difference between the Member Deductible and the Per Occurrence Deductible plus loss
        adjustment expenses, shall reduce the Aggregate Deductible. Losses from the perils of Loss of
        Attraction, Flood, Earth Movement, Earthquake Shock, and Named W indstorm shall be subject
        only to the Member's Deductible and not to the Per Occurrence Deductible, nor shall these losses
        contribute to the exhaustion of the Aggregate Deductible.

        Once the Aggregate Deductible is exhausted, the applicable deductible will only be the Member's
        Deductible. In all cases, the following minimum deductibles shall apply unless the Loss Payee
        Endorsementstates different minimum deductibles.

            USD 25,000 per Occurrence except:

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              USD 100,000 per Occurrence for all losses involving Beach Improvements, and Other Land
              I mprovements,except:

                       USD 500,000 as respects loss or damage from Named Windstorm to such property
                       located in the Tier 1 Counties as listed in Appendix 1 of this Policy.

                       USD 500,000 for the peril of Flood in Special Flood Hazard Areas as defined herein


              USD100,000 per Occurrence for loss or damage involving plants, trees, shrubs, lawns or golf
              courses including, resultant debris removal,except:

                      USD 500,000 per Occurrence as respects loss or damage from Named Windstorm to
                      such property located in the Tier 1 Counties as listed in Appendix 1 of this Policy.

                       USD 500,000 as respects the peril of Flood in Special Flood Hazard Areas as defined
                       herein.

              Service Interruption, Interruption by Civil or Military Authority, Ingress/Egress — 24 hour waiting
              period. If the period of interruption exceeds this waiting period, the applicable peril deductible
              which is stated on the individual Loss Payee Endorsement is then applied to the amount of
              loss sustained for the entire period of interruption, commencing with the time and date of the
              initial interruption. If the period of interruption is less than the waiting period, there shall be no
              liability under this Policy


              USD 100,000 per Occurrence for Loss of Attraction or the all-risk deductible shown on the
              Loss Payee Endorsement, whichever is greater.

              USD 25,000 per Occurrence as respects Preservation of Property from Named Windstorm to
              such property located in the Tier 1 Counties as listed in Appendix 1 of this Policy.

              30 Day Waiting Period as respects Delayed Opening.

              The all risk deductible shown on the Loss Payee Endorsement, or a minimum of USD
              25,000 any one Occurrence(whichever is greater)as respects Terrorism.

          The following additional provisions applyto Deductibles:

     a.   If two or more deductible amounts in this Policy apply to a single Occurrence that involves multiple
          perils (or causes of loss) with differing deductibles, the total to be deducted shall not exceed the
          amount of the largest individual deductible pertaining to any one of the perils (or cause of loss)
          involved in the Occurrence. This subsection 5.a. does not apply in the instance of Plants, Trees,
          Shrubs and Lawns, and Golf Courses, Earth Movement; Earthquake Shock, and SFHA Flood, and
          Tier I Windstorm/Named Windstorm where the deductibles are applied separately by unit of
          insurance as per Loss Payee Endorsement).

                          However, in the event a single Occurrence involves multiple Resort Hotel
                          Association, Inc. members' locations and/or properties that are damaged by the
                          same peril or cause of loss and in which the applicable deductibles vary by location
                          and/or insured property, each differing deductible shall be applied separately to
                          the Insured's respective locations and/or properties or as further defined as per
                          Loss Payee Endorsement.

                       ii. If a single Occurrence involves both multiple perils with differing deductibles, and
                           also involves multiple locations or properties to which differing deductibles

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                              pertaining to the same peril apply separately to such locations or properties, then
                              only the higher of the two deductibles shall apply to the entire Occurrence or as
                              further defined in Loss Payee Endorsement.

                          iii. In any Occurrence where loss or damage is caused by more than one peril insured
                               against under this Policy, the Insured shall have the right to separate the loss
                               amount by peril for the purposes of application of the deductible(s) specified in this
                               section, notwithstanding the above.

                          iv. The deductible amounts specified above shall not apply to general average
                              contributions and salvage charges.

       b. If Other Insurance applies to the same property as insured hereunder, and to the extent recovery
          is made from such other insurance, the deductible under this Policy shall be reduced by such
          recovery, but in no event shall the deductible under this Policy be less than shown in the Policy. If
          recovery from such other insurance is greater than the deductible in this Policy, then the deductible
          under this Policy shall not apply.

       c.    Wherein a Loss Payee Endorsement refers to a percentage deductible of the value, per unit of
             insurance, this deductible shall apply only to those units of insurance suffering a loss in the
             Occurrence. Furthermore, this deductible shall not apply to ensuing loss or damage caused by or
             resulting from fire, explosion and/or sprinkler leakage.

                     The amount of the deductibles above shall be determined by applying the above
                            percentages,separatelyto each of the following units of insurance:

                    (1)       Each building or structure, not including the value of its foundations, which has
                              sustained loss or damage:
                    (2)       Personal property within each structure if that personal property sustains loss or
                              damage;
                    (3)       Personal property in the open that sustains loss or damage;
                    (4)       The Business Interruption values impacted by the direct loss or damage to said
                              property that sustains loss or damage.

                    The values to be used when calculating the deductibles for each unit of insurance shall be
                    determined at the time of loss. Business Interruption values are to be determined for the
                    twelve (12) months following the date on which the loss occurs based upon the experience
                    of the business for the location(s) that was damaged had not Occurrence taken place.

       d. Wherein a Loss Payee Endorsement refers to a minimum deductible with respect to Named
          Windstorm, the stated minimum amount shall apply in total for all units of insurance per Occurrence,
          per each Loss Payee Endorsement.



  6.        LOSS PAY ABLE
            Loss, if any, shall be adjusted with arid payable to the Insured, or as directed by the Resort Hotel
            Association,Inc.


  7.        TERRITORY
            This Policy covers worldwide, except for Afghanistan, Angola, Bosnia-Herzegovina, Burma
            (Myanmar), Congo (The Democratic Republic Of Congo or formerly known as Zaire), Croatia,
            Cuba, El Salvador, Guam, Haiti, Iran, Iraq, Laos, Lebanon, Liberia, Libya, Nicaragua, North Korea,
            Serbia-Montenegro, Slovenia, Sudan, Syria, Zimbabwe, Yugoslavia and/or territories formerly
            known as Yugoslavia (the "Territory");


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             Furthermore, and notwithstanding the definition of coverage territory or anything else to the contrary
             no matter where located, if coverage for a claim under this Policy is in violation of any applicable
             economic, trade or other sanction or law, including without limitation any sanction administered or
             enforced by the U.S. Treasury Department's Office of Foreign Assets Control ("OFAC''), then
             coverage for that claim shall be null and void. The Territory includes coastal and inland waterways
             between points and places therein.The Territory does not include international waters.



   8.        COVEREDPROPERTY
             Except as hereinafter excluded,this Policycovers the interest ofthe Insured in all real and personal
             property owned, used, leased or intended for use by the Insured or in which the Insured may have
             an insurable interest, or for which the Insured may be responsible for the insurance, or real or
             personal property hereinafter constructed, erected, installed, or acquired including while in course
             of construction, erection, installation, and assembly, and also including Improvements and
             Betterments(collectively"Covered Property.") In the event of loss or damage,this Company agrees
             to accept and consider the Insured as sole and unconditional owner of Improvements and
             Betterments, notwithstanding any contract or lease to the contrary. This Policy is extended to
             include:

        a)       At the option of the Insured, the interest of the Insured in the real and personal property of
                 others in the Insured's care, custody, or control and the Insured's liability imposed by law or
                 assumed by written contract for such property, including the cost to defend any allegations of
                 liability for insured physical loss or damage to such property, but the Company may without
                 prejudice negotiate and settle any claim or suit as the Company deems expedient.
        b)       At the option of the Insured, personal property of the Insured's officials and employees while
                 on the Covered Property of the Insured.
        c)       Contractors' and/or subcontractors'(of any tier) and/or vendors' interests in Covered Property
                 to the extent of the Insured's liability imposed by law or assumed by contracts, whether written
                 or oral.
        d)       At the option of the Insured, the interest of the Insured's customers in property sold by the
                 Insured under conditional sale, trust agreement, installment plan or other deferred payment
                 plan including property, that is leased to customers under a lease/purchase agreement.
        e)       Real and personal property of others that, prior to the loss or damage, the Insured has agreed
                 to insure, including property not in the Insured's care, custody or control and at the Insured's
                 option the interest of the owner of such property.
        0        Property while in the course of construction and/or during erection, assembly and/or installation
                 on an already insured location but excluding golf courses while in the course of construction
                 unless otherwise endorsed herein.
        9)       Architects Fees and Engineering Fees with respect to Covered Property
        h)      Automatic Acquisitions — It is understood and agreed that this Policy is automatically extended
                to cover additional property and interests as described in this Policy and the existing Loss
                Payee Endorsements, which may be acquired or otherwise become at the risk of the Insured
                during the Term of this Policy, within the Territory of the Policy, subject to details of said
                property and interest with values to be provided to Underwriters for their consideration not later
                than 90 days from the said additional property and/or interests have become at the risk of the
                Insured, this Policy providing coverage automatically for such period of time. In the event
                reporting does not occur within 90 days, the Miscellaneous Unscheduled Location program
                sublimit shall apply.

                The terms,conditions, and pricing of all reported acquisitions greater than USD1 0,000,000 are
                to be established as per the Leader Clause— New Acquisitions/Deletions Endorsement #8.



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         )
         i        Guest Property — This Policy covers Personal Property of registered guests and other patrons
                  and customers of the Insured resort, while on Covered Property , provided such Personal
                  Property is not otherwise excluded by this Policy.
                     j)            Other Land Improvements - Defined as any alteration of the natural
                      condition of the land by grading, excavating, landscaping, the establishment of earthen
                      dikes or dams, as well as additions to land such as patios, retaining walls not affixed to a
                      building, pavements, roadways, parking lots, appurtenant lighting fixtures and signage,
                      fencing, bridges, ponds, stabilization vegetation, or similar works; including costs of
                      grading, excavation, landfill, earth moving expenses, and/or costs of soil, stone, and/or
                      other materials needed to support such reclamation, restoration, replacement, or repair,
                      and including demolition and increased cost of construction. Buildings, structures,
                      clubhouses, out buildings, maintenance buildings, equipment, and other similar structures
                      are not considered Other Land Improvements but are real and/or personal property
                      otherwise insured hereunder.
                      Beach Improvements are not considered Other Land Improvements and are otherwise
                      insured hereunder.
                      Landscaping, such as trees, lawns, or plants, and golf courses are not considered Other
                      Land Improvements,and are otherwise insured hereunder.



  9.         OFF-PREMISESPOWER
             This Policy, subject to all its provisions and without increasing the limit of said Policy, also insures
             against damage and/or loss, and/or Business Interruption due to damage or loss by the perils
             insured against, of any off premises utility, power station, substations, transformer or switching or
             pumping station, telecommunications, voice, data, video, and other utility and appurtenant
             equipment including, but not limited to, off premises poles, towers, transmission or distribution lines
             and reservoirs, furnishing electricity, steam, water, power or gas (collectively, "Off Premises
             Power")to Covered Property.

             It is further understood and agreed that this Policy, subject to all its provisions and without
             increasing the limit of said Policy, also insures against damage and/or loss, and/or Business
             Interruption due to damage or loss by an Accidental Occurrence as defined herein. Coverage
             under this section shall be limited to USD 250,000 per Occurrence, not to exceed 30 consecutive
             days.

             Coverage will apply when the Period of Service Interruption is in excess of the time shown as the
             waiting period as shown above. "Period of Service Interruption" shall mean the period starting with
             the time when an interruption of specific services occurs and ending when with due diligence and
             dispatch the service could be wholly restored.

             This Policy does not cover loss resulting from any Business Interruption as a result of interruptions
             involving a satellite/s.

   10.       PROPERTYEXCLUDED
             This Policy does not cover loss or damage to:
             a)      Currency, money, notes, securities, gold bullion, evidence of debt, except Accounts
                     Receivable as defined in the Policy; bills, notes or securities except as otherwise defined
                     in this Policy.
             b)      Land, except this exclusion does not apply to Other Land Improvements as defined and
                     insured under the Property Insured section of this Policy, nor as respects the coverage as
                     insured under the Pollutant and Contaminant Clean Up and Removal Clause of this Policy.
             c)      Water, except as insured under the Pollutant and Contaminant Clean Up and Removal
                     Clause,or when contained in anyform of piping system, processing system or holding tank


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                 or used in the manufacturing process. This exclusion shall also not apply to Clauses 20. b
                 and 20. f.
         d)      Live animals not used for research, unless otherwise endorsed hereon.
         e)      Growing crops and standing timber to be used for industrial processes unless otherwise
                 endorsed hereon.
                 Aircraft, watercraft over forty feet only while waterborne, and motor vehicles licensed for
                 highway use, except this exclusion shall not apply to contractor's equipment, property that
                 constitutes stock or is on exhibit or being repaired, nor barges or vessels while permanently
                 moored, nor gaming or other equipment or property of the Insured while located thereon.
                 Motor vehicles of guests and the contents therein are specifically excluded.
         g)      Export shipments after loading on board an overseas vessel or watercraft or after ocean
                 marine insurance attaches, whichever occurs first; and import shipments prior to discharge
                 from the overseas vessel or watercraft or until the ocean marine insurance terminates,
                 whichever occurs last.
         h)      Waterborne shipments via the Panama Canal and waterborne shipments to and from
                 Alaska, Hawaii, Puerto Rico and the Virgin Islands.
                 Plants, Trees, Shrubs and Lawns that are part of a golf course when Golf Course coverage
                 isexcluded.
                 Furs.
         k)      Jewelry, precious metals,and precious stones
         )
         I       Undergroundmining.
         m)      Transmission and distribution lines of every type and description; except when located on
                 the Covered Property or within one(1) mile thereof.
         n)      Offshore oil rigs, platforms and property contained therein or thereon.
         o)      Property within international waters.



   11.   PROPERTYVALUATION
         The basis of loss adjustment shall be as follows:
         a)      On buildings and structures, at the replacement cost new with materials of like kind and
                 quality; if not replaced, then at the actual cash value.
         b)      On machinery, equipment, furniture, fixtures and Improvements and Betterments at the
                 replacement cost new with materials of like kind and quality; if not replaced, then at the
                 actual cash value.
         c)      Valuable Papers & Records/Electronic Data Processing Media: the cost to repair or replace
                 the property with other of like kind and quality including the cost of labor, service or supplies
                 consumed in reconstructing, reproducing, recreating, transcribing or copying information;
                 or, if not so replaced, the value blank.
         d)      Raw materials and supplies: the replacement cost for new.
         e)      Stock in process: the value of raw materials and labor expended plus the proper proportion
                 of overhead charges.
                 Finished stock and other merchandise for sale: The regular cash selling price less all
                 discounts and charges to which such property would have been subject had no loss
                 occurred.
         g)      Electronic Data Processing Equipment, production machinery and all other equipment: the
                 cost to repair or replace new with like kind and quality, or at the Insured's option, the
                 Insured may elect to replace such equipment with equipment having technological

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             advances and/or representing an improvement in function and/or forming part of a program
             of system enhancement and/or more consistent with the Insured's technology strategy
             (without any reduction or offset for betterment) provided that such replacement cost can
             be accomplished without increasing the Company's liability. The Company shall be
             allowed to dispose of, as salvage, any non-proprietary property deemed unusable by the
              Insured.
        h)   Fine Arts owned by the Insured, or within its care, custody or control for which they are
             legally liable to insure, at the cost of reasonably restoring the property to its condition
             immediately prior to the loss, or in the event that the property cannot be restored at the
             appraised value prior to the loss. In absence of such appraisal, at the market value at the
             time of loss.
             With respect to properties that qualify for historical landmark status, as designated by the
             Local Register, National Register, National Landmark Register of Historical Places, or other
             local equivalent valuation shall be at Reproduction Cost, but not to exceed the actual costs
             that would have been incurred to comply with historical landmark status requirements.
             Reproduction Cost shall mean the cost to reproduce the damaged building or specific
             building features to the same design, decorative style and dimensions as existed at the
             time of loss, using same materials with respect to kind and quality. Substitution of materials
             and architectural features with those of like kind and quality will be required only if the same
             materials and features cannot be reasonably obtained.
             With respect to properties that do not qualify for historical landmark status, valuation for
             repair, rebuild or replacement shall be based on the quality of the Covered Property's
             m aterials, workmanship and design, but not to exceed the cost to restore the Covered
             Property to the condition that existed prior to the loss using materials, workmanship and
             design of like kind and quality without deduction for depreciation, obsolescence, or
             condition.
             Plants, Trees, Shrubs and Lawns, determined to be a total loss, whether located on or off
             a golf course, at the replacement cost of comparable and like kind and quality available
             nursery stock for Plants, Trees, Shrubs and Lawns; and for Plants, Trees, Shrubs and
             Lawns determined to be damaged but not a total loss, this company shall be liable for
             reasonable future care and maintenance of damaged plants, trees, shrubs and lawns for a
             period not to exceed one year from the date of loss. Care and maintenance will include but
             not be limited to pruning, trimming,fertilization and insect control.
        k)   Property of Others and property leased by the Insured, or for which the Insured has a legal
             obligation to insure, at the Insured's option either:
             )
             i       the replacement cost new with materials of like kind and quality or;
             ii)     the amount stipulated in the lease agreement or;
             iii)    the Insured's contractual or legal liability
             It is understood that following an insured loss the Insured may use its personnel to assist
             in the repair, replacement, and/or restoration of the lost or damaged property; and/or to
             make temporary repairs, and/or to expedite the repair or replacement of the damaged
             property, and/or to remove debris, and/or demolition, and/or clean up.
             It is expressly agreed that in the event of any covered loss under this Policy, the Company
             shall reimburse the Insured for such expenses incurred by the Insured in utilizing its
             employees, both hourly and/or salaried, in the performance of the above said damage
             related repair expenses.
             Such charges shall be calculated in accordance with the Insured's current payroll and/or
             salary payment practices, including, any payroll related expenses. Any amounts paid
             hereunder in respect to the application of this provision shall be deducted from the amount
             that may otherwise be payable under the Business Interruption and/or Extra Expense
             coverage of this Policy.


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        m)       Other Covered Property not otherwise provided for: at replacement cost new with materials
                 of like kind and quality without deduction for depreciation. If the Covered Property is not
                 repaired, rebuilt or replaced with similar property on the same or another site, the Company
                 shall not be liable for more than the actual cash value of the Covered Property damaged
                 or destroyed.
        n)       Other Land Improvements at the actual costs incurred to repair, replace, reclaim and/or
                 restore Other Land Improvements, including, grading, excavation, landfill, earth moving
                 expenses, and/or costs of soil, stone, and/or other materials needed to support such
                 reclamation, restoration, replacement, or repair, and including demolition and increased
                 cost of construction to exceed stated values on file with Resort Hotel Association, Inc. at
                 the time of loss.
        o)       Beach Improvements, other than plants, trees, shrubs, and lawns, at the actual costs
                 incurred to reclaim, restore, replace, and/or repair such Beach Improvements, including
                 grading excavating, landfill, earth moving expenses, and/or costs of soil, stone, and/or
                 other materials needed to support such reclamation, restoration, replacement, or repair,
                 and including demolition and increased cost of construction.
                Wine inventory: The lesser of replacement cost or selling price at time of loss. If selling
                price at time of loss is not documented, then Fair Market Value above any applicable
                deductible, meaning the dollar amount, at the time of the covered loss, that it would cost to
                replace the property (wine) with another similar age, quality, origin, appearance and
                condition within a reasonable length of time in an appropriate and relevant market.


        It is understood and agreed that as respects replacement cost new, the Insured shall have the
        option of replacing equipment having technological advantages and/or representing an
        improvement in function and/or forming part of program of system enhancement provided that such
        replacement can be accomplished without increasing the Company's liability.
        The Company's liability for loss or damage on a replacement cost basis shall not exceed the lesser
        of the replacement cost new of the property or any part thereof identical with such property intended
        for the same occupancy and use, including normal and customary profit and overhead even if the
        work is performed by the Insured; or the amount actually and necessarily expended in repairing or
        replacing said property or any part thereof including normal and customary profit and overhead
        even if the work is performed by the Insured.
        As respects 11.a., 11.b.,11g, 11.j., 11.m, 11.n. and 11.0., the Insured may elect not to repair or
        replace such damaged Covered Property, however, if loss settlement proceeds are expended on
        other capital expenditures related to the business activities of the Insured within two years from the
        date of loss, the lesser of the repair or replacement cost of such Covered Property will be paid. As
        a condition of collecting under this Clause, such expenditure must be unplanned as of the date of
        loss. This clause does not extend to Demolition and Increased Cost of Construction. Loss
        settlement on a replacement cost basis shall include Architect and Engineering Fees to the extent
        incurred as a result of a loss that would be payable under this Policy.

        Permission is granted for the Insured to replace the property with similar property at the same or
        another site within the territorial limits of the Policy, but recovery is limited to what it would cost to
        replace on same site.


  12.   BUSINESS INTERRUPTION
        a)      Business Interruption is defined as loss during the Period of Restoration due to the
                necessary interruption of business conducted by the Insured, including all
                interdependencies between or among companies owned or operated by the Insured
                resulting from direct physical loss or damage insured herein and occurring during the Term
                of this Policy to Covered Property.



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         b)       Such loss shall be adjusted on the basis of the actual loss sustained by the Insured,
                  consisting of the net profit that is prevented from being earned;

                                                              and

         c)      all charges and other expenses to the extent that these must necessarily continue during
                 the interruption of business, but only to the extent to which such charges and expenses
                 would have been incurred had no loss occurred.

         d)      In determining the amount of net profit, all charges, and other expenses hereunder for the
                 purposes of ascertaining the amount of the actual loss sustained, due consideration shall
                 be given to the experience of the business before the date of the loss or damage and to
                 the probable experience hereinafter had no loss occurred.

         e)      In the event of insured direct physical loss or damage to Covered Property that results in
                 an interruption of research and development activities, which in themselves would not have
                 produced income during the recovery period, this Policy shall insure the actual loss
                 sustained of the continuing charges and expenses, including Ordinary Payroll (unless
                 otherwise excluded on the Loss Payee Endorsement) and other payroll, directly
                 attributable to such research and development activities.


   13.   EXTRA EXPENSE
         This Policy shall cover Extra Expense, incurred by the Insured and caused by direct physical loss,
         damage, or destruction from any of the perils covered herein to real or personal property as covered
         herein. The term "Extra Expense" wherever used in this Policy, is defined as the reasonable and
         necessary expense incurred by the Insured that is excess (if any) of the total cost(s) incurred during
         the Period of Restoration, chargeable to the operation of the Insured's business, over and above
         the total cost(s) that would have normally have been incurred to conduct the business during the
         same period had no loss or damage occurred, including Soft Costs.
         a)      In the event of direct physical loss, damage, or destruction to Covered Property caused by
                 any of the perils covered herein which results in an interruption of research and
                 development activities, this Policy shall cover the actual loss sustained of the Extra
                 Expenses directly attributable to the interruption of such research and development
                 activities.
         b)      As soon as practicable, the Insured shall resume normal operations of the business and
                 shall dispense with such Extra Expense.


   14.   EXPENSE TO REDUCE LOSS
         This Policy is extended to cover expenses as are necessarily incurred for the purpose of reducing
         any loss under this Policy, but not to exceed the amount by which the loss covered by the Policy is
         therebyreduced.


  15.    SOFT COSTS
         This Policy shall cover necessary Soft Costs incurred by the Insured caused by direct physical loss,
         damage, or destruction to Covered Property by any of the perils covered herein during the Term of
         this Policy.
         a)     Soft Costs is defined as those expenses related to the delay of completion of a project
                over and above those costs that would have been incurred to complete the project if no loss
                had occurred, including but not limited to additional:
                )
                i        interest costs on money used to finance construction or repair;
                 ii)     real estate and property taxes incurred;

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              iii)    legal and accounting fees; and
              iv)     advertising and promotional expenses, which become necessary as a result of an
                      insured loss.
         b)   The Company shall pay Soft Costs incurred from the date that the building, structure or
              improvement would have been completed had no physical damage occurred until such time
              that it is completed. As soon as practicable after any loss, the Insured shall utilize every
              available means to reduce the amount of loss including:
              )
              i       partial or complete resumption of construction, business or operations;
              ii)     making use of materials, equipment, supplies, or other property at the Insured's
                      Covered Property or elsewhere;or
              iii)    making use of substitute facilities or services where practical;
              such reduction will be taken into account in arriving at the amount of such loss.

         c)   This Policy insures the interest expense necessarily incurred by the Insured in effecting
              repairs to the damaged Covered Property, from the date of the Insured's payment to others
              until payment of the loss by the Company. The prime-lending rate of the Insured's bank
              will apply.


   16.   RENTALVALUE/RENTAL INCOME

              This Policy provides coverage for loss of Rental Income and/or loss of Rental Value of the
              Insured caused by direct physical loss or damage insured herein occurring during the term
              of this Policy to Covered Property rented, leased or occupied by the Insured and/or rented
              or leased by the Insured to others.

              Rental Income means the following:

                           a. the total anticipated gross rental income from tenant(s) of the Insured's
                              building(s)and structure(s);

                           b. the amount of all charges assumed by tenant(s) except those charges that
                              do not continue, and would otherwise be obligations of the Insured;

                           c. the fair rental reasonably expected from unrented portions of such
                              property and the fair rental for that portion occupied by the Insured.

              Rental Value means the following:

                           a. Rental Income Insurance in those situations where the Insured is required
                              under a lease or rental agreement to maintain insurance for loss of rental
                              income on behalf of any landlord.

                           b. Rental expenses incurred by the Insured in excess of the expenses that
                              would have been incurred had a leased or rented Covered Property not
                              been damaged or destroyed by perils insured hereunder; such coverage
                              will apply for all additional expenses incurred during the period of
                              untenantability or if the lease cannot be terminated until its expiration.

              Experience of the Businesv.

                          a, In determining the amount of Rental Value and/or Rental Income covered
                             hereunder for the purposes of ascertaining the amount of loss sustained,
                             due consideration shall be given to the rental experience before the date

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                                        of damage or destruction and to the probable experience hereinafter had
                                        no loss occurred to the Covered Property.

                               b. With respect to alterations, additions, and property while in the course of
                                  construction, erection, installation, or assembly, due consideration shall
                                  be given to the available rental experience of the business after completion
                                  of the construction,erection,installation, or assembly.

                   Period of Restoration:

                   The Company shall pay only for loss of Rental Income or loss of Rental Value occurring
                   during the Period of Restoration.


   17,.   ROYALTIES
          This Policy shall cover the loss of income to the Insured under royalty, licensing fees, or commission
          agreements between the Insured and another party that is not realizable due to direct physical loss,
          damage or destruction by any of the perils covered herein during the term of this Policy to property
          of the other party, which is of a type not excluded by this Policy.
              a. Any loss hereunder shall be adjusted on the basis of the actual loss sustained to such
                 income referred to in the paragraph immediately above, which would have been earned
                 had no loss occurred.
              b. Resumption of Operations: The Insured shall influence, to the extent possible, the party
                 with whom the agreement described above has been made to use any other machinery,
                 supplies or locations in order to resume business so as to reduce the amount of loss
                 hereunder and the Insured shall cooperate with that party in every way to effect this, but
                 not financially, unless such expenditures shall be authorized by this Company.
              c.   Experience of the Business: In determining the amount of income derived from the
                   agreements(s) described in the first paragraph of this Clause above for the purposes of
                   ascertaining the amount of loss sustained, due consideration shall be given to the amount
                   of income derived from such agreement(s) before the date of damage or destruction and
                   to the probable amount of income hereinafter had no loss occurred.



   18     LEASEHOLDINTEREST
                a. This Policy provides coverage for the leasehold interest of the Insured.

                           The Company will pay its pro rata proportion from the date of loss to expiration
                           date of the lease(to be paid without discount) on the Insured's interest in:

                                       the amount of bonus paid by the Insured for the acquisition of the lease
                                       not recoverable under the terms of the lease;

                               ii.     improvements and betterments to real property that are not covered under
                                       any other section of this Policy;

                               iii. the amount of advance rental paid by the Insured and not recoverable
                                    under the terms of the lease;

                                       when property is rendered wholly or partially un-tenantable by any covered
                                       loss during the term of this Policy and the lease is canceled by the party
                                       not the Named Insured or Loss Payee under this Policy in accordance with
                                       the conditions of the lease or by statutory requirements of the
                                       appropriate jurisdiction in which the damaged or destroyed property is
                                       located;and
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                  b. The Interest of the Insured as Lessee or The Interest of the Insured as Lessor, when
                  property is rendered wholly or partially un-tenantable by any covered loss during the term
                  of this Policy and the lease is canceled by the party not the Named Insured or Loss Payee
                  by this Policy in accordance with the conditions of the lease or by statutory
                  requirements of the appropriate jurisdiction in which the damaged or destroyed
                  property is located.

                      The Interest of the Insured as Lessee or The Interest of the Insured as Lessor as
                      referred to herein shall be paid for the first three months succeeding the date of the
                      loss and the Net Lease Interest shall be paid for the remaining months of the
                      unexpired lease.

                 c. Definitions:

                      The following terms, wherever used in this section shall mean:

                                         (i)   The Interest of the Insured as Lessee is defined as:

                                      A. the excess of the rental value of similar premises over the actual
                                         rental payable by the lessee (including any maintenance or
                                         operating charges paid by the lessee) during the unexpired term
                                         of the lease: and

                                       B. The rental income earned by the Insured from sublease
                                          agreements, to the extent not covered under any other section of
                                          this Policy, over and above the rental expenses specified in the
                                          lease between the Insured and the lessor.

                       (ii)    The Interest of the Insured as Lessor is defined as the difference between
                               the rents payable to the lessor under the terms of the lease in effect at the
                               time of loss and the actual rent collectible by the lessor during the unexpired
                               term of the lease provided the lease is canceled by the lessee, to the extent
                                not covered under any other section of this Policy.

                       (iii)   Net Lease Interest is defined as that sum, which placed at 6% interest
                               compounded annually will be equivalent to The Interest of the Insured
                                as Lessee or The Interest of the Insured as Lessor.

                d. It is understood and agreed that in the event that an insured physical loss or damage
                   results in both loss of Rental Income and/or Rental Value and loss of The Interest of
                   the Insured as Lessor,the provisions and limit of liabilityofthe Rental Income and Rental
                   Value coverage will be applied first in accordance with the applicable period of recovery.
                   The coverage provided by the Leasehold Interest provisions and limit of liabilityshall be
                   applied and corn mence at the cessation of the Rental Income and Rental Value
                   coverage and continue until the expiration of the lease.

                   This Company shall not be liable for any increase of loss which may be occasioned by
                   the suspension, lapse or cancellation of any license or by the Named Insured or Loss
                   Payee exercising any option to cancel the lease. Furthermore, coverage is conditioned upon
                   the Named Insured or Loss Payee's use of due diligence including all things reasonably
                   practicable to diminish loss under this Clause and under the Rental Value and Rental
                   Income Clause.


  19.   PERIOD OF RESTORATION
        The "Period of Restoration" is defined as the length of time for which loss may be claimed, and
        shall commence with the date of such loss, damage or event not excluded under the Policy and
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        shall not be limited by the date of expiration of this Policy, subject to the following provisions:

        a)       The Period of Restoration shall not exceed such length of time as would be required with
                 the exercise of due diligence and dispatch to rebuild, repair, or replace such part of the
                 property as has been destroyed, damaged.
        b)       With respect to alterations, additions, and property while in the course of construction,
                 erection, installation, or assembly, the Period of Restoration shall be calculated from the
                 date that business operations would have begun had no damage or destruction occurred.
        c)       The Period of Restoration shall include such additional length of time to restore the
                 Insured's business to the condition that would have existed had no loss occurred,
                 commencing with the later of the following dates and terminating no more than 365 days
                 from the said later commencement date:
                       i. the date on which the liability of the Company for loss or damage would otherwise
                          terminate;or
                      ii. the date on which repair, replacement, or rebuilding of such part of the property as
                          has been damaged is actually completed, and the insured has resumed normal
                          operations.

        d)       Delayed Opening - with respect to alterations, additions, or property while in the course of
                 construction, erection, installation, or assembly, due consideration shall be given to the
                 level of production or level of business operations that would reasonably have been
                 achieved after construction and start-up would have been completed had no loss or
                 damage occurred.



  20.   EXTENSIONSOF BUSINESSINTERRUPTIONCOVERAGE
        This Policy, subject to all its provisions and without increasing the amount of said Policy, insures
        against loss, Business Interruption, Extra Expense, Expense to Reduce Loss, Soft Costs, Rental
        Value, Rental Income, Royalties and Leasehold Interest (collectively, "Contingent Business
        Interruption") resulting from the perils insured against,to the following:
             a) Property of a type not excluded that directly or indirectly prevents a supplier of goods and/or
                services to the Insured from rendering their goods and/or services, or property that
                prevents a receiver of goods and/or services from receiving the Insured's goods and/or
                services; such supplier or receiver shall not be an Insured under this Policy. Coverage shall
                be limited to Tier 1 Suppliers or Customers(a supplier or customer with a direct contractual
                relationship with the insured) & Tier 2 Suppliers or Customers (a supplier or customer with
                a direct contractual relationship with a Tier 1 supplier or customer). Coverage includes
                loss or damage to real and personal property at Attraction Properties not owned or
                operated by the Insured, located in the same vicinity as the Covered Property and which
                attracts business to that vicinity.
             b) Dams, reservoirs, wells, or equipment connected therewith when water, used as a raw
                material or used for power or for other manufacturing or service purposes, stored behind
                such dams or reservoirs is released from storage and causes an interruption of business
                as a result of lack of water supply from such sources.
             c) The actual loss sustained by the Insured during a period of time not to exceed 60 days as
                a result of a peril insured against occurring within 5 miles of Insured's location, where
                access to the Insured's real or personal property is prevented by order of civil or military
                authority (together "Civil Authority"). Provided that such order is a direct result of physical
                damage of the type of property insured by this Policy, irrespective of whether the property
                of the Insured shall have been damaged.
             d) The actual loss sustained by the Insured during a period of time not to exceed 60 days, as
                a direct result of a peril insured against occurring within 5 miles of Insured's location, where
                ingress to or egress from the Insured's real or personal property is thereby physically
                prevented ("Ingress/Egress"). Provided that such prevention is a direct result of physical

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                  damage of the type of property insured by this Policy, irrespective of whether the property
                  of the Insured shall have been damaged.
             e) Property, facilities or piping systems, that prevent the Insured from discharging its outgoing
                effluence to a waste treatment, plant.
             f) Use of W ater - This Policy is extended to insure loss sustained to an insured location during
                the period of time when, as a result of physical loss or damage by a peril not excluded by
                this Policy, recreational use of water from lakes, rivers, bays, lagoons, sea or ocean waters
                within 3 miles of the shoreline or other bodies of water is impaired.
             g)   Guest Relocation Expenses - This Policy also covers the cost to the Insured for goodwill
                  expenditures made by the Insured to temporarily relocate hotel guests in other local
                  facilities following a covered loss at an insured location by an insured peril. Such costs
                  shall include the cost of rooms, local transportation, and other related services, but will not
                  include the cost of any food, beverages, or medical services. These expenditures shall be
                  payable whether or not guests are relocated to other properties owned, managed, and/or
                  operated by the Insured or subsidiary or affiliated companies or corporations.

             h) Loss of Attraction - This Policy is extended to insure loss as insured hereunder, including
                Clean Up and Remediation, when there is an interruption or interference with the business
                of the Insured as a consequence of:
                  1.   Infectious or contagious disease(excluding Coronavirus 2019 COVID-19)
                       manifested by any person while on the Covered Property of the Insured which
                       results in the total or partial closure of the Covered Property at the direction of
                       The National Center for Disease Control and/or the applicable state, city or
                       m unicipal department of public health;
                  2.   Murder or suicide occurring at the Covered Property of the Insured;
                  3.   Injury or illness sustained by any person arising from or traceable to foreign or injurious
                       matter in food and drink provided on the Covered Property of the Insured or the threat
                       thereof;
                  4.   Closing of the whole or part of the Covered Property of the Insured by order of a public
                       authority consequent upon the existence or threat of hazardous conditions either
                       actual or suspected at the Covered Property of the Insured.

         This section extends only to the coverages described in Clauses 12, 13, 14, 15,16, 17 and 18.
         However, if a program sublim it exists, these coverages do not increase the sublimit.

         Contingent Business Interruption and Attraction Properties referenced in Section 20.a) will be
         considered as insured propertyfor application of the following Business Interruption Extensions:

         Service Interruption/Off Premises Power
         Civil or Military Authority
         Ingress/Egress
         Protection and Preservation of Property-Property Damage
         Use of Water
         Loss of Attraction


  21.,   TRANSIT
         This Policy including all of its Coverages, including, but not limited to Business Interruption, Extra
         Expense, , shall cover property in transit, and this Policy attaches and covers shipments within
         and between the territorial limits of this Policy, including the coastal waters thereof, by any means
         of conveyance, from the time the property is moved for purpose of loading and continuously
         thereafter while awaiting and during loading and unloading and in temporary storage, including
         temporary storage on any conveyance intended for use for any outbound or used for inbound

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           shipment, including during deviation and delay, until safely delivered and accepted at place of final
           destination. This insurance is extended to cover loss or damage to property:
               a) sold and shipped by the Insured under terms of Free on Board, point of origin or other
                  terms usuallyregarded as terminating the shipper's responsibilityshort of points ofdelivery;
               b) arising out of any unauthorized person(s) representing themselves to be the proper
                  party(ies)to receive goods for shipment or to accept goods for delivery;
               c) occasioned by the acceptance by the Insured, by its agents, or by its customers of
                  fraudulent bills of lading, shipping and delivery orders, or similar documents;
               d) at the Insured's option, property that is incoming to the Insured.
               e) of others that the Insured has agreed prior to the loss to insure during the course of delivery
                  including but not limited to:
                         ii. when shipped by the Insured's contract service provider or by the Insured's
                             contract manufacturer to the Insured or to the Insured's customer
                        iii. or when shipped by the Insured's customer to the Insured or to the Insured's
                             contract service provider or to the Insured's contract manufacturer.
          The Insured may waive right(s) of recovery against private, contract, and common carriers and
           accept bills of lading or receipts from carriers, bailees, warehousemen, or processors limiting or
           releasing their liability, but this transit insurance shall not inure to the benefit of any carrier, bailee,
           warehouseman, or processor. With respect to shipments described under subparagraphs(a)and
          (d) above, this Company agrees to waive its rights of subrogation against shippers and consignees
          at the option of the Insured.
                         i. The Insured is not to be prejudiced by any agreements exempting lightermen from
                            liability.
                        ii. Seaworthiness of any vessel or watercraft, and airworthiness of any aircraft are
                            admitted between this Company and the Insured.

   22:.    ACCOUNTS RECEIVABLE
          Defined as:
          a)       all sums due the Insured from customers, provided the Insured is unable to effect collection
                   thereof as the direct result of direct physical loss of or damage to records of accounts
                   receivable;
          b)       all sums due the Insured from factoring transactions, when the property of the debtor has
                   been lost or damaged by loss or damage insured by this Policy and the Insured has been
                   unable to effect collection thereof;
          c)       interest charges on any loan to offset impaired collections pending repayment of such sums
                   made uncollectible by such loss or damage;
          d)       collection expense in excess of normal collection cost and made necessary because of
                   such loss or damage;
          e)       other expenses, when reasonably incurred by the Insured in reestablishing records of
                   accounts receivable following such loss or damage.
          For the purpose of this insurance, credit card company charge media shall be deemed to represent
          sums due the Insured from customers, until such charge media is delivered to the credit card
          company.
          When there is proof that a loss of records of accounts receivable has occurred but the Insured
          cannot more accurately establish the total amount of accounts receivable outstanding as of the
          date of such loss,such amount shall be computed as follows:




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                     the monthly average of accounts receivable during the last available twelve months shall
                     be adjusted in accordance with the percentage increase or decrease in the twelve months
                     average of monthly gross revenues which may have occurred in the interim.
            g)       the monthly amount of accounts receivable thus established shall be further adjusted in
                     accordance with any demonstrable variance from the average for the particular month in
                     which the loss occurred, due consideration also being given to the normal fluctuations in
                     the amount of accounts receivable within the fiscal month involved.
            There shall be deducted from the total amount of accounts receivable, however established, the
            amount of such accounts evidenced by records not lost or damaged, or otherwise established or
            collected by the Insured, and an amount to allow for probable bad debts which would normally have
            been uncollectible by the Insured.


   23.      PERILSINSURED AGAINST
            This Policy insures against all risks of direct physical loss of or damage to Covered Property during
            the period of insurance including general average, salvage, and all other charges on shipments
            covered hereunder,except as hereinafter excluded.

   24.      BOILER&MACHINERY
            This Policy insures loss as covered elsewhere in this Policy to insured property as a result of an
            Accident to an Object subject to the following definitions:

            a)      "Object means any boiler, fired or unfired pressure vessel, refrigerating or air-conditioning
                    system, piping and its accessory equipment, and any mechanical or electrical machine or
                    apparatus that:
                    )
                    i        Generates,transmits,or utilizes energy,including electronic communications,and
                             data processing equipment;or
                    ii)      During normal usage operates under vacuum or pressure, other than the weight
                             of its contents.
            b)      "Accident" means a sudden and accidental breakdown of an Object or a part thereof which
                    manifests itself at the time of its Occurrence by physical damage that necessitates repair
                    or replacement of the Object or part thereof.
            c)      "Hazardous Substance" means the additional expense incurred for clean up, repair or
                    replacement, or disposal of damaged, contaminated or polluted property as a result of an
                    "Accident" which causes property to become damaged, contaminated or polluted by a
                    substance declared hazardous to health by an authorized governmental agency.
                    "Additional Expenses" means expenses incurred that would not have been incurred, had
                    no substance hazardous to health been involved in the accident.
            Suspension - Upon the discovery of a dangerous condition with respect to an Object, any
            representative of the Company may immediately suspend the insurance with respect to an Accident
            to said Object by written notice mailed or delivered to the Insured's location, to the Insured's Risk
            Management department and to Alliant Insurance Services, Inc.


  25.       PERILS EXCLUDED
           This Policy does not insure loss or damage resulting directly or indirectly from any of the
           following:(Such loss or damage is excluded even if another peril or event contributed
           concurrently or in any sequence to cause the loss.)

         a) Infidelity or dishonesty of the Insured or of the Insured's employees. A willful act of malicious
            intent shall not be deemed to be an act of infidelity. This exclusion shall not apply to loss or
            damage resulting from the Insured voluntarily parting with title or possession of any property if
            induced to do so by any fraudulent trick, scheme, device or false pretense.

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      b) The cost of making good defective design, faulty material, or faulty workmanship, except, if direct
         physical loss or damage not excluded in this Policy ensues, then this Policy shall insure only the
         direct ensuing physical loss or damage.

      c) Normal or ordinary wear, tear, gradual deterioration, rust, corrosion, settling, cracking, erosion
         except if direct physical loss or damage not excluded in this Policy ensues, then this Policy shall
         insure only the direct ensuing physical loss or damage.

      d) Against inherent vice, or latent defect unless other direct physical loss or damage from a peril
         insured against herein ensues and then this Policy shall cover for direct ensuing physical loss or
         damage.

      e) Against nuclear reaction, nuclear radiation, or radioactive contamination, all whether controlled or
         uncontrolled, and whether such loss be direct or indirect, proximate, or remote; or be in whole or
         in part caused by, contributed to, or aggravated by the peril(s) insured against in this Policy; except
         if fire or sprinkler leakage ensues, liability is specifically assumed for direct physical loss by such
         ensuing peril but not including any loss due to nuclear reaction, nuclear radiation, or radioactive
         contamination. This Company shall be liable for physical loss or damage caused by sudden and
         accidental radioactive contamination including resultant radiation damage for each Occurrence
         from material used or stored or from processes conducted on Covered Property at the time of loss
         there is neither a nuclear reactor capable of sustaining nuclear fission in a self-supporting chain
         reaction nor any new or used nuclear fuel on the Covered Property;

      f) Against hostile or warlike action in time of peace or war, including action in hindering, combating,
         or defending against an actual, impending, or expected attack by any government or sovereign
         power(de jure or de facto) or by any authority maintaining or using military, naval, or air forces; or
         by military, naval, or air forces; or by any agent of any such government, power, authority, or
         forces;
                 i.     against any weapon employing atomicfission or fusion;
                        against rebellion, revolution, civil war, usurped power, or action taken by
                        governmental authority in hindering, combating, or defending against such
                        Occurrence;
                        against seizure or destruction by order of public authority, except destruction by
                        order of public authority to prevent the spread of, or to otherwise contain, control or
                        minimize loss, damage or destruction which occurs due to a peril insured against
                        under this Policy;
                        against risks of contraband or illegal trade;
                v.      againstconfiscation,nationalization and expropriation.



      g) Except as insured by the Pollutant and Contaminant Clean Up and Removal Clause, the Pollution,
         Contamination, Debris Removal Exclusion Endorsement, the Use of W ater Clause, and/or the Loss
        of Attraction Clause of this Policy, loss or damage arising out of the dispersal, release or escape of
        contaminants or pollutants into or upon land, atmosphere or any water course or body of water, but
         not excluding resultant loss or damage from contaminants or pollutants to insured property,
         including land improvements and attraction properties as defined herein, caused by or resulting
        from physical loss or damage not otherwise excluded, including, but not limited to, Flood and
         NamedW indstorm.

       h) Mysterious disappearance or loss or shortage disclosed on taking inventory.

     )
     i Insects, vermin, bacteria, fungi, virus, mold spores, wet or dry rot or other disease (except as
       provided in Clause 20. h for Loss of Attraction) unless direct physical loss or damage not otherwise
       excluded ensues,then this Policy shall insure only for the ensuing loss or damage.
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          Normal settling or shrinkage of walls, floors or ceilings unless direct physical loss or damage not
          otherwise excluded ensues and then this Policy shall insure only for the ensuing physical loss or
          damage.

      k) Dampness or dryness of atmosphere or extremes or changes of temperature unless direct
         physical loss or damage to buildings or equipment not otherwise excluded ensues and then this
         Policy shall cover for such ensuing physical loss or damage.

      )
      I   Flood in Special Flood Hazard Areas as respects Miscellaneous Unscheduled Locations

      m) Nam ed Windstorm coverage for all Miscellaneous Unscheduled Locations in the state of Florida

      n) Earth Movement coverage in the state of California, with the exception of Earth Movement and
         Earthquake Shock covered at Pebble Beach Company only.

      o) Contamination,shrinkage or change is color,flavor, texture, or finish.

      p) Indirect or remote loss.

      q) Insurrection.

      r) Against loss in Spain or Spanish Territories which fall under the regulation of the"Consorcio de
         Compensacion deSeguros (''Consorcio") and are declared by the "Consorcio" to be within the
         conditions of its coverage, but only to the extent of recovery there under. (Conditions of payment
         or delays in payment by the "Consorcio" shall not abrogate this exclusion); nor against any event
         constituting a Calimidad Nacional.

      s) Against loss in France or French Territories which fall under French Law 82-600 of July 13, 1982
         and are declared a disaster pursuant to said law by the French government in the "Official Journal"
         of the French Republic, but only to the extent of recovery there under. (Conditions of payment or
         delays in payment shall not abrogate this exclusion). Nor against all material damage and
         consequential loss arising as a result of all perils indemnifiable in terms of the scope of cover
         granted by GAREAT.

      t) Against loss or damage in Bundeslaender and Hansestaedte (states) of Schleswig-Holstein,
         Niedersachsen, Mecklenburg-Vorpommerm, Bremen, and Hamburg in Germany caused by storm
         surge, as declared by the Federal German Office for Maritime Shipping and Hydrographics.

      u) Against loss or damage in South Africa caused directly or indirectly by or through or in
         consequence of any Occurrence for which a fund has been established in terms of the War
         Damage Insurance and Compensation Act, 1976 (No. 85 of 1976) but only to the extent of
         recoverythereunder.

      v) Against loss or damage caused by an act of terrorism, occurring in the United Kingdom and as
         declared by the Association of British Company's Pool Re.

      w) Against loss or damage in the Netherlands caused by Flood or the damage, destruction or
         overflowing of dams, dikes, floodgates and other similar ways, whether or not the flood resulting
         is due to a peril covered under this Policy.

      x) Notwithstanding any provision to the contrary within this Policy or any endorsement thereto it is
         agreed that this Policy excludes loss, damage, cost or expense of whatsoever nature directly or
         indirectly caused by, resulting from or in connection with any act of terrorism regardless of any
         other cause or event contributing concurrently or in any other sequence to the loss.

          For the purpose of this Policy, an act of terrorism means an act, including but not limited to the
          use of force or violence and/or the threat thereof, of any person or group(s)of persons, whether

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               acting alone or on behalf of or in connection with any organization(s) or government(s), committed
               for political, religious, ideological or similar purposes including the intention to influence any
               government and/or to put the public, or any section of the public, in fear.

               This Policy also excludes loss, damage, cost or expense of whatsoever nature directly or
               indirectly caused by, resulting from or in connection with any action taken in controlling,
               preventing,suppressing or in any way relating to any act of terrorism.

                If the Company determines that by reason of this exclusion, any loss, damage, cost or expense
               is not insured by this insurance, the burden of proving the contrary shall be upon the Insured.

               In the event any portion of this endorsement is found to be invalid or unenforceable, the remainder
               shall remain in full force and effect.

         Exclusions b, c, d, g, and i shall not apply to property in Transit.


   26.        DEFINITIONS


         a) "EarthquakeShock"
            the specific cracking, rupturing, shifting, crushing, breaking ortoppling of property insured
            hereunder, resulting from a shock,shaking,tremor, and/or convulsion of the earth's surface
            caused by natural seismic forces.

         b)    "Earth Movement"
              any natural or man-made Earth Movement, including Earthquake Shock, landslides, submarine
              landslides, avalanches, subsidence, sinkhole collapse, mud flow, rock fall, volcano, lava flow, or
              any other similar earth movement,sinking, rising or shifting of the ground.
              It is understood and agreed that loss caused by or loss arising from Earth Movement shall be
              restricted exclusively to the actual, specific cracking, rupturing, shifting, crushing, breaking or
              toppling of property and shall not include ensuing loss or damage, if any, resulting from other loss
              or damage insured. Such ensuing loss shall be construed to have been of the same Occurrence,
              but of a different proximate cause.


         c) The term "Flood" as used in this Policy shall mean loss or damage caused by or resulting from
            waves, tide or tidal water (other than caused by Named Windstorm within defined Tier 1 Counties
            hereunder), tsunami, rapid accumulation of surface waters, or the rising (including overflowing or
            breaking of boundaries) of lakes, reservoirs, rivers, streams or other bodies of water. It is
            understood and agreed that, whenever used in this Policy, the term "loss caused by" or "loss
            arising from" flood shall not include ensuing loss or damage, if any resulting from other loss or
            damage insured. Such ensuing loss shall be construed to have been of the same Occurrence,
            but of a different proximate cause.
         d) "Named Windstorm" is defined as the direct action of wind which is named by the National Weather
            Bureau, or National Hurricane Center as a numbered catastrophe. This definition shall include
            wind driven rain, storm surge and Flood when associated with or occurring in conjunction with a
            Named Windstorm,only when occurring within defined Tier 1 Counties hereunder.
         e) The term "Occurrence" is defined as follows:
              Loss, or a series of losses or several losses that are attributable directly or indirectly to one cause
              or disaster, or to one series of similar causes or disasters, arising from a single event. All such
              losses shall be combined, and the total amount of such losses shall be treated as one Occurrence
              irrespective of the period of time or area over which such losses occur.




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            When the term Occurrence applies to Named Windstorms, it shall be defined as the sum total of
            all losses arising out of or caused by the same atmospheric disturbance during any period of 72
            consecutive hours. Resort Hotel Association, Inc. shall have the right to elect the moment from
            which the 72-hour period shall be deemed to have commenced, provided that no elected period
            of 72 hours shall commence within the period of any previous Occurrence.
            When the term Occurrence applies to Earth Movement, it shall be defined as the sum total of all
            the Insured's losses sustained during any period of 72 consecutive hours by reason of one Earth
            Movement or a series of Earth Movements. Resort Hotel Association, Inc. may elect the moment
            from which the 72-hour period shall be deemed to have commenced, provided that no elected
            period of72 hours shall commence within the period of any previous Occurrence.
            When the term Occurrence applies to Flood, it shall be defined as the sum total of all losses
            sustained by reason of one Flood or a series of Floods.
            When the term Occurrence applies to theft, the sum total of all losses sustained by the Insured
            and covered herein resulting from one or more fraudulent or dishonest acts committed by a
            person(s)acting alone or in collusion with others shall constitute one Occurrence.
       f) "Raw Stock" - Materials and supplies in the state in which the Insured receives it for conversion
          by the Insured into Finished Stock, including supplies consumed in such conversion or in the
          service rendered bythe Insured.
       g)   "Stock in Process" - Raw stock which has undergone any aging, seasoning, mechanical or other
            process of manufacture by on behalf of the Insured but which has not become Finished Stock.
       h) "Finished Stock" - Stock which in the ordinary course of the Insured's business is ready for
          packing,shipment or sale.
       )
       i "Fire Brigade Charges/Fire Extinguishing Materials and Expenses" - Firefighting and/or
         containmentcharges and/or fire department service charges and other extinguishing expenses.
            "Fraudulent or Dishonest Acts" - Fraudulent or dishonest acts committed by the Insured or the
            Insured's employees with the manifest intent to cause the Insured to sustain such loss; and obtain
            financial benefit for the Insured, Insured's employee, or for any other person or organization
            intended by the Insured or the employee to receive such benefit for such fraudulent or dishonest
            act or acts.
       k) "Merchandise" - Goods kept for sale by the Insured, which are not the product of manufacturing
          operations conducted bythe Insured.
       )
       I "Normal"- The condition that would have existed had no loss occurred.
       m) "Net Lease Interest" - That sum which placed at 6% interest compounded annually would equal
          the Lease Interest(less any amounts otherwise payable hereunder).
       n) "Ordinary Payroll" - Ordinary Payroll is the entire payroll expense for all employees of the Insured
          except officers, executives,employees under contract,and other critical employees.
       o) "Plants, Trees, Shrubs and Lawns"(other than those part of a Golf Course)- Plants, trees, shrubs
          and lawns located in planted, cultivated and/or maintained areas.
       p) "Improvements and Betterments" - Fixtures, alterations, installations or additions comprising a part
          of the described building and made or acquired at the expense of the Insured, but which are not
          legallysubject to removal by the Insured.
  q)Other Land Improvements — Defined as any alteration of the natural condition of the land by grading,
  excavating, landscaping, the establishment of earthen dikes or dams, as well as additions to land such as
  patios, retaining walls not affixed to a building, pavements, roadways, parking lots, appurtenant lighting
  fixtures and signage, fencing, bridges, ponds, stabilization vegetation, or similar works; including costs of
  grading, excavation, landfill, earth moving expenses, and/or costs of soil, stone, and/or other materials
  needed to support such reclamation, restoration, replacement, or repair, and including demolition and
  increased cost of construction.



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      r)"Beach Improvements" — Defined as, but not limited to, any alteration of the natural condition of the
      land by grading, excavating, landscaping, the establishment of beaches, bulkheads, protected sand
      dunes, stabilization vegetation, seawalls and sea groins, or similar works, including costs of grading,
      excavation, landfill, and/or earth moving as needed to repair, replace, reclaim, and/or restore such
      Beachlmprovements.
      s)"Special Flood Hazard Area" (SFHA) — areas of 100-year flooding as defined by the Federal
      EmergencyManagementAgency(FEMA).
      t)"Transit" - Shipments within and between the territorial limits of this Policy, including the coastal
      waters thereof, by any means of conveyance, from the time the property is moved for purpose of
      loading and continuously thereafter while awaiting and during loading and unloading and in temporary
      storage including temporary storage on any conveyance intended for use for any outbound or used
      for inbound shipment, including during deviation and delay, until safely delivered and accepted at place
      offinal destination.
      u)"Underlying Policy" - An insurance Policy issued to the Insured which is similar as respects the
      terms and conditions of this Policy and issued for limits below the attachment point or deductible of
      this Policy.
      v) "Valuable Papers and Records" - Written, printed, or otherwise inscribed documents and records,
      including but not limited to books, maps,films, drawings, abstracts, deeds, mortgages, micro-inscribed
      documentsand manuscripts.
      w)"Electronic Data Processing Media" - All forms of data, converted data, electronically converted
      data and/or programs and/or applications and/or instructions and/or media vehicles.
      x) "Electronic Data Processing Systems" - Electronic Data Processing Systems shall include, but not
      be limited to, transferring equipment, computer systems, telecommunications systems or electronic
      control equipment and component parts.
      y)"Securities" shall mean all negotiable and nonnegotiable instruments or contracts representing
      either money or other property, and includes revenue and other stamps in current use, tokens, and
      tickets.
      z)"Fine Arts" - Shall include but not be limited to bona fide works of art, works of rarity, works of
      historical value, works of artistic merit, photographs (positives and negatives), lithographs, illustrations,
      galley proofs, original records, sculptures, carvings and similar property.
      aa)"Lease Interest" - The excess rent paid for the same or similar replacement property over actual
      rent payable in accordance with the Insured's lease plus cash bonuses or advance rent paid (including
      any maintenance or operating charges) for each month during the unexpired term of the Insured's
      lease; and/or the rental income earned by the Insured from sublease agreements, to the extent not
      insured under any other section of this Policy, over and above the rental expenses specified in the
      lease between the Insured and the lessor.
      bb) "Architects Fees and Engineering Fees" - Any cost associated with the preparation of plans for the
      repair or reconstruction of loss under a covered peril to the Covered Property.
      cc) "Attraction Properties" - Properties, not owned or operated by the Insured within 3 miles of the
      Covered Property that attract potential customers to the vicinity of the Insured's location.
      dd)"Miscellaneous Unscheduled Locations" - A miscellaneous unscheduled location as used herein
      shall be defined as a location at which the Insured has property of the type insured hereunder which
      has not been reported to the Company. Upon report to the Company of said location, the full Policy
      Limit shall apply
      ee)"Accidental Occurrence" — An interruption that is caused by other than physical loss or damage to
      the property of the service providers to which Off Premises Power applies.
      fl") "Golf Courses" — Man made alterations to the land, including any dams, cart trails, greens, fairways,
      plants, trees, shrubs, and lawns located thereon. This definition does not include buildings or
      structures situated thereon. The Company will not pay for loss or damage to golf course outdoor
      grounds,outdoor trees,shrubs or plants,caused byor resulting from anyof thefollowing: A.dampness


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         or dryness of atmosphere; B. changes in or extremes of temperature; or C. loss or damage caused
         by fungus and/or decay; D. loss or damage caused by sickness and/or any other quality in the
         landscaping that causes it to damage or destroy itself.
         gg)"Actual Cash Value" is calculated as the amount it would cost to repair or replace Covered Property
         on the date of loss, with material of like kind and quality with proper deduction for obsolescence and
         physicaldepreciation.
         hh)"Reproduction Cost" - the cost to reproduce the damaged building or specific building features to
         the same design, decorative style and dimensions as existed at the time of loss, using identical
         materials with respect to kind and quality.

  27.      FIRE BRIGADE CHARGES AND EXTINGUISHING EXPENSES
           This Policy covers Fire Brigade Charges/Fire Extinguishing Materials and Expenses for which the
           Insured may be assessed, including loss of fire extinguishing materials expended, resulting from a
           peril insured by this Policy.



   28.      DEBRISREMOVAL
            Except as provided in Endorsement 6, this Policy covers the cost of removal of debris of Covered
            Property including the cost of removal of debris of property not insured hereunder from the Covered
            Property of the Insured resulting from a peril insured against. Except as otherwise provided for
            elsewhere in this Policy, this Clause does not cover the cost to extract contaminants or pollutants
            from land or water, nor does it cover the cost to remove, restore or replace contaminated or polluted
            land or water.

           If at the time Covered Property is contaminated as a direct result of physical damage insured
           against by this Policy there is in force any law or ordinance regulating contamination, including but
           not limited to pollution, then this Policy shall cover, as a result of the enforcement of such law or
           ordinance, the increased cost of decontamination and debris removal of such Covered Property in
           a manner to satisfy such law or ordinance. As respects Business Interruption coverage(s), this
           Policy is extended to include such time as is necessary and reasonable with the exercise of due
           diligence and dispatch to decontaminate such property in a manner to satisfysuch law or ordinance.


            DEMOLITION AND INCREASED COST OF CONSTRUCTION
            In the event of direct physical loss or damage under this Policy that causes the enforcement of any
            law or ordinance regulating the construction, repair or use of property in force at the time of such
            loss or damage,this Company shall be liable for:
            a)      the cost of demolishing the undamaged property including the cost of clearing the site;
            b)      the value of undamaged property which had to be demolished;
            c)      increased cost of repair or reconstruction of the damaged and undamaged property on the
                    same or another site and limited to the costs that would have been incurred in order to
                    comply with the minimum requirements of such law or ordinance regulating the repair,
                    usage or reconstruction of the damaged property on the same site. However, this
                    Company shall not be liable for any increased cost of construction loss unless the damaged
                    property is actually rebuilt or replaced;
            d)      any increase in the Business Interruption, Extra Expense, Rental Value, and other business
                    interruption loss arising out of the additional time required to comply with said law or
                    ordinance.


  30.       EXPEDITINGEXPENSE
            With the prior written consent of the Company, this Policy covers the extra cost of temporary repair
            and of expediting the repair of damaged Covered Property, including overtime and express freight
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         or other rapid means of transportation.


   31.   ARSON/THEFTREWARD
         This Policy will pay up to USD 25,000 (with an annual aggregate of USD 50,000) as a reward for
         information which leads to an arson conviction or theft conviction in connection with a fire or theft
         loss covered under this Policy. Regardless of the number of persons involved in providing
         information, the limit of our liability under this extension shall not be increased. The deductible
         provisions of this Policy shall not applyto this Clause.

   32.   CONTRIBUTING INSURANCE
         Contributing insurance is insurance written upon the same plan, terms, conditions, and provisions
         as those contained in this Policy. This insurance shall contribute in accordance with the conditions
         ofthis Policy only with other contributing insurance.-

   33.   EXCESSINSURANCE
         Excess insurance is insurance over the limit of liability set forth in this Policy. The existence of
         such excess insurance shall not prejudice the coverage provided under this Policy nor will it reduce
         any liability hereunder.


  34.    UNDERLYING INSURANCE
         Underlying Insurance is insurance on all or any part of the Member's Deductible and against all or
         any of the perils covered by this Policy including declarations of value to the carrier for hire. The
         existence of Underlying Insurance shall not prejudice or affect any recovery otherwise payable
         under this Policy.

         Should the amount of loss payable under such Underlying Insurance exceed the Member's
         Deductible then no amount shall be deducted by the Company from the loss payable under this
         Policy and the amount that exceeds such a deductible amount shall be considered Other Insurance
         as defined below.

         Should the amount of loss payable under such Underlying Insurance be less than the largest
         eductible amount that would apply in the event of loss under this Policy, then the amount that shall
         be deducted by the Company from the loss payable under this Policy shall be the difference
         between the amount to be paid under such Underlying Insurance and the largest deductible amount
         that would apply in the event of loss under this Policy.


  35,    OTHERINSURANCE
         Except for insurance described by the Contributing Insurance Clause, the Excess Insurance
         Clause, or the Underlying Insurance Clause, this Policy shall not cover to the extent of any other
         insurance, whether prior or subsequent hereto in date, and whether directly or indirectly covering
         the same property against the same perils. This Company shall be liable for loss or damage only
         to the extent of that amount in excess of the amount recoverable from such Other Insurance.


  36.    SUBROGATION AND SUBROGATION WAIVER
         A.    It is agreed that upon payment of any loss, this Company is subrogated to all the rights of
                  the Insured to the extent of such payment.

                 Any release or waiver of liability entered into by the Insured in the course of its business or
                 operations prior to loss (including but not limited to bills of lading and/or receipts from
                 carriers, bailees, warehousemen, lightermen, processors, limiting or releasing their liability)
                 hereunder shall not prejudice the Insured's rights of recovery under this Policy.

                 The right of subrogation against the Insured's subsidiary, affiliated, or associated
                 corporations or companies, joint ventures, partnerships or individuals, or any other
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                 corporations or companies associated with the Insured through ownership or management
                 is waived.

         C.      In the event of any payment under this Policy, except where subrogation rights have been
                 waived, the Company shall be subrogated to the extent of such payment to all the
                 Insured's rights of recovery therefore. The Insured shall execute all papers required and
                 shall take reasonable and necessary action to secure such subrogation rights. The
                 Company will act in concert with all other interests concerned, such as the Insured and
                 any other companies participating in the payment of any loss as primary or excess
                 companies, in the exercise of such rights of recovery. If any amount is recovered, after
                 deducting the costs of recovery, such amount shall be divided between the interests
                 concerned in the proportion of their respective interests. If there should be no recovery, all
                 costs and expenses shall be borne by the party instituting the proceedings.



   n.•   SALVAGE AND RECOVERIES
         All salvages, recoveries, and payments, excluding proceeds from subrogation and underlying
         insurance recovered or received prior to a loss settlement under this Policy shall reduce the loss
         accordingly. If recovered or received subsequent to a loss settlement under this Policy, such net
         amounts recovered shall be divided between the interests concerned, i.e. the Insured and any other
         Company(s)participating in the payment of any loss, in the proportion of their respective interests.


   38.   CONTROL OF DAMAGED MERCHANDISE
         The Insured shall have full right to the possession of all goods involved in any loss under this Policy
         and shall retain control of all damaged goods. The Insured, exercising a reasonable discretion,
         shall be the sole judge as to whether the goods involved in any loss under this Policy are fit for
         consumption. No goods so deemed by the Insured to be unfit for consumption shall be sold or
         otherwise disposed of except by the Insured or with the Insured's consent, but the Insured shall
         allow this Company any salvage obtained by the Insured on any sale or other disposition of such
         goods.


   39.   BUILDERSRISK
         Builders Risk is subject to a limit of liability of USD 25,000,000 per Occurrence except as noted
         below. If the completed value of the Builders Risk is USD 25,000,000 or below, no reporting or
         additional premium is required. If the completed value exceeds USD 25,000,000, the Insured must
         report the Builders Risk and have it accepted by the Company prior to binding. Once reported and
         accepted the builders risk limit of liability shall be adjusted accordingly and an additional premium
         shall be due based on the original allocated resort rate. However, this sublimit shall not apply to
         additions, improvements, renovations, alterations, or repairs to existing structures. (Ensuing loss
         resulting from Builders Risk does not limit coverage otherwise noted within this Policy)


  40.    BRANDOR TRADEMARK
         I n case of damage by a peril insured against to property bearing a brand or trademark or which in
         any way carriers or implies the guarantee or the responsibility of the manufacturer or Insured, the
         salvage value of such damaged property shall be determined after removal at this Company's
         expense in the customary manner of all such brands or trademarks or other identifying
         characteristics.


  41.    ERRORS OR OMISSIONS
         Any unintentional error or omission made by the Insured shall not void or impair the insurance
         hereunder provided the Insured reports such error or omission as soon as reasonably possible
         after discovery by the Property Manager,PropertyOwner,or Insurance Department ofthe Insured.

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   42,    NOTICE OF LOSS
         As soon as practicable after any loss or damage occurring under this Policy is known to the
         I nsured's home office insurance department (or the individual acting in a similar capacity), the
         Insured shall report such loss or damage with full particulars to Alliant Insurance Services, Inc., 140
         East 451h Street, New York, NY 10017 for transmission to the designated loss adjuster and to this
         Company.

         Except as regards Pollutant or Contaminant Clean-up and Removal, it is agreed that knowledge of
         an Occurrence by an agent, servant or employee of the Insured shall not in itself constitute
         knowledge by the Insured. Knowledge is understood to occur only when the Property Manager,

         Property Owner, or Insurance Department of the Insured shall have received notice from its agent,
         servant or employee


  43.    DESIGNATED LOSS ADJUSTER

         It is understood and agreed that Chuck McAninley of Sedgwick will adjust each and every loss,
         unless otherwise agreed by Resort Hotel Association, Inc. and the Company except;

         With respect to the Aggregate Deductible structure within the primary layer, it is agreed that all
         primary carriers will allow the lead carrier in each layer to review, for the purposes of authorizing
         the settlement, all aggregate losses on behalf of the primary carriers, providing that the aggregate
         losses to which this language applies are within USD 250,000 net of Member Deductible(s), or as
         otherwise requested by the carriers.

  44.    PROOF OF LOSS
         Proof of loss is required as soon as practicable following the Company's written request for signed
         Proof from Insured; however, Insured, at its option, may elect to file Proof with Company prior to
         Company's request. It shall be necessary for the Insured to render a signed and sworn proof of
         loss to the Company or its appointed representative stating: the place, time and cause of loss,
         interest of the Insured and of all others, the value of the property involved, and the amount of loss,
         damage or expense sustained.


  45.    NON-REDUCTION OF LIMITS OF LIABILITY
         Any loss hereunder shall not reduce the limit(s) of liability under this Policy except for annual
         aggregate limits as described in Clause 4.


  46.    PARTIAL PAYMENT OF LOSS
         In the event of a loss covered by this Policy, it is understood and agreed that the Company shall
         allow a partial payment(s) of claim subject to the Policy provisions and normal Company adjustment
         process.

         To obtain said partial claim payment, the Insured shall submit a partial Proof of Loss with supporting
         documentation.


  47.,   PAYMENT OF LOSS
         All adjusted claims shall be due and payable no later than thirty (30) days after presentation of
         proofs of loss by the Insured or its appointed representative.


  48,    LOSSADJUSTMENTEXPENSES
         At the request of the Company,this Policy is extended to include expenses incurred by the Insured

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         or by the Insured's representative for preparing and certifying details of a claim resulting from a
         loss that would be payable under this Policy, including time spent by the Insured's non-officer
         personnel. This Policy shall not cover the expenses incurred by the Insured in utilizing the services
         of attorneys, public adjusters,insurance agents, brokers or affiliates thereof.


   49.   APPRAISAL
         If the Insured and this Company fail to agree on the amount of loss, each, upon the written demand
         either of the Insured or of this Company made within 60 days after receipt of proof of loss by the
         Company, shall select a competent and disinterested appraiser. The appraisers shall then select
         a competent and disinterested umpire. If they should fail for 15 days to agree upon such umpire,

         then upon the request of the Insured or of this Company, such umpire shall be selected by a judge
         of a court of record in the county and state in which such appraisal is pending. Then, at a
         reasonable time and place, the appraisers shall appraise the loss, stating separately the value at
         the time of loss and the amount of loss. If the appraisers fail to agree, they shall submit their
         differences to the umpire. An award in writing by any two shall determine the amount of loss. The
         I nsured and this Company shall each pay his or its chosen appraiser and shall bear equally the
         other expenses of the appraisal and of the umpire.


   50.   CONSEQUENTIALLOSS
         Except as otherwise provided in this Policy, this Policy insures against:
         a)     consequential loss to the Property Covered caused by change of temperature or humidity
                or by interruption of any service including but not limited to power, heat, air conditioning, or
                refrigeration resulting from a peril insured against;
         b)     the reduction in value to the remaining part or parts of any lot of merchandise usually sold
                by lots or sizes, color ranges, or other classifications due to damage to or destruction of a
                part of such lots or other classifications due to a peril insured against.


   51.   PAIR AND SET
         Except as provided under the Consequential Loss Clause part b), in the event of loss or damage
         by a peril insured against to any article or articles which are part of a pair or set, the measure of
         loss or damage to such article or articles shall be the reasonable and fair proportion of the total
         value of the pair or set, giving consideration to the importance of said article or articles, but in no
         event shall such loss or damage be construed to mean total loss of the pair or set.



  52.    CONSEQUENTIAL REDUCTION IN VALUE
         This Policy covers the reduction in value of insured components or parts of components or parts of
         products due to loss or damage insured against by this Policy to other insured components or parts
         of products.


  53.    PERMITS
         Permission is hereby granted for any building(s) to be and remain vacant and unoccupied without
         limit of time and without prejudice to the Insured's right of recovery for claim under this Policy. Any
         change in occupancy or use of the Covered Property or any increase in hazard shall not prejudice
         the Insured's right of recovery for claim under this Policy.


  54.    INSPECTION AND AUDIT
         This Company shall be permitted, but not obligated, to inspect the Covered Property at any
         reasonable time. Neither the Company's right to make neither inspections, nor the making thereof,
         nor any report thereon, shall constitute an undertaking, on behalf of or for the benefit of the Insured
                                                          29
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           or others, to determine or warrant that such property is safe.


   55:     COINSURANCEWAIVER
           This Policy is not subject to any coinsurance or average Clause:,

   56.     ASSISTANCE AND COOPERATION OF THE INSURED
           The Insured shall cooperate with this Company and, upon this Company's request and expense,
           shall attend hearings and trials and shall assist in effecting settlements, in securing and giving
           evidence,in obtaining the attendance of witnesses, and in conducting suits.


   57.     PROTECTION &PRESERVATION OF PROPERTY
           In case of actual or imminent physical loss or damage of the type insured against by this Policy,
           this Policy insures the expenses incurred by the insured in taking reasonable and necessary actions
           for the temporary protection and preservation of property insured hereunder.

           With the exception of loss or damage caused by Named W indstorm at property insured located in
           Tier 1 Counties as per Appendix 1 of this Policy, the deductible provisions of this Policy shall not
           apply to this Clause. As respects insured property located in said Tier 1 W indstorm Counties, a
           minimum deductible of $25,000 per Occurrence shall apply to this Clause.

           If, after incurring such protection and preservation expenses an actual physical loss or damage is
           sustained, the applicable Policy deductible shall apply to the combined amount of protection and
           preservation expenses and the amount of the physical loss or damage.


   58.     REINSTATEMENT
           With the exception of loss subject to annual aggregate limits as noted in Clause 4, no loss
           hereunder shall reduce the amount of this Policy.


   59.     SUIT AGAINST THE COMPANY
           No suit or action on this Policy for the recovery of any claim shall be sustainable in any court of law
           or equity unless the Insured shall have fully complied with all the requirements of this Policy. The
           Company agrees that any action or proceeding against it for recovery of any loss under this Policy
           shall not be barred if commenced within the time prescribed therefore in the statutes of the
           Commonwealth of Virginia, United States of America.


   60.     EVIDENCES OF PROPERTY INSURANCE
           It is understood and agreed that Alliant Insurance Services, Inc., the Insured, and/or their designees
           are authorized to issue Evidences of Property Insurance (evidences) to Loss Payees, Lenders Loss
           Payees and/or Mortgagees and others for their respective rights and interests subject always to
           the terms, conditions, and limits of liability of this Policy. All parties to whom an Evidences of
           Property Insurance has been issued are automatically added to this Policy upon issuance of said
           evidences, as Loss Payees, Lenders Loss Payees and/or Mortgagees. The Company agrees to
           waive the issuance of formal Company endorsements in respect of such interests. The Company
           may request, and be furnished with, all such evidences issued on their behalf at any time.


   61.,,   ADDITIONAL INTERESTS
           It is understood that building, condominium, and timeshare owners have an insurable interest in
           certain property insured under this Policy, whether or not such property is owned or managed by
           the Insured or its affiliates.

   62.     NOTIFICATIONCLAUSE

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                               Resort Hotel Association Property Policy — March 8, 2020
         All notices or communications concerning this Policy shall be addressed to the offices of the Insured
         and to Alliant Insurance Services, Inc., 140 East 451 h Street, New York, NY 10017. All such notices
         shall be sent via registered mail.

   63.   CANCELLATION
         This Policy may be canceled at any time at the request of Resort Hotel Association, Inc. or it may
         be canceled by the Company by mailing via registered or certified mail to Resort Hotel Association,
         I nc., 2100 E. Cary Street, Suite 3, Richmond, VA 23223-7078, Attention: Melanie DuPriest, and
         with copies provided to Alliant Insurance Services, Inc., 140 East 45th Street, New York, NY 10017
         stating when, no less than ninety (90) days, except ten (10) days for nonpayment of premium
         allocated to assets in the United States only, such cancellation shall be effective.

         This insurance may be canceled at any time by the insured by surrender of this Policy to the
         Company or by mailing or delivery to the Company written notice stating when thereafter such
         cancellation shall take effect. Return premium shall be allowed the Insured on a pro rata basis if
         the Company cancels and on a customer's short-rate basis if the Insured cancels.

         Payments or tender of any unearned premium by the Company shall not be a condition precedent
         to the effectiveness of cancellation, but such payment shall be made as soon as practicable.

         The mailing of notice as described in above shall be sufficient proof of notice and the effective date
         and hour of cancellation stated in the notice shall become the end of the Policy period. Delivery of
         such written notice either by the Insured or by this Company shall be equivalent to mailing.

         Cancellation shall not affect coverage on any shipment in transit on the date of cancellation.
         Coverage will continue in full force until such property is safely delivered and accepted at place of
         final destination.

         Removal from the schedule of insured locations of any location(s) belonging to an individual
         member Loss Payeeof the Resort Hotel Association, Inc. shall not affect coverage as respects insured
         locations belonging to other member Loss Payees of the Resort Hotel Association, Inc. as this Policy
         will remain in force.

         The return premiums as respects such individual member's locations shall be made on a pro-
         rata basis of the annualized premium that the Association has allocated to the individual member's
         locations. However, earned premiums amounts above and beyond pro-rata, for the perils of Tier
         1 Named Windstorm,for coverage in place anytime between June15t and November 301h, shall be
         at the sole discretion of the Resort Hotel Association and the Company.


  64.    TITLESOF PARAGRAPHS
         The titles of the paragraphs of this form and of endorsements and supplemental contracts, if any,
         now or hereafter attached hereto are inserted solely for convenience of reference and shall not be
         deemed in any way to limit or affect the provisions to which they relate.


  65.    MORTGAGECLAUSE
         Loss or damage insured, if any, under this Policy shall be payable to the mortgagee(s) (or
         trustee(s)), lender loss payee(s), or loss payee(s) as interest(s) may appear, and this insurance,
         as to the interest(s) of the mortgagee(s)(or trustee(s)), lender loss payee(s) or loss payee(s) only
         therein, shall not be invalidated by any act or neglect of the mortgagor or owner of the Covered
         Property, nor by any foreclosure or other proceedings or notice of sale relating to the Covered
         Property, nor by any change in the title or ownership of the Covered Property, nor by the
         occupation of the Covered Property for purposes more hazardous than are permitted by this Policy
         provided that in case the mortgagor or owner shall neglect to pay any premium due under this
         Policy, the mortgagee (or trustee), lender loss payee or loss payee shall, on demand, pay the
         same.


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          This Company reserves the right to cancel this Policy at any time as provided by its terms, but in
          such case this Policy shall continue in force for the benefit only of the mortgagee (or trustee), lender
          loss payee or loss payee for thirty (30) days after notice to the mortgagee (or trustee), lender loss
          payee or loss payee of such cancellation and shall then cease and this Company shall have the
          right, on like notice, to cancel this agreement.

  66,,    POLLUTANT & CONTAMINANT CLEAN UP AND REMOVAL
          This is extended to cover the expense actually incurred by the Insured to decontaminate, clean up
          and/or remove pollutants and contaminants from land, water or air if the release, discharge, or
          dispersal of the pollutants results from any direct physical loss or damage as covered herein, not
          to exceed USD 5,000,000 per Occurrence and in the annual aggregate.

          It is a condition precedent to recovery under this Clause that the Insured shall give written notice
          to the Company of intent to claim for such expense not later than 180 days after the date of such
          physical loss or damage.


  67.,    STEPDOWN/DROPDOWN/PRIORITY OF PAYMENTS
          Primary - Any recoveries made under this Policy shall first apply to loss or damage not insured
          against by the excess Policy (ies). Upon exhaustion of this Policy's limit, the excess Policy (ies)
          shall step down and be liable for the loss in excess of the amount attributed to this Policy as
          respects loss or damage insured there under subject to the excess Policy(ies) limits.

          Excess - The amount of loss from any one Occurrence, for which this Policy is excess, shall be
          determined by the combined loss, damage or expense as insured under the primary Policy.

          In the event of loss or damage involving more than one coverage or peril, The Limits of Liability of
          the underlying policies shall first apply to the coverage(s) or peril(s) not insured by this Policy, and
          the remainder, if any to the coverage(s) or peril(s) as provided hereunder. Upon erosion or
          exhaustion of the Limits of Liability of the underlying policies, this Policy shall then be liable for the
          loss uncollected from the coverage(s) or perils(s) insured hereunder, subject to the Limit of Liability
          specified herein.

          In the event of reduction or exhaustion of the aggregate limit(s) designated in the underlying Policy
         (ies), it is hereby understood and agreed that such insurance as is afforded by this Policy shall
         apply in excess of the reduced or exhausted underlying limit(s).


  68.     JURISDICTION
         This Policy shall be governed by the laws of the Commonwealth of Virginia, United States of
         America, without giving effect to Virginia's conflicts of laws provisions. Any disputes arising
         hereunder shall be brought in a court whose jurisdiction includes the City of Richmond, Virginia.


  69.     TAX LIABILITY
         In the event that a loss insured hereunder cannot be paid in the country where the loss insured
         under this Policy has occurred, this Company shall be liable for an additional loss payment in
         accordance with the following formula:

          Loss payment due under this section =[a (1-c)/(1-b)]-a
          Where:
          a = Loss otherwise payable under this Policy except for operation of this coverage, after due
          consideration for any applicable deductible(s).
          b = The net effective rate of the sum of: any taxation (a positive number) plus tax any relief/credit
         (a negative number)that accrues in the country where loss payments are received.
         c = The net effective rate of the sum of: any taxation (a positive number) plus tax any relief/credit
         (a negative number)that accrues in the country where the loss occurred.
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          The formula herein will not apply if the calculation of additional payment results in an amount less
          than zero. The rates referred to herein will be the respective corporate income tax rates in effect
          on the date of the loss.
          The Insured will cooperate with the Company in making every reasonable effort to pay the loss or
          portion thereof locally in the country in which the loss occurred.
          Any payment under this coverage will be made only after completion and acceptance by the
          Company of audited tax returns for the period in question for both the country where a payment
          hereunder is made and the country where the loss occurred. The actual payment under this
          coverage will be adjusted and reduced by all appropriate tax credits and/or tax relief entitled and/or
          received by the Insured and/or the local entity where the loss occurred provided that an income tax
          liability is incurred.


   70,    COINSURANCE DEFICIENCY
          This Policy covers the deficiency in the amount of loss payable under the Insured's locally written
          admitted primary and/or underlying Policy (ies), if any, and its renewals, issued by the Company or
          its representatives, solely as the result of the application of a coinsurance (or average) Clause for
          physical loss or damage of the type insured under such local Policy (ies) to property of the type
          insured under this Policy and not otherwise excluded by this Policy. There is no liability under the
          terms of this coverage if the Insured is unable to recover any loss under such local Policy (ies), and
          its renewals, if such inability is the result of intentional under insurance by the Insured.


   71,.   DEVALUATION/REVALUATION
          Recovery under this Policy shall be increased or reduced to reflect any deficiency or surplus in the
          amount of collectible loss under a local Policy, caused by devaluation or revaluation of the currency
          in which it is written, that results from a government decree promulgated between the date of the
          physical damage which gave rise to the loss and the date of loss settlement. However, the Insured
          agrees to advise the amount of the adjusted insured values within 60 days of the currency's
          devaluation,such adjustment to be effective from the date of the decree promulgation.

   72.    TENANTS& NEIGHBORS LIABILITY
          This Policy insures:

          a. The liability, which the Insured incurs as tenant or occupant under the articles of any civil or
             commercial code, because of damage to real and personal property by loss or damage insured
             by this Policy;
          b. The liability, which the Insured incurs under articles of any civil or commercial code, for damage
             to real or personal property from loss or damage spreading from the Covered Property to the
             premises of neighbors, cotenants and other third parties;
          c. The liability, which the Insured as landlord incurs under articles of any civil or commercial code,
             for loss or damage to the personal property of tenants insured by this Policy as a result of
             constructional defects or lack of maintenance;

          This extension applies only to liability incurred in those countries or jurisdictions in which a
          Napoleonic or other civil or commercial code applies due to loss or damage as defined by such
          code and as insured hereunder.


   73.    TAXTREATMENT OF PROFITS
          This Policy is extended to insure the additional loss sustained by the Insured resulting from loss or
          damage insured by this Policy in the event the tax treatment of:

          a. the profit portion of a loss recovery involving Finished Stock manufactured or purchased by the
             Insured;and/or

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         b. the profit portion of Business Interruption loss proceeds;

         differs from the tax treatment of profits that would have been incurred had no loss occurred.


   74.   CURRENCY
         It is hereby understood and agreed that all amounts used herein are in United States currency and
         that premiums shall be paid, and all losses shall be adjusted and paid in United States currency. In
         the event of a loss adjustment involving foreign currency, conversion into the currency of the United
         States of America shall be calculated as follows:

         a. As respects real and personal property, the cost of repair, replacement or reconditioning shall
            be converted, as of the date of repair, replacement or reconditioning based on the rate of
            exchange quoted in theMt IfStreitJou'fri6lasioltifed6teiitiogi. If the property is not replaced or
            repaired, the conversion into the currency        the United States of America shall be at the
            rate of exchange quoted in theW611Stidetiiiiiiiial as of the date of loss.
         b. As respects all other coverages, currency shall be converted at the rate of exchange quoted in
            the W allStreetJournal and such rate of exchange shall be based on the average of the daily
            rate of exchange quoted in thdWallStfeetjoeir-
                                                    ,      fialfor the period of loss.


   75.   DIFFERENCE IN CONDITIONS
         Subject to all other terms and conditions set forth herein, coverage under this Policy shall also
         apply only when coverage and/or definitions and/or conditions set forth herein are broader in
         meaning or scope than those of specific underlying or primary or local foreign policies. The
         insurance provided by this Policy will apply as contributing or excess insurance as respects loss
         arising from loss or damage insured under such other policies. In the absence of any other valid
         and collectible insurance, this Policy shall become primary, subject to the terms and conditions of
         this Policy.



   78.   ATTACHMENT CLAUSE
         Attached to and forming part of Policy #                                     issued by ACE AMERICAN
         INSURANCE COMPANY.




                                                                            [Authorized Signature]




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                                                     APPENDIX # 1


                                                   TIER1 COUNTIES

       ALABAMA:Baldwin,Mobile;

       FLORIDA: Entire State of Florida;

       HAWAII: Entire State of Hawaii;

       GEORGIA:Bryan,Camden,Chatham,Glynn, Liberty, McIntosh;

       LOUISIANA: Calcasieu, Cameron, Iberia, Jefferson, Lafourche, Livingston, Orleans, Plaquemines, St.
                               Bernard, St. Charles, St. James, St. John the Baptist, St. Mary, St.
                              Tammany,Tangipahoa,Terrebonne,Vermilion;

       MISSISSIPPI:Hancock,Harrison,Jackson;

       NORTH CAROLINA: Beaufort, Bertie, Brunswick, Camden, Carteret, Chowan, Columbus, Craven,
                           Currituck, Dare, Hyde, Jones, New Hanover, Onslow, Pamlico, Pasquotank,
                           Pender,Perquimans,Tyrell,Washington;

       SOUTH CAROLINA:Beaufort, Berkley, Charleston,Colleton, Georgetown, Horry, Jasper;

       TEXAS:Aransas, Brazoria, Calhoun,Cameron,Chambers,Galveston, Harris(entire County),
       Jackson,Jefferson, Kenedy, Kleberg, Liberty, Matagorda, Newton, Nueces,Orange,
       Refugio,San Patricio, Victoria,Willacy;

       VIRGINIA: Accomack,Chesapeake City, Gloucester, Hampton City, Isle ofWight,James City,
       Lancaster, Mathews, Middlesex, Newport News, Norfolk City, Northampton,
       Northumberland,Poquoson City, Portsmouth City, Suffolk City, Surry, Virginia Beach
       City,Westmoreland,Williamsburg City,York;

       MEXICO: Mexico (States of Baja California Sur, Campeche, Colima, Guerrero, Jalisco, Michoacan,
                              Nayarit, Quintana Roo, Sinaloa, Tabasco, Tamaulipas, Veracruz and
                              Yucatan to 50 miles(80 km)inland)


   All other terms,conditions, definitions, exclusions,limitations and provisions of the Policyremain the same.




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                                 Resort Hotel Association Property Policy — March 8, 2020

                                                    APPENDIX #2


                                     NEVV,NOWRiD EARTHQUAKE tONES'.

          Arkansas Counties: Clay, Craighead, Crittenden, Cross, Greene,                    Jackson, Lawrence,
                                Mississippi, Poinsett, Randolph,Sharp

          Illinois Counties:, Alexander, Bond      Madison, Clinton, Franklin, Hardin, Jackson,
                                   Jefferson, Johnson, Lawrence, Macoupin, Madison, Massac, Monroe,
                                   Perry, Pope, Pulaski, Randolph, Saline, St. Clair, Union, Washington,
                                   andW illiamson

          Indiana Counties:           Gibson,Pike,Posey,Vanderburgh,and Warrick

           Kentucky Counties: Ballard, Calloway, Carlisle, Fulton, Graves, Hickman, Livingston,
                               Marshall,and McCracken

           MississippiCounties:       Bolivar, Coahom a, De Soto, Marshall, Tate, and Tunica

           Missouri Counties: Bollinger, Butler, Cape Girardeau, Dunklin, Franklin, Iron, Jefferson,
                                 Madison, Mississippi, New Madrid, Pemiscot, Perry, Reynolds, Scott,
                                 St. Charles, St. Francois, St. Louis, Ste. Genevieve, Stoddard, Warren,
                                 Washington,and Wayne

          Tennessee      Counties:    Crockett, Dyer, Fayette, Gibson, Hardeman, Haywood, Lake,
                                      Lauderdale, Madison,Obion,Shelby,and Tipton




  All other terms,conditions, definitions, exclusions, limitations and provisions ofthe Policy remain the same.




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                              'fAtiFit'N               ST:EARTHQUAKEZONES.
                                                                  _



          WashingtonCounties:         Clallam, Jefferson, King, Kitsap, Mason, Pierce, San Juan, Skagit,
                                      Snohomish,Thurston,and Whatcom



                                      )4AW4itA4t4iktAtiCiAkeiagitt

                                      The entire State


                                        :ALM WA:tAtiNd044::1-614g:


          Alaska:                     The entire State

                             fOREIGN.HIGH,HAZARD',EARTHQUAI4Z6NEB,

          Mexico: Mexico (States of Baja California North, Colima, Chiapas, Edo de Mexico, Federal District
                                    including Mexico City, Guerrero, Jalisco, Michoacan, Oaxaca, Sonora,
                                    Veracruz South)


  All other terms,conditions, definitions, exclusions,limitations and provisions ofthe Policyremain the same.
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                                                 ENDORSEMENT#1




   It is agreed that this Insurance excludes loss, damage, cost or expense of whatsoever nature directly or
   indirectly caused by, resulting from or in connection with the actual or threatened malicious use of
   pathogenic or poisonous biological or chemical materials regardless of any other cause or event
   contributing concurrently or in any other sequence thereto.

   All other terms,conditions, definitions,exclusions,limitations and provisions ofthe Policy remain the same.




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                                   Resort Hotel Association Property Policy — March 8, 2020




                                                  ENDORSEMENT #2


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   It is agreed that the following special terms and conditions apply to this Policy:

           The Company's proportion of the Limits of Liability specified in Clause 4 or endorsed on this Policy,
           is the total limit of the Company's liability applicable to each Occurrence, as hereafter defined.
           Notwithstanding any other terms and conditions of this Policy to the contrary, in no event shall the
           liability of the Company exceed this limit or amountirrespective ofthe number oflocations involved.

           The term "Occurrence" shall mean any one loss, disaster, casualty, or series of losses, disasters,
           or casualties, arising out of one event. W hen the term Occurrence applies to loss or losses from
           the perils of tornado, cyclone, hurricane, windstorm, hail, Flood, earthquake, volcanic eruption, riot,
           riot attending a strike, civil commotion, vandalism and malicious mischief or terrorism one event
           shall be construed to be all losses arising during a continuous period of 72 hours. When filing proof
           of loss, Resort Hotel Association, Inc. may elect the moment at which the 72-hour period shall be
           deemed to have commenced, which may not be earlier than the time when the first loss to covered
           propertyoccurs.

  2.       The premium for this Policy is based upon the statement of values provided to the Company(s) by
           or on behalf of the Insured and kept on file by the Company(s). In the event of loss under the
           Policy, the liability of the Company(s)shall be limited to the least of the following:

           a.)     The actual adjusted amount of loss, less applicable deductible(s);

           b.) Any other Limit of Liability or Sublimit of Insurance or Amount of Insurance
                  specifically stated in this Policy to apply to any particular insured loss or coverage or
                  location.



  All other terms,conditions, definitions, exclusions, limitations and provisions ofthe Policy remain the same„




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                                   Resort Hotel Association Property Policy — March 8, 2020

                                                  ENDORSEMENT #3


                                   COMBINED MiLLENNIUM ENDORSEMENT


   This Policy is hereby amended as follows:

   A. The Company will not pay for Damage or Consequential Loss directly or indirectly caused by, consisting
      of, or arising from, the failure of any computer, data processing equipment, media microchip, operating
      systems, microprocessors (computer chip), integrated circuit or similar device, or any computer
      software, whether the property of the Insured or not, and whether occurring before, during or after the
      year 2000 that results from the inability to:
       1. correctly recognize any date as its true calendar date;
       2. capture, save, or retain, and/or correctly manipulate, interpret or process any data or information
          or command or instruction as a result of treating any date other than its true calendar date; and/or
       3. capture, save, retain or correctly process any data as a result of the operation of any command
          which has been programmed into any computer software, being a command that causes the loss
          of data or the inability to capture, save, retain or correctly process such data on or after any date.
   B. It is further understood that the Company will not pay for the repair or modification of any part of an
      electronic data processing system or its related equipment, to correct deficiencies or features of logic
      oroperation.

   C. It is further understood that the Company will not pay for Damage or Consequential Loss arising from
      the failure, inadequacy, or malfunction of any advice, consultation, design, evaluation, inspection,
      installation, maintenance, repair or supervision done by the Insured or for the Insured or by or for others
      to determine, rectify or test, any potential or actual failure, malfunction or inadequacy described in A.
      above.

   Such Damage or Consequential Loss described in A, B, or C above, is excluded regardless of any other
   cause that contributed concurrently or in any other sequence.

   This endorsement shall not exclude subsequent Damage or Consequential Loss, not otherwise excluded,
   which itself results from a Defined Peril. Defined Peril shall mean fire, lightning, explosion, aircraft or vehicle
   impact, falling objects, windstorm, hail, tornado, hurricane, cyclone, riot, strike, civil commotion, vandalism,
   malicious mischief, earthquake, volcano, tsunami, freeze or weight of snow, sudden and accidental
   breakdown of an object, including mechanical and electrical breakdown.

   All other terms,conditions, definitions, exclusions,limitations and provisions of the Policy remain the same.




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                                Resort Hotel Association Property Policy — March 8, 2020

                                               ENDORSEMENT#4




   1. Electronic Data Exclusion

      This Policy is hereby amended asfollows:

     (a) This Policy does not insure loss, damage, destruction, distortion, erasure, corruption or alteration
         of Electronic Data from any cause whatsoever (including but not limited to Computer Virus) or loss
         of use, reduction in functionality, cost, expense of whatsoever nature resulting therefrom,
         regardless of any other cause or event contributing concurrently or in any other sequence to the
         loss.

          Electronic Data means facts, concepts and information converted to a form useable for
          communications, interpretation or processing by electronic and electromechanical data processing
          or electronically controlled equipment and includes programs, software and other coded
          instructions for the processing and manipulation of data or the direction and manipulation of such
          equipment.

          Computer Virus means a set of corrupting, harmful or otherwise unauthorized instructions or code
          including a set of maliciously introduced unauthorized instructions or code, programmatic or
          otherwise, that propagate themselves through a computer system or network of whatsoever nature.
          Computer Virus includes but is not limited to'Trojan Horses','worms'and 'time or logic bombs.'

     (b) However, in the event a peril listed below results from any of the matters described in paragraph
        (a) above, this Policy, subject to all its terms, conditions and exclusions, will cover physical damage
         occurring during the Policy period to property insured by this Policy directly caused by such listed
         peril.




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                                  Resort Hotel Association Property Policy — March 8, 2020

          Listed Perils

          Fire
          Explosion
          Aircraft impact, vehicle impact or vessel impact
          Theft
          Collision
          Overturn or Collapse
          Lightning
          Windstorm
          Hail
          Flood
          Earth Movement
          Earthquake Shock
          Waterdamage
          Riot or civil commotion
          Accidental discharge offire protecting equipment

  2. Electronic Data Processing Media Valuation

      Notwithstanding any provision to the contrary within the Policy or any endorsement thereto, it is
      understood and agreed asfollows:

      Should electronic data processing media insured by this Policy suffer physical loss or damage insured
      by this Policy, then the basis of valuation shall be the cost to repair, replace or restore such media to
      the condition that existed immediately prior to such loss or damage, including the cost of reproducing
      any Electronic Data contained thereon, providing such media is repaired, replaced or restored. Such
      cost of reproduction shall include all reasonable and necessary amounts incurred by the Insured in
      recreating, gathering and assembling such Electronic Data If the media is not repaired, replaced or
      restored the basis of valuation shall be the cost of the blank media. However, this Policy does not insure
      any amount pertaining to the value of such Electronic Data to the Insured or any other party, even if
      such Electronic Data cannot be recreated, gathered or assembled.


  All other terms,conditions, definitions, exclusions, limitations and provisions ofthe Policy remain the same.


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                                   Resort Hotel Association Property Policy — March 8, 2020

                                                  ENDORSEMENT #5

                MOLEX MILDEW &FUNGU                      E AND MICROORGANISM EXCLUSIONIMAPi
                    '         -

     Odkvis4ierebyamenddasklows:
               A. This Policy only insures physical loss or damage to Covered Property by mold, mildew or
               fungus, spores or other microorganism of any type, nature, or description, including but not
               limited to any substance whose presence poses an actual or potential threat to human health.

   when directly caused by a peril insured by this Policy occurring during the policy period,i,

           This coverage is subject to all limitations in the Policy to which this endorsement is attached and,
           in addition, to each of the following specific limitations:

           1. The said property must otherwise be insured under this Policy for physical loss or damage by
              that peril.

           2. The Insured must report to the Company the existence and cost of the physical loss or damage
              by mold, mildew or fungus as soon as practicable, but no later than twelve (12) months after
              the peril first caused any physical loss or damage to Covered Property during the policy period.
              This Policy does not insure any physical loss or damage by mold, mildew or fungus first
              reported to the Company after that twelve(12) month period.

                3. Regardless of circumstance or other Policy provisions, the maximum amount insured and
                payable under this Policy for all mold, mildew or fungus, spores or other microorganism of any
               .type, nature, or description, including but not limited to any substance whose presence poses
                an actual or potential threat to human health caused by or resulting from such peril is USD
                10,000,000 or all parts of any claim and in total (the aggregate limit) for the policy period. This
                sublimit applies to all sections or extensions of this Policy combined under which any claim
                arises or is made.

               Except as set forth in the foregoing Section A, this Policy does not insure any loss, damage,
               claim, cost, expense or other sum directly or indirectly arising out of or relating to:

               mold, mildew, fungus, spores or other microorganism of any type, nature, or description,
               including but not limited to any substance whose presence poses an actual or potential threat
               to human health.

   This exclusion applies regardless whether there is (i) any physical loss or damage to insured property; (ii)
   any insured peril or cause, whether or not contributing concurrently or in any sequence; (iii) any loss of use,
   occupancy, or functionality; or (iv) any action required, including but not limited to repair, replacement,
   removal, cleanup, abatement, disposal, relocation, or steps taken to address medical or legal concerns.


   All other terms,conditions, definitions, exclusions,limitations and provisions ofthe Policy remain the same.




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                                  Resort Hotel Association Property Policy — March 8, 2020

                                                 ENDORSEMENT #6

              POLLUTION CONTAMINATtOt1 DEBRIS REMOVAL EXCLUSION ENDORSEMENT

   This Policy is hereby amended as follows:

           1. Property Not Covered:

   This Policy does not cover land, land values or water, except Other Land Improvements as defined herein,
   properties pertaining to the Use of W ater Clause as defined herein, and properties pertaining to the Loss
   of Attraction Clause as defined herein.



           2. Pollution and Contamination Exclusion.

   This Policy does not cover loss or damage caused by, resulting from, contributed to or made worse by
   actual, alleged or threatened release, discharge, escape or dispersal of Contaminants or Pollutants, all
   whether direct or indirect, proximate or remote or in whole or in part caused by, contributed to or aggravated
   by any physical damage insured by this Policy.


   Nevertheless, if fire is not excluded from this Policy and a fire arises directly or indirectly from seepage or
   contamination or pollution, any loss or damage insured under this Policy arising directly from that fire is
   insured, subject to the provisions of this Policy.


  Contaminants or Pollutants means any solid, liquid, gaseous or thermal irritant or contaminant, including
  smoke, vapor, soot, fumes, acids, alkalis, chemicals and waste, which after its release can cause or
  threaten damage to human health or human welfare or causes or threatens damage, deterioration, loss of
  value, marketability or loss of use to property insured hereunder, including, but not limited to, bacteria, virus,
  or hazardous substances as listed in the Federal Water, Pollution Control Act , Clean Air Act, Resource
  Conservation and Recovery Act of 1976, and Toxic Substances Control Act or as designated by the U. S.
  Environmental Protection Agency.Waste includes materials to be recycled, reconditioned or reclaimed.


  This exclusion shall not apply when loss or damage is directly caused by fire, lightning, aircraft impact,
  explosion, riot, civil commotion, smoke, vehicle impact, windstorm, hail, vandalism, malicious mischief,
  named windstorm,flood and earthquake all as defined herein. This exclusion shall also not apply when loss
  or damage is directly caused by leakage or accidental discharge from automatic fire protective systems.


           3. Asbestos,Dioxin or Polychlorinated Biphenols Exclusions

  This Policy does not cover —

  a)       Asbestos, dioxin or polychlorinated biphenols (hereinafter all referred to as "Materials") removal
           from any good, product or structure unless the asbestos is itself damaged by fire, lightning, aircraft
           impact, explosion, riot, civil commotion, smoke, vehicle impact, windstorm or hail, vandalism,
           malicious mischief, leakage or accidental discharge from automatic fire protective system.

  b)       Demolition or increased cost of reconstruction, repair, debris removal or loss of use necessitated
           bythe enforcement of any law or ordinance regulating such Materials;




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                                  Resort Hotel Association Property Policy — March 8, 2020

   c)      Any governmental direction or request declaring that such Materials present in or part of or utilized
           on any undamaged portion of the insured's property can no longer be used for the purpose for
           which it was intended or installed and must be removed or modified.

   The exception to exclusion 3(a), above does not apply to payment for the investigation or defense of any
   loss, damage or any undamaged portion of the Insured's property that can no longer be used for the
   purpose for which it was intended.


           4. Debris Removal Exclusion

   The Company will pay the expense within the applicable Limits of Liability to remove debris of Covered
   Property that is damaged or destroyed by an insured peril during the Policy Term.

   The Company will not pay the expense to,:

   a) Extract contaminants or pollutants from the debris; or

   b) Extract contaminants or pollutants from land or water; or

   c) Remove,restore or replace contaminated or polluted land or water; or

   d) Remove or transport any property or debris to a site for storage or decontamination required because
      the property or debris is affected by pollutants or contaminants, whether or not such removal, transport,
      or decontamination is required by law or regulation.

   It is a condition precedent to recovery under this extension that the Company shall have paid or agreed to
   pay for direct physical loss or damage to the property insured hereunder and that the Insured shall give
   written notice to the Company of intent to claim for cost of removal of debris or cost to clean up not later
   than 180 days after the date of such physical loss or damage.


           5.       Authorities Exclusion

   Notwithstanding any of the provisions of this Policy, the Company shall not be liable for loss, damage,
   costs, expenses, fines or penalties incurred or sustained by or imposed on the Insured at the order of any
   Government Agency, Court or other Authority arising from any cause whatsoever.

   All other terms,conditions, definitions,exclusions, limitations and provisions of the Policy remain the same.




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                                  Resort Hotel Association Property Policy — March 8, 2020

                                                 ENDORSEMENT #7

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                                              .

   This Policy is hereby amended as follows:

   This proposal or resulting Binder, the continuation of any bound insurance, and any payments to you, to a
   claimant or to another third party, may be affected by the administration and enforcement of U.S. economic
   embargoes and trade sanctions by the office of Foreign Assets Control (OFAC), if we determine that any
   such party is on the"Specially Designated Nationals or Blocked Persons"list maintained by OFAC.

   All other terms,conditions, definitions, exclusions,limitations and provisions ofthe Policyremain the same.




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                                  Resort Hotel Association Property Policy — March B. 2020

                                                  ENDORSEMENT #8

                               ,LEADERCLAUSE—NEWAQUISITIONS/DELETIONS

   This Policy is hereby amended as follows:

   The Company agrees that the terms, conditions, and pricing of all reported acquisitions and deletions
   valued less than USD 200,000,000 are to be established by the market underwriting the largest proportion
   of the primary layer of coverage (the "Leader"). All other following markets on the primary and excess layers
   will be bound to the terms, conditions, and proportional pricing(s) of the overall program Leader by layer.
   This condition shall not apply to acquisitions and deletions located within Tier 1 Counties when purchasing
   Named W indstorm coverage, locations within the State of California when purchasing Earthquake
   coverage,and International Locations.

   All other terms,conditions, definitions, exclusions, limitations and provisions ofthe Policy remain the same.




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                                 Resort Hotel Association Property Policy — March 8, 2020




                                                ENDORSEMENT #9

                          L.iPGI41'DE TO G REEIN't &OMMERCIALENDORSEPAENT

   This endorsement modifies insurance provided by the Policy:

   The coverages and valuation provision provided by this endorsement only apply if direct physical loss or
   damage to covered real and/or personal property is caused by any of the perils covered by the Policy and
   replacement cost valuation applies. This coverage does not apply to: (1) personal property of others in the
   Insured's care, custody, and control,(2) leased personal property, and/or (3) Raw Stock, Stock in Process,
   or Finished Stock.

   In no event, does this endorsement increase or change the per Occurrence limit of liability shown in the
   declarations or the annual aggregate for specified perils.

           Notwithstanding the Property Valuation Clause of this Policy or Limits of Liability applicable to
           specific locations or perils, if replacement cost valuation applies to real and/or personal property,
           then the Company's liability for loss applicable to this endorsement shall be the cost to repair or
           replace the covered damaged property, subject to the applicable limit of liability, plus the least of
           thefollowing amounts:

           A.      The reasonable and necessary amount to upgrade to green the covered damaged property
                   as described in Coverage Section A — Non-LEED® Certified Coverage or as described in
                   Coverage Section B — LEED® Certified Coverage, whichever is applicable; or

           B.      An additional 25% of the applicable limit of liability for the building and/or business personal
                   property shown in the Statement of Values or similar schedule to upgrade to green; or

          C.       USD 5,000,000(five million dollars) to upgrade to green.

          At the Insured's sole discretion, the Insured may elect not to upgrade to green any or all property
          for which upgrade to green coverage is provided under this endorsement. In such case, the
          Company will adjust the claim in accordance with the standard provisions of the Policy, as modified
          by all other applicable endorsements.

          Subject to the least of A., B., or C. above, if Business Interruption coverage is provided as part of
          this Policy, if necessary, the Period of Restoration shall be increased to allow for additional time to
          upgrade to green the damaged property plus up to an additional two-week period to meet the
          requirements setforth in 4.B.

   2.     COVERAGE SECTION A: NON-LEED CERTIFIED COVERAGE

          In the event of direct physical loss or damage by any of the perils covered by the Policy to a building
          that is not LEED certified at the time of the loss, or to the personal property within such a building,
          the Company will pay to repair or replace damaged or destroyed:




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                           Resort Hotel Association Property Policy — March 8, 2020

        A.    Loss Settlementfor Personal Property

             (1)     "Appliances" or "Office Equipment" with products of like kind and quality that have
                     been identified as "ENERGY STAR" or equivalent products of such energy
                     efficiency. If there are no such products available at the time of the loss, this
                     upgrade to green coverage does not apply.

             (2)     "Systems Furniture' or "Seating", with products of like kind and quality that are
                     certified as GREENGUARD Indoor Air Quality Certified° or products with similar
                     emissions characteristics. If there are no such products available at the time of
                     the loss, this upgrade to green coverage does not apply.

        B.   Loss Settlementfor the Insured's Building

             (1)     InteriorFinish Materials Upgrade

                     a.       LowerEmissions Products Upgrade Coverage

                              Defined Building Materials with Lower Emissions Products. If there are no
                              such products available at the time of the loss, this upgrade to green
                              coverage does not apply.

                     b.       EnvironmentallyPreferable Products UpgradeCoverage

                             Interior wood, carpeting and flooring with products of like kind and quality
                             that are Lower Emissions products, are Sustainably Produced products,
                             are Rapidly Renewable products or include Recycled Content products. If
                             there are no such products available at the time of the loss, this upgrade
                             to green coverage does not apply.

             (2)     Interior Plumbing Systems Upgrade Coverage

                     Interior plumbing fixtures including, but not limited to, toilets, shower heads, and
                     lavatory faucets with fixtures of like kind and quality that are W ater Efficient
                     fixtures. If there are no such products available at the time of the loss, this upgrade
                     to green coverage does not apply. For damaged or destroyed faucets, the
                     Company will also pay to install occupant sensors to reduce the potable water
                     demand.

             (3)     Lighting Systems Upgrade Coverage

                     Lighting systems, with products of like kind and quality that have been identified
                     as ENERGY STAR products or equivalent products of such energy efficiency. If
                     there are no such products available at the time of the loss, this upgrade to green
                     coverage does not apply. The Company will also pay to repair or replace damaged
                     light bulbs with light bulbs which have low mercury content.




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                               Resort Hotel Association Property Policy — March 8, 2020

               (4)       Efficient Heating and Cooling Equipment Upgrade Coverage

                         Heating and cooling equipment with products of like kind and quality that have
                         been identified as ENERGY STAR products or equivalent products of such energy
                         efficiency. If there are no such products available at the time of the loss, this
                         upgrade to green coverage does not apply.

               (5)       Building Reconstruction Following Total Loss

                                  Solely with respect to a Total Loss to a building, the Company will pay to
                                  replace the building on its existing foundation using the most cost effective
                                  techniques, products and materials that should satisfy the prerequisites
                                  and earn the minimum number of points required to qualify for LEED Silver
                                  certification using the LEED New Construction (LEED NC®) Rating
                                  System.

                         b.       CertificationExpenses

                                 (i)        The Company will pay the reasonable and necessary registration
                                            and certification fees charged by the United States Green Building
                                            Council (USGBC) that the Insured incurs should the Insured
                                            decide to seek LEED Silver certification. However, the Company
                                            will not pay to modify the reconstructed structure if it is not
                                            certified.

                                 (ii)       The Sublimit of Insurance for coverage under this subsection
                                            2.B.(5)is USD 25,000.

   3.   COVERAGE SECTION B: LEED CERTIFIED COVERAGE

        In addition to all Coverages provided in Coverage Section A (with the exception of 2.B.(5) Building
        Reconstruction Following a Total Loss) and in the event of direct physical loss or damage by any
        of the perils covered by the Policy to a building that is LEED certified at the time of the loss, or to
        the personal property within such building, the Company will pay to repair or replace damaged or
        destroyed as follows:

        A.      Loss Settlementfor Trees,Shrubs,and Vegetative Roofs

               (1)       Trees and shrubs planted specifically to secure the Heat Island Effect: Non-Roof
                         point as described in LEED NC. For the purposes of this coverage only,
                         notwithstanding any other provision of the Policy to the contrary, trees and shrubs
                         are Covered Property. The sublimit of insurance for this property coverage is USD
                         3,000 per tree or USD 3,000 per shrub up to a maximum of USD 25,000.

               (2)       Vegetative roofs on LEED certified buildings. Notwithstanding any other provision
                         of the Policy to the contrary, vegetative roofs are Covered Property.




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        B.      Loss Settlementfor Your Building

               (1)       Recertification Expenses

                         a.      In the event of direct physical loss or damage by any of the perils covered
                                 by the Policy that necessitates recertification of the damaged building, the
                                 Company will pay the reasonable and necessary registration and
                                 certification fees charged by the USGBC that the Insured incurs as a result
                                 of the recertification process.

                         b.      The Sublimit of Insurance for coverage under this section 3.B.(1) is USD
                                 25,000.

               (2)       Building Reconstruction Following Total Loss

                         a.      Solely with respect to a Total Loss to a building that is LEED certified at
                                 the time of the loss, the Company will pay to replace the building on its
                                 existing foundation using the most cost effective techniques, products and
                                 materials that would satisfy the prerequisites and should earn the
                                 minimum number of points required to qualify for LEED certification at one
                                 level above the certification in effect at the time of the loss using the LEED
                                 NC Rating System.

                         b.      CertificationExpenses

                                (i)        The Company will pay the reasonable and necessary registration
                                           and certification fees charged by the USGBC that the Insured
                                           incurs should the Insured decide to seek LEED certification.
                                           However, the Company will not pay to modify the reconstructed
                                           structure if it is not certified.

                                (ii)       The Sublimit of Insurance for coverage under this subsection
                                           3.B.(2)is USD 25,000.

  4.    COVERAGES INCLUDED WITHIN COVERAGE SECTIONS A OR B AND APPLICABLE TO
        LEED°AND NON-LEED°CERTIFIED BUILDINGS

        In the event of direct physical loss or damage by any of the perils covered by the Policy to a LEED
        or Non-LEED certified building:

        A.      Recyclin g Expenses

               (1)       The Company will pay the Insured's expenses to clean-up, sort, segregate, and
                         transport debris from the Insured's damaged building to recycling facilities, if such
                         debris can be recycled.

               (2)       The Sublimit of Insurance for this coverage is USD 25,000 and is in addition to the
                         debris removal expense sublimit provided by the Policy, if any.

               (3)       Any income or remuneration derived from this recycling shall be used to reduce
                         the loss.

        B.      Air Testing and Outdoor Air Ventilation ofthe Reconstructed Space

                         In accordance with the requirements for the Construction IAQ Management Plan:
                         Before Occupancy Credit as described in the LEED NC rating system (hereinafter,
                         Construction IAQ),the Company will pay to conduct air testing and a building flush-


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                       out (if required because of a failure to meet air quality standards set forth in the
                       Construction IAQ) and follow-up air testing for a total period of time not to exceed
                       two weeks.

              (2)      After the two-week period of increased outdoor air ventilation of the reconstructed
                       space,the Company will pay to replace the filtration media with new media.

              (3)      The Sublimit of Insurance for this coverage is USD 25,000.

        C.     ProfessionalServices

               The Company will pay reasonable and necessary expenses to hire a LEED Accredited
               architect or engineer to participate in the design and/or construction administration of the
               damaged portion of the building or the entire building, whichever is applicable.

               The Sublimit for this coverage is USD 50,000.

        D.     Building Commissioning Expenses

              (1)      In the event of direct physical loss or damage to mechanical, electrical, or
                       electronic building systems, by any of the perils covered by the Policy which
                       necessitates the commissioning or re-commissioning of those systems, the
                       Company will pay reasonable and necessary expenses of a Professional Engineer
                       to commission or re-commission those damaged systems in accordance with
                       LEEDprotocols.

              (2)      The Sublimit of Insurance for this coverage under this subsection 4.D.(1) is USD
                       25,000.

   5.   AdditionalDefinitions

        A.     "Appliances" means products including, but not limited to, dishwashers, refrigerators,
               freezers, ovens, microwave ovens, room air conditioners, room air cleaners and water
               heaters.

        B.     "Defined Building Materials" means:(1) all carpet and floor coverings, including, adhesives
               to affix them to the floor, (2) all interior paints, architectural coatings, primers,
               undercoatings, adhesives, sealants, and (3) permanently installed composite wood
               fixtures,including,counters,cabinets,and partitions.

        C.     "ENERGY STAR" means any product that has been identified by the United States
               Government Department of Energy, Environmental Protection Agency as ENERGY STAR
               qualified at the time of the loss.

        D.     "Heating and Cooling Equipment" means products including, but not limited to, heat pumps,
               boilers, central air conditioning, ceiling fans, dehumidifiers, exhaust fans, furnaces,
               thermostats,and ventilating fans.

        E.     "Lower Emissions Products means:

              (1)      With respect to adhesive and sealant products, such as, general construction
                       adhesives, flooring adhesives, fire-stopping sealants, caulking, duct sealants,
                       plumbing adhesives, and cove base adhesives, products that meet the
                       requirements of South Coast Air Quality Management District(SCAQMD) Rule #
                       1168; with respect to aerosol adhesives, products that meet Green Seal Standard
                       GS-36requirements;




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                   (2)      With respect to architectural paints, coatings, and primers, products that do not
                            exceed the volatile organic compound (VOC) content limits established in Green
                            Seal Standard GS-11, with respect to anti-corrosive and anti-rust paints, products
                            that do not exceed the VOC content limits established in Green Seal Standard GS-
                            03; and with respect to clear wood finishes, floor coatings, stains, and shellacs,
                            products that do not exceed the VOC content limits established by SCAQMD Rule
                            #1113;

                   (3)       With respect to carpet and carpet cushion, products that meet the requirements of
                             the Carpet and Rug Institute's Green Label Plus Program; and

                   (4)      With respect to composite wood and agrifiber products such as particleboard,
                            medium density fiberboard (MDF), plywood, wheatboard, strawboard, panel
                            substrates and door cores as well as laminating adhesives used to fabricate on-
                            site and shop-applied composite wood and agrifiber assemblies, products that
                            contain no added urea-formaldehyde resins.

            F.      "Office Equipment" means electronic products including, but not limited to, desktop
                    computers, laptop computers, monitors, printers, fax machines, scanners, copiers, and
                    telephones.

           G.       "Recycled Content Products" means those products that contain at least 20% post-
                    consumerrecycled content.

            H.      "Rapidly Renewable Products" means products that are made from plant resources that
                    are harvested within a ten-year cycle or shorter, including, but not limited to, bamboo,
                    eucalyptus, wheat straw, sunflower hulls, cork oak, wheatboard,linoleum, and sorghum.

            .
            I       "Seating" means task and guest chairs used with "System Furniture".

           J.       "Sustainably Produced Products" means those products certified by the Forest
                    StewardshipCouncil("FSC").

                   "System Furniture" means either a panel-based workstation comprised of modular
                   interconnecting panels, hang-on components and drawer/filing components of a
                   freestanding grouping of furniture items and their components that have been designed to
                   work in concert.

                   "Total Loss"means:

                   (1)      The covered building is completely destroyed regardless of whether any damage
                            is done to the foundation or slab, or

                   (2)      The covered building is in such condition after the loss that the standard method
                            of rebuilding or repairing the covered building is to raze the structure except for the
                            foundation or slab or including all or part of the foundation or slab and rebuild the
                            entire structure, whether such structure is actually rebuilt or not.

           M.      "Water Efficient Fixtures" means dry fixtures such as composting toilet systems and non-
                   water using urinals, flush toilets using no more than 1.6 gallons of water per flush, and
                   shower heads and faucets with a flow rate of no more than 2.2 gallons per minute.

   All other terms,conditions, definitions, exclusions,limitations and provisions ofthe Policy remain the same.




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                                                     ENDORSEMENT #10
                                      LOSS PAYEES ENDORSEMENT - SPECIAL TERM SUMMARY
                                            SCHEDULE OF 2020 MEMBER DEDUCTIBLES
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CHLJE319°

                                               POLICY REVISION ENDORSEMENT

 'Named Insured                                                                                         Endorsement Number
  Resort Hotel Association,Inc.                                                                         011
  Policy Symbol     Policy Number                            Policy Period                              Effective Date of Endorsement
  GPA               D42219174003                             March 8,2010 to March 8,2021               March 8,2020
  Issued By(Name ofInsurance Company)
  ACE American Insurance Company
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        THIS ENDORSEMENT CHANGES THE POLICY.PLEASE READ IT CAREFULLY.
 THIS ENDORSEMENT MODIFIES INSURANCE PROVIDED UNDER THE FOLLOWING:
                                         PROPERTY / BOILER & MACHINERY POLICY


In consideration ofthe premium charged,the policy is amended as follows:
A. The PROGRAM SUBLIMITS for the perils of Named Windstorm,Flood and Earth Movement in section 4.
   LIMITS OF LIABILITY,are deleted and replaced with the following:
     USD 3oo,000,000                                 per Occurrence as respects the peril of Named Windstorm,
     USD 3oo,000,000                                  per Occurrence and in the annual aggregate as respects the peril of Flood
     USD 3oo,000,000                                  per Occurrence and in the annual aggregate as respects the peril of Earth
                                                      Movement,except;
     USD 10,000,000                                  Earth Movement in California as respects locations in which Loss Payee
                                                     Pebble Beach Company and its corporate subsidiaries and affiliates have an
                                                     identified interest specifically included in a Loss Payee Endorsement;
                                                     otherwise, unless specifically endorsed hereon, or as appearing within the
                                                     Loss Payee Endorsement. All other Earth Movement in California is
                                                     excluded.
B. The second paragraph ofsection 5. DEDUCTIBLE,is deleted in its entirety and replaced with the following:
     Only the difference between the Member Deductible and the Per Occurrence Deductible plus loss adjustment
     expenses, shall reduce the Aggregate Deductible. Losses from the perils of Flood, Earth Movement,
     Earthquake Shock and Named Windstorm, as defined herein, shall be subject only to the Member's
     Deductible and not to the Per Occurrence Deductible, nor shall these losses contribute to the exhaustion of the
     Aggregate Deductible.
C. The following is added to Section 20. EXTENTIONS OF BUSINESS INTERRUPTION COVERAGES,
   clause h)Loss of Attraction:
    The Waiting Period applicable to this Loss Of Attraction Extension of Business Interruption Coverage is 48
    Hours.
D. Section 20.EXTENSIONS OF BUSINESS INTERRUPTION COVERAGE clause h)Loss of Attraction,
   sub-clause 1. is deleted in its entirety and replaced by the following:
    1. Infectious or contagious disease manifested by any person while on the premises of the Insured and
       access to such location is limited, restricted or prohibited by an order of an authorized governmental
       agency regulating the actual not suspected presence ofcommunicable disease.
           However, this coverage will not apply to any losses sustained from an event arising from the 2019
           Coronavirus (COVID-19).
E. The following counties are added to Pacific Northwest Earthquake Zones listed in APPENDIX #2:
    Oregon Counties: Clatsop,Coos,Curry,Lincoln,and Tillamook




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F. Individual Member deductibles are the greater of the program deductible or the deductible specified in
   Endorsement #10 Loss Payees Endorsement — Special Term Summary Schedule of 2020
   Member Deductibles,exceptfor the following:
    •   5% per unit of insurance,subject to a minimum $1,000,000 as respects Named Windstorm in the state of
        Florida; and
    -   5% per unit of insurance,subject to a minimum $1,000,000 as respects Named Windstorm in Mexico.
G. Endorsement #11, Indemnity Agreement, is deleted in its entirety and replaced with the following
   provision:
   Indemnity Agreement
   If any Certificates of Insurance or other written evidence are issued with a deductible other than the policy
   deductible to satisfy the contractual obligation of the Insured to a third party for covered property under this
   policy, losses will be adjusted with the Insured and payable to the Insured and appropriate loss payee(s) as
   their interest may appear and will be adjusted based on the policy deductible. The Insured is responsible for
   the difference between the policy deductible and any deductible evidenced to a third party that is lower than
   the policy deductible.
H. The following provision is added to the policy:
   Misrepresentation &Fraud
   This entire policy shall be void if, whether before or after a loss, the Insured has willfully concealed or
   misrepresented any m aterialfact or circumstance.




All other terms and conditions remain unchanged.




M S-296553(03/20)                                                                                        Page 2 0f2
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                                                    TERRORISM EXCLUSION

Named Insured                                                                                       Endorsement Number
Resort Hotel Association, Inc.                                                                     012
                             . ... . _                                                              .
Policy Symbol              Policy Number            Policy Period                                   Effective Date of Endorsement
GPA                         D42219174 003           03/08/2020 to 03/08/2021                       03/08/2020
                                '
Issued By(Name of Insurance Company)
ACE American Insurance Company



                    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY,


The following exclusion is added to this policy and applies to all coverages, additional coverages, and coverage
extensions, notwithstanding any provision to the contrary in this policy or any other endorsement hereto:


   This Policy excludes loss, damage, cost, or expense directly or indirectly caused by or resulting from any of the
   following regardless of any other cause or event, whether or not insured under this Policy, contributing concurrently or
   in any other sequence thereto:

  (1)                Act of Terrorism;

  (2)             action taken by or on behalf of any government or any branch or division thereof (including, without
          limitation, the uniformed armed forces, militia, police, state security, and anti-terrorism agencies) in responding to,
          preventing, combating, defending or retaliating against any Act of Terrorism; or

  (3)             dispersal, application, or release of any actual or alleged pathogen, poison, biologic or chemical product,
          material, waste or substance as a result of an Act of Terrorism, and it reasonably appears that one purpose of the
          Act of Terrorism was to release such product, material, waste or substance.

   This exclusion applies whether or not the Act of Terrorism was committed in concert with or on behalf of any
   organization or government.


   The terms and limitations of this exclusion do not serve to create coverage for any loss which would otherwise be
   excluded under this Policy, such as, but not limited to, losses excluded by the "Nuclear Exclusion" or the "War
   Exclusion" or similar provision.

   If an Act of Terrorism results in a fire and the direct physical loss or damage to property insured hereunder located in
   any State of the United States, the District of Columbia, the Commonwealth of Puerto Rico, the Commonwealth of the
   Northern Mariana Islands, American Samoa, Guam, each of the United States Virgin Islands and any territory or
   possession of the United States, that, either pursuant to the Standard Fire Policy or otherwise, prohibits exclusions for
   acts of terrorism that result in fire, this Company will pay for the loss or damage caused by that fire. Such coverage for
   fire applies only to direct loss or damage to property insured hereunder and may be limited, in accordance with the
   Standard Fire Policy, to the lesser of the actual cash value of the property at the time of the loss or the amount which it
   would cost to repair or replace the property, without allowance for any increased cost of repair or replacement by
   reason of any ordinance or law, and without any compensation for business interruption, extra expense to continue
   business activities, or any other coverage for loss or damage other than direct physical loss or damage to the property
   insured hereunder.


   As used in this endorsement, "Act of Terrorism" means any act against persons, organizations or property of any
   nature:

   1.           That involves the following or preparation for the following:




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          a. Use or threat of force or violence; or

           b. Commission or threat of a dangerous act; or

          c. Commission or threat of an act that interferes with or disrupts an electronic, communication, information, or
             mechanical system; and

   2.     When one or both of the following applies:

          a, The effect is to intimidate or coerce a government or the civilian population or any segment thereof, or to
             disrupt any segment of the economy; or

           b. It appears that the intent is to intimidate or coerce a government, or to further political, ideological,
              religious, social or economic objectives or to express(or express opposition to) a philosophy or ideology.

  "Act of Terrorism" includes any incident determined to be such by an official, department or agency that has been
  specifically authorized by federal law to make such a determination.

All other terms and conditions remain unchanged.




                Authorized Representative                                       Authorized Representative




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                                   EXCLUSION OF CERTIFIED ACTS OF TERRORISM
I Named Insured                                                                                         Endorsement Number
,i Resort Hotel Association, Inc.                                                                      013
:PeiliCY SYmbol
,                 '          ' Number
                          'Policy                 :PalicY Period                                        Effeetive Date of adorsement
    GPA                       D42219174 003        03/08/2020 to 03/08/2021                           ' 03/08/2020
                                                                                           _       • -
;]-KsuOd By(Name of Insurance Corn/Sony)
 !1 ACE American Insurance Company



                      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

       i.   The following definition is added to the policy with respect to the provisions of this endorsement:

                  "Certified Act of Terrorism" means an act that is certified by the Secretary of the Treasury, in accordance with
                  the provisions of the federal Terrorism Risk insurance Act, to be an act of terrorism pursuant to such Act. The
                  criteria contained in the Terrorism Risk Insurance Act for a "Certified Act of Terrorism" include the following:

                       The act resulted in insured losses in excess of $5 million in the aggregate, attributable to all types of
                       insurance subject to the Terrorism Risk Insurance Act; and


                  b. The act is a violent act or an act that is dangerous to human life, property or infrastructure and is
                     committed by an individual or individuals as part of an effort to coerce the civilian population of the United
                     States or to influence the policy or affect the conduct of the United States Government by coercion.

       2.   The following exclusion is added to the policy:

                  CERTIFIED ACT OF TERRORISM EXCLUSION

                  The Company will not pay for loss or damage caused directly or indirectly by a "Certified Act of Terrorism".
                  Such loss or damage is excluded regardless of any other cause or event that contributes concurrently or in
                  any sequence to the loss.


      3. The following exception to the exclusion in paragraph 2. of this endorsement applies only as indicated:

            -     Exception Covering Certain Fire Losses

                  If an Act of Terrorism results in a fire and the direct physical loss or damage to property insured hereunder
                  located in any State of the United States, the District of Columbia, the Commonwealth of Puerto Rico, the
                  Commonwealth of the Northern Mariana Islands, American Samoa, Guam, each of the United States Virgin
                  Islands and any territory or possession of the United States, that, either pursuant to the Standard Fire Policy
                  or otherwise, prohibits exclusions for acts of terrorism that result in fire, this Company will pay for the loss or
                  damage caused by that fire. Such coverage for fire applies only to direct loss or damage to property insured
                  hereunder and may be limited in accordance with the Standard Fire Policy to the lesser of the actual cash
                  value of the property at the time of the loss or the amount which it would cost to repair or replace the property,
                  without allowance for any increased cost of repair or replacement by reason of any ordinance or law, and
                  without any compensation for business interruption, extra expense to continue business activities, or any
                  other coverage for loss or damage other than direct physical loss or damage to the property insured
                  hereunder.




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                                                           ISO Properties, Inc.
   Case 3:22-cv-00406-HEH Document 1-1 Filed 05/31/22 Page 74 of 118 PageID# 79




           If aggregate insured losses attributable to terrorist acts certified under the Terrorism Risk Insurance Act
           exceed $100 billion in a Program Year (January 1 through December 31) and the Company has met its
           insurer deductible under the Terrorism Risk Insurance Act, the Company shall not be liable for the payment of
           any portion of the amount of such losses that exceeds $100 billion, and in such case insured losses up to that
           amount are subject to pro rata allocation in accordance with procedures established by the Secretary of the
           Treasury.

   4. The terms and limitations of this exclusion do not serve to create coverage for any loss which would otherwise be
      excluded under this Policy, such as, but not limited to, losses excluded by the "Nuclear Exclusion" or the "War
      Exclusion" or similar provision..




All other terms and conditions remain unchanged.




               Authorized Representative                                      Authorized Representative




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                                                    ISO Properties, Inc.
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CHUBB'                                                ACE American Insurance Company
                                                                         Insurance Company
                                                      Resort Hotel Association,Inc.
                                                                             Policyholder
                                                      D42219174 003
                                                                               Policy Number
                                                         Alliant Insurance Services
                                                                             Broker/Producer


                                     POLICYHOLDER DISCLOSURE
                             NOTICE OF TERRORISM INSURANCE COVERAGE
You were notified that under the Terrorism Risk Insurance Act, as amended, you have a right to purchase insurance
coverage for losses resulting from acts of terrorism. As defined in Section 102(1) of the Act: The term "act of terrorism"
means any act or acts that are certified by the Secretary of the Treasury---in consultation with the Secretary of Homeland
Security, and the Attorney General of the United States---to be an act of terrorism; to be a violent act or an act that is
dangerous to human life, property, or infrastructure; to have resulted in damage within the United States, or outside the
United States in the case of certain air carriers or vessels or the premises of a United States mission; and to have been
committed by an individual or individuals as part of an effort to coerce the civilian population of the United States or to
influence the policy or affect the conduct of the United States Government by coercion.

YOU SHOULD KNOW THAT WHERE COVERAGE IS PROVIDED BY YOUR POLICY FOR LOSSES RESULTING
FROM CERTIFIED ACTS OF TERRORISM, SUCH LOSSES MAY BE PARTIALLY REIMBURSED BY THE UNITED
STATES GOVERNMENT UNDER A FORMULA ESTABLISHED BY FEDERAL LAW. HOWEVER, YOUR POLICY MAY
CONTAIN OTHER EXCLUSIONS WHICH MIGHT AFFECT YOUR COVERAGE, SUCH AS AN EXCLUSION FOR
NUCLEAR EVENTS. UNDER THE FORMULA, THE UNITED STATES GOVERNMENT GENERALLY REIMBURSES
85% FOR YEAR 2015, 84% BEGINNING ON JANUARY 1, 2016; 83% BEGINNING ON JANUARY 1, 2017, 82%
BEGINNING ON JANUARY 1, 2018; 81% BEGINNING ON JANUARY 1, 2019 AND 80% BEGINNING ON JANUARY 1,
2020, OF COVERED TERRORISM LOSSES EXCEEDING THE STATUTORILY ESTABLISHED DEDUCTIBLE PAID
BY THE INSURANCE COMPANY PROVIDING THE COVERAGE. THE PREMIUM THAT WOULD BE CHARGED FOR
THIS COVERAGE IS PROVIDED BELOW AND DOES NOT INCLUDE ANY CHARGES FOR THE PORTION OF LOSS
THAT MAY BE COVERED BY THE FEDERAL GOVERNMENT UNDER THE ACT.

YOU SHOULD ALSO KNOW THAT THE TERRORISM RISK INSURANCE ACT, AS AMENDED, CONTAINS A $100
BILLION CAP THAT LIMITS U.S. GOVERNMENT REIMBURSEMENT AS WELL AS INSURERS' LIABILITY FOR
LOSSES RESULTING FROM CERTIFIED ACTS OF TERRORISM WHEN THE AMOUNT OF SUCH LOSSES IN ANY
ONE CALENDAR YEAR EXCEEDS $100 BILLION. IF THE AGGREGATE INSURED LOSSES FOR ALL INSURERS
EXCEED $100 BILLION, YOUR COVERAGE MAY BE REDUCED.


You elected NOT to purchase terrorism coverage under the Act at the price indicated. ACCORDINGLY, WE WILL NOT
PROVIDE THIS COVERAGE AND YOU DO NOT OWE THE ADDITIONAL PREMIUM FOR THAT COVERAGE
INDICATED BELOW.

Terrorism coverage described by the Act under your policy was made available to you for
additional premium in the amount of $Declined, however you elected to decline such coverage.
By signing the Notice of Election, you are acknowledging your declination of such coverage.


TRIA15d (01/15)                                                                                                  Page 1 of 1
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 CHUBB°



                           BIOLOGICAL,CHEMICAL OR NUCLEAR EXCLUSION
Olamed Insured '—''— "'"' -       -                            ......_.                          Endorsement Nuniber
,f Resort Hotel Association, Inc.
                              , .„. .                                                            014
: Policy Symbol         'Policy Number         Policy Period                               --    Effective Date of Endorsement
.;GPA                        : D42219174 003   03/08/2020 to 03/08/2021                          03/08/2020
!, Issued Sy(Name of Insurance COMpany)
!i ACE American Insurance Company


                  THIS ENDORSEMENT CHANGES THE POLICY.PLEASE READ IT CAREFULLY.

                          This endorsement modifiesinsurance provided under thefollowing:
 The following exclusion is added to this policy; supersedes any term, provision or endorsement to the contrary in this
 policy; and applies notwithstanding such term,provision or endorsement:
      BIOLOGICAL,CHEMICAL OR NUCLEAR EXCLUSION
      This policy does not insure against any loss, damage,cost or expense caused by or resulting from any of the following,
      regardless of any other cause or event contributing concurrently or in any sequence thereto:
      1. The unlawful possession, use, release, discharge, dispersal or disposal of any chemical, bacteriological, viral,
         radioactive or similar agents or material regardless of who is responsible for the act, whether or not the act is
         certified as an act of terrorism pursuant to the federal Terrorism Risk Insurance Act, and whether war has been
         declared or not, and regardless of any other cause or event contributing concurrently or in any other sequence
         thereto; or
      2. The unlawful possession, use, release, discharge, detonation, dispersal or disposal of any device or material
         capable of producing a nuclear reaction or the spread of radioactivity, regardless of who is responsible for the act,
         whether or not the act is certified as an act of terrorism pursuant to the federal Terrorism Risk Insurance Act, and
         whether war has been declared or not, and regardless of any other cause or event contributing concurrently or in
         any other sequence thereto.

 All other terms and conditions remain unchanged.


 Authorized Representative                                                       Authorized Representative




AGP-33209(12/17)                                                                                                        Page i of
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                                        CAPPING OF LIMITS ENDORSEMENT

                                                                                          Endorsement NuMber
 Resort Hotel Association,Inc.                                                            015
 Policy Symbol          Policy Number              Policy Period                          Effective Date ofEndorsement
 GPA
   _                    1)42219174003                   03/08/2020 to03/08/2021           03/08/2020
 Issued By(Name ofInsurance Company)
 ACE American Insurance Company


       THIS ENDORSEMENT CHANGES THE POLICY.PLEASE READ IT CAREFULLY.
The following provisions are added to this policy; supersede any conflicting provision in this policy; and apply
notwithstanding any such conflicting provision:

1.        General Policy Declarations is amended by adding the following to Policy Limit And Application Of Limits
          OfLiability:

          AGGREGATE LIMITS OF LIABILITY

          A.       Notwithstanding any terms or conditions of this policy which might be construed otherwise, and
                   subject to paragraphs B. and C. below, the maximum payable for all loss and damage in any one
                   Occurrence under:

                   1.        this policy; and

                   2,         either:

                              a. any "local admitted policies" issued outside of the United States, including its
                                 territories and possessions and Puerto Rico, to the Named Insured or its subsidiary,
                                 affiliate or associate at the request of the Company or its affiliate, or

                              b. any reinsurance agreement(s) entered into by the Company, or any affiliate thereof,
                                 which provides reinsurance coverage of loss under any policy, including a "local
                                 admitted policy(ies)," issued to the First Named Insured or any subsidiary or affiliate
                                 thereof,

                                 (such "local admitted policy(ies)" and such reinsurance agreement(s) hereinafter
                                  referred to collectively as "Other Agreement(s)");

                                   and

                   3.        any direct or indirect replacement of the policy or Other Agreement(s) shown in A.i. or
                             A.2. above,


                   combined, shall be the Company's limit of insurance Per Occurrence as shown in the Limits of
                   Liability section ofthis policy(the "Occurrence Limit").

                   Subject to paragraphs B. and C. below, the Occurrence Limit is the most that will be paid under
                   this policy and the Other Agreement(s), combined,for all loss and damage in any one Occurrence,
                   regardless of the number of locations, Insureds or coverages involved, and regardless of any
                   occurrence, claim, or accident limit, or any other limit of insurance or limit of liability, in this
                   policy or any Other Agreement(s).

                   Notwithstanding any terms or conditions of this policy which might be construed otherwise, and
                   subject to paragraph C. below, with regard to covered loss caused by a peril or to a type of covered
                   property or in or affecting a geographic area or location for which a specific limit or sub-limit of
                   insurance is shown in this policy as applicable Per Occurrence, the maximum payable for all such
                   loss and damage in any one Occurrence under:


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               1.      this policy and

               2.      any Other Agreement(s)

               shall be the corresponding limit or sub-limit of liability applicable Per Occurrence shown in this
               policy.

               Such limits or sub-limits of liability are the most that will be paid under this policy and the Other
               Agreement(s), combined, in any one Occurrence with regard to the corresponding peril, type of
               covered property, or geographic area or location, regardless of the number of locations, insureds
               or coverages involved, and regardless of any aggregate, per occurrence, per claim, or per accident
               limit, or any other limit or sub-limit of insurance or limit or sub-limit of liability, in this policy or
               any Other Agreement(s).

        C.     Notwithstanding any terms or conditions of this policy which might be construed otherwise, with
               regard to covered loss caused by any peril for which an Annual Aggregate limit or Annual
               Aggregate sub-limit of liability is shown in this policy, the maximum annual aggregate liability,
               combined,under:

               1.      this policy and

               2.      any Other Agreement(s)

               shall be the Annual Aggregate limit or Annual Aggregate sub-limit of liability corresponding to
               such peril, or corresponding Annual Aggregate sub-limit of liability (if there is a limit or sub-limit
               of liability applicable to a particular geographic area or location or cause of loss within such a
               limit or sub-limit of liability), shown in this policy.

               Such Annual Aggregate limits or Annual Aggregate sub-limits of liability are the most that will be
               paid under this policy and the Other Agreement(s), combined, in any annual period of the policy
               term with regard to covered loss caused by perils for which an Annual Aggregate limit or Annual
               Aggregate sub-limit of liability is shown in this policy, regardless of the number of Occurrences,
               locations, insureds or coverages involved, and regardless of any aggregate, per occurrence, per
               claim, or per accident limit, or any other limit or sub-limit of insurance or liability, in this policy
               or any Other Agreement(s).

               Nothing in this section shall serve to increase any Per Occurrence, Annual Aggregate or aggregate
               limit or sub-limit ofliability ofthis policy.

2.     For purposes of this endorsement, the term "local admitted policies" shall mean a policy or policies issued
       in a particular country by an admitted insurer in that country, and which policy or policies are part of a
       worldwide property insurance program for which this policy provides coverage on a difference in
       conditions and/or difference in limits basis.

3,     The Company and/or its affiliates, as the insurer under this policy and as either an insurer or reinsurer
       under any Other Agreement(s), shall have the right to make payments in excess of the Aggregate Limits of
       Liability described in section 1. of this endorsement. In addition, the Company and/or its affiliates may
       be required to make such a payment pursuant to the terms of one or more Other Agreements. However,
       the First Named Insured agrees that it will reimburse the Company within thirty (30) days of our request
       for reimbursement of any payment that the Company and/or its affiliates makes under this policy or any
       payment that is made under any Other Agreement(s)after such Aggregate Limit of Liability is exhausted.

All other terms and conditions remain unchanged.




             Authorized Representative                                    Authorized Representative


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                                                  POLITICAL RISK EXCLUSION

: Named Insured                                                                                     1 Endorsement Number
  Resort Hotel Association, Inc.                                                                    : 016
i Policy SyMtibt"          Paficy Nitrate('       : Policy Period                                  : EffeCtitie Date Of Endorsement
  GPA                      D42219174 003           03/08/2020 to 03/08/2021                         . 03/08/2020
'!Sailed By(Nanie of-I nairranca Cbmpany) '   -
  ACE American Insurance Company


                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



  The following exclusion is added to the policy; supersedes any term, provision or endorsement to the contrary in this
  policy; and applies notwithstanding such term, provision or endorsement:

             POLITICAL RISK EXCLUSION

             This Policy excludes loss, damage, cost or expense directly or indirectly caused by or resulting from Political Risk,
             regardless of any other cause or event, whether or not insured under this policy, contributing concurrently or in
             any other sequence thereto.

             For purposes of this exclusion, the term "Political Risk" means the risk of loss or damage to property in a country
             caused by:

             1, a change in that country's political structure or policies, such as tax laws, tariffs, expropriation of assets, or
                restriction in repatriation of profits, or any political change that alters the expected outcome and value of a
                given economic action by changing the probability of achieving business objectives; or

                    non-market factors, such as macroeconomic and social policies (fiscal, monetary, trade, investment,
                    industrial, income, labor, and developmental) of a country or events related to political instability of that
                    country.


  All other terms and conditions remain unchanged,




                      Authorized Representative                                       Authorized Representative




 AGP-33229 (02/11)                                                                                                           Page 1 of 1
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                                            PRODUCTS RECALL EXCLUSION

Named Insured                                                                                       Endorsement Number
Resort Hotel Association, Inc.                                                                      017
Policy Symbol               Policy Number    -          • Policy Period                             Effective Date of Endorsement
GPA                         D42219174 003               03/08/2020 to 03/08/2021                    03/08/2020
Issued By(Name Of Iri tirance COmpany)      --- •   -
ACE American Insurance Company



                THIS ENDORSEMENT CHANGES THE POLICY.PLEASE READ IT CAREFULLY.
                       This endorsement modifiesinsurance provided under the following:


The following exclusion is added to this policy; supersedes any term, provision or endorsement to the contrary in this
policy; and applies notwithstanding such term,provision or endorsement:

         PRODUCTS RECALLEXCLUSION

         This policy does not insure against any loss, damage,cost or expense:

                associated with any form of contamination of the Insured's raw stock, stock in process, or finished stock or
                products in the stream of commerce, all whether direct or indirect, proximate or remote, or in whole or in part
                caused by, contributed to or aggravated by any physical damage insured in this policy, unless directly resulting
                from other physical damage not excluded by this policy; or

         2.     incurred by the Insured or by others for the loss of use, withdrawal, recall, inspection, repair, replacement,
                adjustment, removal or disposal of the Insured's product or product of the Insured's direct or indirect
                customers or suppliers if such product or any portion of its withdrawn or recalled from the market or from use
                by any person or organization,including,but not limited to, any governmental body.


All other terms and conditions remain unchanged.




                 Authorized Representative                                            Authorized Representative




AGP-33233a(06/17)                                                                                                           Page 1 of
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                                               CERTIFICATES OF INSURANCE ENDORSEMENT

ONO;O:00:10YVI.':, - .•        .                        :,.,   .....                                                                   :-..e
' Resort Hotel Association, Inc.
                            ..                                                                                                           018
                                                                                                                                          . . ..........:........                         ,.........
 Pt qM§0.!.'.                  F,,ii?)tqfk.ii,oppfi.,                  Policy Period                                                    :sttottiyg,pate ipt.pilp:/.0qE9got:
 GPA
   .. ....._                   O42219174 003                           03/08/2020 to 03/08/2021                                         • 03/08/2020
                                                                                                                                                                    ....... ......
I Issued By(Name(*Insurance'------------
                            CompanyT
i ACE American Insurance Company
   .... .                  .  .
          Insert the policy number. The remainder of the information is to be completed only when this endorsement is issued subsequent to the preparation of the policy,




                      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

The following provisions are added to this policy and supersede and replace any conflicting provision in this policy
(including in any other endorsement hereto):

            CERTIFICATES OF INSURANCE
            Any Certificate of Insurance issued in connection with this Policy, whether by or on behalf of the Company or an
            Insured, shall be issued solely as a matter of convenience or information of the addressee(s) or holder(s) of such
            certificate of insurance. A Certificate of Insurance does not confer any rights upon any person or entity, nor alter
            any term or condition of this Policy. Additional Named Insureds may only be added to this policy by an
            endorsement.


 All other terms and conditions remain unchanged.




                   Authorized Representative                                                            Authorized Representative'




AGP-43955(05/16)                                                                                                                                                                     Page 1 of 1
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                         CONTINGENT TIME ELEMENT DEDUCTIBLE ENDORSEMENT
I Named lnatired                                                                              Elidersement Nurnbet
 Resort Hotel Association, Inc.                                                               019
! Policy SYmbor        ' Policy Number            Polity Period' ""                          'Effective Date of Endorsement
 GPA                         D42219174 003        03/08/2020 to 03/08/2021                   , 03/08/2020
.1sued By(Narrie ofIrisurance"CoMPanY)
 ACE American Insurance Company




                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY:


 The following provisions are added to this policy; apply only to coverage provided for Contingent Time Element; and
 supersede and replace any conflicting provision in this policy (including in any other endorsement hereto):


            For Contingent Time Element loss, when a deductible is not specifically stated as applying to Contingent Time
            Element, the deductible for Contingent Time Element loss will be determined as though the contingent time
            element location was an insured location under this Policy.


 All other terms and conditions remain unchanged.




                                                                                  _                                  ...,,Tr.r.-•••••••12=1.11,11

                   Authorized RepreSeritatiiie—                                Authonzed Representative




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                                     GLOBAL PROGRAM SOLUTIONS ENDORSEMENT

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    Resort Hotel Association, Inc.                                                                   020
    polio Symbol --   -- Rolicy,Nfirober
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                                                                                                      ,,          of Ehdojsorhcht
                                                                                                                     „, ,
    GPA -                b42219174 003           03/08/2020 to 03/08/2021                            03/08/2020
. Issued By(Name of Insurance Company)
, ACE American Insurance Company


                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


 The following endorsement is added to this policy; supersedes any term, provision or endorsement to the contrary in this
 policy; and applies notwithstanding such term, provision or endorsement:


 FOREIGN ENTITY LOSS PROVISIONS

      A. Insuring Agreement

           1. This endorsement applies only when a Foreign Entity has a Foreign Loss. In the event of a Foreign Loss, the
              Company will indemnify the First Named Insured for the Foreign Loss caused by an Occurrence in
              accordance with this endorsement. This endorsement provides the only coverage under this Policy for a
              Foreign Loss.

           2.   Nothing in this endorsement is intended to, nor does it, extend coverage beyond the terms, conditions,
                exclusions and other limitations of this Policy.

      B. Who Is An Insured

           The First Named Insured is the only insured under this endorsement. When this endorsement applies, this Policy
           is amended to provide that no Foreign Entity is an insured under this Policy.

      C. Limits of Liability

           The insurance provided by this endorsement is subject to all applicable limits and sub-limits of liability, time limits,
           waiting periods, and deductibles stated in the Declarations of, or elsewhere in, this Policy, including any
           aggregate limits or sub-limits of liability (collectively, "limits"). Any Foreign Loss for which the Company pays
           indemnity will erode and be counted against such limits. Such limits apply on the same basis (per Occurrence,
           annual aggregate, per Location, etc.) with respect to the First Named Insured as would apply if the Foreign Entity
           was an insured under this Policy.

      D. AdditionalDefinitions

           The following definitions are added to the policy:

                "First Named Insured" means the first Named Insured shown on the Declarations and must be a United
                States-domiciled entity.

           2.   "Foreign Entity" means an entity which would be a Named Insured or insured under this Policy but for the fact
                that its principal place of business or statutory domicile is located in a jurisdiction where the Company is not
                Licensed.

           3. "Foreign Loss" means a loss incurred or paid by the Foreign Entity that would be covered under the terms and
              conditions of this Policy if the Foreign Entity was insured under this Policy.

           4. "License" or "licensed" means, with respect to any country, permitted in accordance with applicable law to
              conduct the business of insurance in such country.

      E. AdditionalConditions

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        The following conditions are added to the policy:

        1. FOREIGN LOSS CONDITIONS

                The following conditions apply to this endorsement. If there is a conflict between one or more of the
                following conditions and the other provisions in the Policy, then the following conditions will control:

                a. Matters known by the Foreign Entity will be deemed known by the First Named Insured.

                b. The First Named Insured will, when directed by the Company:

                    (1) retain in its own name, but at the Company's expense, a mutually agreed loss adjusting expert
                       ("loss adjuster') to investigate and adjust the Foreign Loss;

                    (2) where permitted by applicable law, grant the Company the full right to collaborate with such loss
                        adjuster;

                    (3) grant the Company full access to any records produced by such loss adjuster; and

                    (4) where permitted by applicable law, obtain the right to control the investigation and adjustment of
                        the Foreign Loss, using experts approved by us, including access to books, records, bills,
                        invoices, vouchers and other information.

                        However, the Company will not require the First Named Insured to retain a separate loss
                        adjusting expert if such adjuster has been designated in another provision of this Policy.

                c. The First Named Insured will ensure that the Foreign Entity enforces any right to recovery from any
                   third party with respect to the Foreign Loss or assigns to the First Named Insured any cause of action
                   that the Foreign Entity may have against any third party arising out of the Foreign Loss. In the event
                   of any recovery by the Foreign Entity for a loss paid by the Company to the First Named Insured, the
                   recovery shall be applied as per the subrogation clause of this Policy.

                d. Payment to the First Named Insured of any Foreign Loss will, to the extent of such payment,
                   discharge the Company from any liability to any other entity, whether or not named as an insured in
                   this Policy.



All other terms and conditions remain unchanged.




               Authorized Representative                                      Authorized Representative




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                                           LENDER'S LOSS PAYABLE ENDORSEMENT

NainediOsured,                                                                                   FAidtmeOient:-Pio)•nlier.
Resort Hotel Association,Inc.                                                                    021
Polic,Srpli91                  .rPoljeSAupber
                                  ,                   Policy Period                              Effective Date OfE'ndorsement
                                                             ,. .„
GPA                          1 D42219174003                  03/08/202o to 03/08/2021            03/68/2020
Issiled By(Nain ofinsprancp.CpmOny)1
ACE American Insurance Company


The following terms and provisions are added to the Policy; supersede any term,provision or endorsement to the contrary
in this Policy; and apply notwithstanding any such term,provision or endorsement in this Policy or in any underlying,
contributing orfollowed policy:


A. Nothing in this LENDER'S LOSS PAYABLE endorsement increases the applicable limit or sub-limit of insurance. The
   Company will not pay any Lender Loss Payee more than its financial interest in Covered Property and the Company
   will not pay more than the applicable limit or sub-limit ofinsurance on the Covered Property.

B. LENDER LOSS PAYEE AND MORTGAGEE INTERESTS AND OBLIGATIONS

     1.   The Company will pay for loss to specified Covered Property to each Lender Loss Payee specified in an
          endorsement to this Policy as its interest may appear, and to each Mortgagee specified in an endorsement to this
          Policy as its interest may appear, under all present or future mortgages upon such property, in order of
          precedence of the mortgages. A "Lender Loss Payee" (hereinafter referred to as Lender) is a creditor of an
          Insured, whose interest in Covered Property is established by such written instruments as warehouse receipts,
          contracts for deed, contracts for sale, bills of lading, financing statements, deeds of trust, or security agreements.
          A "Mortgagee" is a mortgageholder whose interest in Covered Property is established by a written mortgage.
          Lenders and Mortgagees are not Insureds, and have only the rights and obligations under this Policy that are set
          forth in this endorsement.

    2.    The interest of such Lender or Mortgagee (as the case may be) in property insured under this Policy will not be
          invalidated by:

          a. any act or neglect ofthe debtor, mortgagor,or owner(as the case may be)of the property.

          b. foreclosure, notice ofsale, or similar proceedings with respect to the property.

          c. change in the title or ownership ofthe property.

          d. change to a more hazardous occupancy.

          Such Lender or Mortgagee will notify the Company of any known change in ownership, occupancy, or hazard and,
          within 10 days of written request by the Company, may pay the increased premium associated with such known
          change. If such Lender or Mortgagee fails to timely pay the increased premium, all coverage under this Policy will
          cease.

    3. If this Policy is cancelled at the request of the First Named Insured or its agent, at the same time,the First Named
       Insured must notify the Company of the identities and mailing addresses of all Lenders and Mortgagees.
       Coverage for the interest of such Lenders and Mortgagees will terminate ro days after the Company sends to the
       Lender or Mortgagee written notice of cancellation, unless:

          a. sooner terminated by authorization, consent, approval, acceptance, or ratification of the First Named
             Insured's action by the Lender or Mortgagee,or its agent.




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    b. this Policy is replaced by the First Named Insured, with a policy providing coverage for the interest of the
       Lender or Mortgagee, in which event coverage under this Policy with respect to such interest will terminate as
       of the effective date of the replacement policy, notwithstanding any other provision ofthis Policy.

4. The Company may cancel this Policy and/or the interest of a Lender or Mortgagee under this Policy by giving any
   such Lender or Mortgagee specified in an endorsement to this Policy written notice 6o days prior to the effective
   date of cancellation, if cancellation is for any reason other than nonpayment. If the debtor, mortgagor, or owner
   has failed to pay any premium due under this Policy, the Company may cancel this Policy for such non-payment,
   but will give such Lender or Mortgagee written notice io days prior to the effective date of cancellation. If such
   Lender or Mortgagee fails to pay the premium due by the specified cancellation date, all coverage under this Policy
   will cease.


    All other terms and conditions ofthis Policy remain unchanged.




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 CHUBB'


                   VIRGINIA CHANGES — CANCELLATION AND NONRENEWAL
Named Insured                            -                                                    Endorsem ent Number
Resort Hotel Association,Inc.                                                                 022

Policy Symbol            Policy Number              Policy Period                             Effective Date of Endorsement
GPA                      D42219174003                     03/08/2020t003/08/2021              03/08/2020
Issued By(Name ofInsurance Company)
ACE American Insurance Company

                THIS ENDORSEMENT CHANGES THE POLICY.PLEASE READ IT CAREFULLY.

 The following conditions are added to the policy,supersede any condition to the contrary in the policy and apply
 notwithstanding such contrary condition:
 A. Cancellation
       1. The first Named Insured shown in the Declarations may cancel this policy by mailing or delivering to the
          Company advance written notice ofcancellation.
      2
      .     The Company may cancel this policy by mailing or delivering to the first Named Insured written notice of
            cancellation,stating the reason for cancellation, at least:
            a. 15 days before the effective date of cancellation if the Company cancels for nonpayment of premium;
               or
            b. 45 days before the effective date of cancellation ifthe Company cancels for any other reason.
      3. The Company will mail or deliver written notice to the first Named Insured's last mailing address known
         to the Company.If notice is mailed,it will be sent in accordance with Virginia Law.
      4. Notice of cancellation will state the effective date of cancellation.The policy period will end on that date.
      5. If this policy is cancelled, the Company will send the first Named Insured any premium refund due. The
         cancellation will be effective even if the Company has not made or offered a refund. The following
         provisions govern calculation ofreturn premium:
            a. The Company will compute return premium pro rata and round to the next higher whole dollar when
               this policy is cancelled:
                (1) At our request;
                (2) Because the Insured no longer have a financial or insurable interest in the property or business
                    operation that is the subject ofinsurance;
                (3)And rewritten by the Company or a member of our company group; or
                (4)After the first year, if it is a prepaid policy written for a term of more than one year.
            b. When this policy is cancelled at the Insured's request (except when Paragraph a.(2), a.(3) or a.(4)
               applies), the Company will return 90% of the pro rata unearned premium, rounded to the next higher
               whole dollar. However, when such cancellation takes place during the first year of a multi-year
               prepaid policy, the Company will return the full annual premium for the subsequent years. In
               addition, earned premium will not be less than our policywriting minimum premium.
      6. If notice is mailed,proof of mailing will be sufficient proof of notice.
 B. Nonrenewal
      i.    If the Company elects not to renew this policy, the Company will mail or deliver a notice of nonrenewal to
            the first Named Insured shown in the Declarations,stating the reason for nonrenewal,at least:
           a. 15 days before the expiration date if the nonrenewal is due to nonpayment of premium; or
           b. 45 days before the expiration date ifthe nonrenewal is for any other reason.



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    2.   The Company will mail or deliver written notice of nonrenewal to the first Named Insureds last mailing
         address known to the Company.If notice is mailed,it will be sent in accordance with Virginia Law.
    3. If notice is mailed,proof of mailing will be sufficient proof of notice.

All other terms and conditions remain unchanged.




                                                           Authorized Representative




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                                                                                                           IL N 106 09 03

                               VIRGINIA FRAUCYSTATEIVIENT
It is a crime to knowingly provide false, incomplete or misleading information to an insurance company for the purpose of
defrauding the company. Penalties include imprisonment, fines and denial of insurance benefits.




IL N 106 09 03                                0ISO Properties, Inc., 2003                                     Page 1 of 1
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                                    APPLICABLE STATE AMENDATORY PROVISIONS — BENEFIT LEVEL

  Named Insured                                                                                                                          Endorsement Number
  Resort Hotel Association, Inc.                                                                                                        023
  Policy Symbol               Policy Number                      Policy Period                                                           Effective Date of Endorsement
  GPA                         D42219174003                       March 8,2010 to March 8, 2021                                           March 8,2020
  Issued By(Name of Insurance Company)
  ACE American Insurance Company

                                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

The following state amendatory provisions may apply to specific locations on the Schedule of Locations on file with the Company based on their presence
within the indicated jurisdictions in compliance with local statutes. The state-specific conditions set forth in these state amendatory provisions are intended to
amend the policy to conform to state-specific required minimum conditions and coverage. Where the policy form conditions and coverage are broader than
that set forth in this endorsement, then this endorsement shall not apply to restrict or reduce the conditions and coverage provided by the policy form, as long
as the policy form's broader conditions and coverage are permitted by applicable state law. Accordingly, the following exclusions, terms and conditions are
hereby added to the policy and supersede any term or condition to the contrary in this policy unless such contrary term or condition is both lawful and less
restrictive upon the Insured:

                                          ALABAMA CHANGES                                                  D, If there is other insurance as described below, the Company will pay under this policy only
                                                                                                               for the amount of covered loss or damage in excess of the amount due from that other
  1, It is agreed that:                                                                                        insurance, whether the insured can collect on it or not:
                                                                                                              (1) The property covered under this insurance is also covered under another policy or
     a, The Company will not pay for loss or damage arising out of any act committed:                             another coverage in this policy), in which it is more specifically described; or
       (1) By or at the ctirection of any insured; and
                                                                                                               (2) The other insurance covers the insured's interest or the interest of others in property
       (2) Wth the intent to cause a loss,                                                                           which the insured do not own,
     b. However, this exclusion will not apply to deny coverage to an innocent coinsured when the       5.. A loss may be caused by a chain of causes. If a Covered Cause of Loss is the dorrinant cause
        loss or damage is otherwise covered under this policy and is proximately related to and in          of such a loss, the Company will not deny coverage on the basis that a secondary cause in that
        furtherance of an abusive act by an insured who is a family or household member. Such               chain is not a Covered Cause of Loss.
        coverage will be provided only if the innocent coinsured:                                       6, The policy is amended by adding the following SCHEDULE and provisions:
        (1) Provides evidence of the abuse to the Company, to demonstrate that the loss is
           abuse-related; and                                                                                                                        SCHEDULE
        (2) For the act causing the loss. either.
          (a) Files a complaint under the Protection From Abuse Act against the abuser, and                  Attorney's Fees for a Judgment of 510.000      Additional Premium S included
                does not voluntarily dismiss the complaint; or
          (b) Seeks a warrant for the abuser's arrest and cooperates in the prosecution of the             In any suit the Company defends in Alaska. ale Company's obligation under Supplementary
               abuser,                                                                                     Payments to pay all costs taxed against the insured is amended by the following:
     c
     . If the Company pays a claim pursuant to Paragraph 1.1%. the Company's payment to the                A, The Company will pay that portion of the attorney's fees awarded as costs which does not
         innocent coinsured is limited to that insured's legal interest in the property less any              exceed the amount allowed for a contested case in the schedule of attorney's fees
         payments the Company first made to a mortgagee or other party with a legal secured                   contained in Alaska Civil Rule 82 for a judgment equal to the applicable Limit of Insurance,
         interest in the property In no event will the Company pay more than the Lirrit of Insurance,      B. However, if a premium and a judgment amount are shown in the Schedule above, the
  2. lithe Company pays an innocent coinsured for loss arising out of an act of abuse by another              Company will pay, instead of the attorney's fees provided in Paragraph A. above, Mal
     insured, the rights of the innocent coinsured to recover damages from the abuser are                      portion of the attorney's fees awarded as costs which do not exceed the amount allowed for
     transfen-ed to the Company to the extent of the Company's paymenL Following the loss,                    a contested case in Civil Rule 82for Use judgment amount shown in the Schedule,.
     the innocent coinsured may not waive such rights to recover against Use abuser,                    7. Appraisal
  3. Legal Action Against The Company                                                                      If the insured and Company fail to agree on the value of the damaged property or the amount
     The time to file suit against the Company shall in no event be less than the lime prescribed by       of loss, either may make a written demand for an appraisal of the loss. In this event, within 10
     Alabama law.                                                                                          days of the demand, each party will choose a competent appraiser and will notify the other of
  4. Actual casts value is calculated as the amount it would cost to repair or replace Covered             the appraiser selected, The two appraisers will promptly choose a competent and impartial
                                                                                                           umpire, If they cannot agree, either may request that the choice be made by a judge of a court
     Properly, at the time of loss or damage, with material of like kind and quality, subject to a
                                                                                                           having jurisdiction. Not later than 15 days after the umpire has been chosen, unless this time
     deduction for depreciation.
                                                                                                           period is extended by the umpire, each appraiser will separately stale, in writing, the value of
     However, if Covered Property, at the time of loss or damage, has nominal or no economic               the properly and the amount of loss, If the appraisers submit a written report of an agreement
     value, or a value disproportionate to replacement cost less depredation, the determination of         on the value of Use properly and the amount 01 100$, that agreement will be binding. If the
     actual cash value is not required,                                                                    appraisers fail to agree, they will promptly submit their cifferences to the umpire. A decision
     Actual cash value applies to valuation of Covered Property regardless of whether that property        agreed to by one of the appraisers and the umpire wit be binding, Each party wilt
     has sustained partial or total loss or damage.                                                        a. Pay its own counsel and adjuster fees; and
     The actual cash value of the lost or damaged property may be significantly less than its              b. Bear those other expenses and fees which are incurred as a result of the appraisal, either
     replacement cost                                                                                         in entirely or proportionately. as determined by the umpire.
                                                                                                           Neither party waives any rights under this poky by agreeing loan appraisal.
                                          ALASKA CHANGES
                                                                                                        EL The undisputed part of a claim will be paid in accordance with the terms of this condition, even
                                                                                                           if other pads of the claim remain in dispute,
  1, Under any condition in this policy which requires an insured to submit to examination under
     oath, the insured is entitled to have counsel present during any examination taken under oath,                                             ARIZONA CHANGES
  2 Concealment, Misrepresentation Or Fraud
    The Company will not pay for any loss or damage in any case involving                                  1, It is agreed that:
    misrepresentations, omissions. concealment of facts, or incorrect statements
                                                                                                              a. The Company will not pay for loss or damage arising out of any act committect
    a, That are fraudulent;
                                                                                                                 (1) By or at the direction of any insured: and
    b That are material either to the acceptance of the risk, or to the hazard assumed by the
       Company; or                                                                                               (2) Vv1th the Intent to cause a loss,
    C, If the Company, in good faith, would not have:                                                         b. However, this exclusion will not apply to deny an insured's claim for an otherwise
      (1) Issued the policy or contract;                                                                         Covered Property loss under this policy if such loss is caused by an act of domestic
                                                                                                                 violence by another insured under this policy and the insured making this claim:
       (2) Issued a policy or contract in as large an amount, or at the same premium or rate; or
                                                                                                                 (1) Did not cooperate in or contribute to the creation of the loss; and
      (3) Provided coverage with respect to the hazard resulting in the toss;
                                                                                                                (2) Cooperates in any investigation relating to the loss.
       if the true facts had been made known to the Company as required either by the application
       for the policy or contract or otherwise.                                                              c. II the Company pays a claim pursuant to Paragraph 1.b„ the Company's payment In
                                                                                                                 the insured is limited to that insured's insurable interest in the property less any
 3. Legal Action Against The Company
                                                                                                                 payments the Company first made to a mortgagee or other party with a secured interest
    No one may bring suit against the Company under this policy unless all of the following apply                in the properly. In no event will the Company pay more than the Unit of Insurance.
    a. There has been full compliance with all of the terms of this policy; and                            2 If the Company pays an insured for a loss described in Paragraph 1.b.. the rights of the
    b. The suit is brought within three years from the date the insured learned that the claim was           insured to recover damages from the perpetrator of domestic violence                   are
       denied,                                                                                               transferred to the Company to the extent of the Company's payment. Following the
 4, Other Insurance                                                                                          loss, the insured may not waive such rights to recover against the perpetrator of the
    a. The insured may have other insurance. If the insured does, the Company will pay its share             domestic violence
       of the covered loss or damage. Subject to exceptions as set forth in b below, the                   3 Concealment, Misrepresentation Or Fraud
       Company's share is the proportion that the applicable Limit of Insurance under this policy             The Company will not pay for any Ions or damage in any case invoking misrepresentations,
       bears to the Limits of Insurance 01 011 insurance covenng the loss or damage,                          omissions, concealment of facts or incorrect statements:

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       a, That are fraudulent;                                                                                   1) The amount it would cost to repair, rebuild or replace the property less a fair
       b. That are material either to the acceptance of the risk, or to the hazard assumed by the                   and reasonable deduction for physical depredation of the components of the
          Company; and                                                                                              building or structure that are normally subject to repair or replacement during its
                                                                                                                    useful life, Physical depredation is based upon the condition of the property at
          VVhere, if the true facts had been known to the Company as required either by the                         the time of the loss: or
          application for the policy or otherwise, the Company in good faith would either
                                                                                                                 2)The Limit of Insurance applicable to the property,
          (1) Not have issued the policy;
                                                                                                              c, In the event of a partial or total loss to Covered Property other than a building or
         (2) Not have issued the policy in as large an amount or                                                 structure, actual cash value is calculated as time lesser of the following:
         (3) Not have provided coverage with respect to the hazard resulting in the loss.                        1) The amount it would cost to repair or replace the property less a fair and
    4. The coverage for Fire Department Service Charge (or any variation thereof), is deleted                       reasonable deduction for physical depredation, based on the condition of the
       from the policy...                                                                                            properly at the time of loss; or
                                                                                                                 2) The Umit of Insurance applicable to the property,
                                          ARKANSAS CHANGES,,
                                                                                                              d. An "open policy" is a policy under which the value of Covered Property is not fixed at
    1,, Appraisal                                                                                              • policy inception, but is determined at the time of loss in accordance with policy
                                                                                                                 provisions on valuation, The term "open policy" does not apply to Covered Property that
       a. If the Company and Insured disagree on the value of the property or the amount of loss.                is subject to an Agreed Value clause or clause that establishes an agreed value prior to
          either party may make a written request for an appraisal of the loss; However, an                      loss, unless such dause has expired.
          appraisal will be made only if both the Company and Insured agree, voluntarily, to have
          the loss appraised, If so agreed, each party will select a competent and impartial
          appraiser. The two appraisers will select an umpire: If they cannot agree, either may                 .coLaykop Cl-lANGES:4F,OONOEALMENTWISREPRESENTATION.OR FRAUD
          request that selection be made by a judge of a court having jurisdiction.'As respects
          physical loss or damage to Covered Property, the appraisers will state separately the           Concealment, Misrepresentation Or Fraud
          value of the property and amount of loss: As respects any Time Element loss, the                The Company will not pay for any loss or damage in any case ot
          appraisers will state separately the amount of net income and operating expense or
                                                                                                          1,, Concealment or misrepresentation of a material fact: or
          amount of loss, tithe appraisers fail to agree, they will submit their differences to the
          umpire,.                                                                                        2;.. Fraud:
       b.. An appraisal decision will not be binding on either party,                                     committed by the insured at any time and relating to coverage under this policy.
       c.- If there is an appraisal, the Company will still retain its right to deny the daim,,
       d.. Each party will:                                                                                                                 CONNECTICUT CHANGES
         (1) Pay its chosen appraiser, and                                                                1., Description Of Terms
         (2) Bear the other expenses of the appraisal and umpire equally.                                     a, The term building and the lemn vacant have the meanings set forth in(1)and (2) below.
    2. No one may bring suit against the Company unless the suit is brought within five years after             (1) When this policy is issued to a tenant, and with respect to that tenant's interest in
     " the dale on which the direct physical loss or damage occurred.                                                Covered Property, bttilding means the unit or suite rented or leased to the tenant
         This Paragraph 2 does not apply to any coverage for loss to properly of others in the                       Such building is vacant when it does not contain enough business personal
         insured's care, custody or control.                                                                          properly to conduct customary operations".
    3,The Company will be entitled to recovery only after the insured has been fully compensated                (2) VVhen this policy is issued to the owner or general lessee of a building, building
         for the loss or damage sustained.                                                                            means the entire building,- Such building is vacant when 700/, or more of its total
         This Paragraph 3 does not apply to any coverage for loss to property of others in the                       square footage:
         insured's care, custody or control,                                                                        (a) Is not rented to a lessee or sub-lessee or is not used by the lessee or sub-
    4. • IMth respect to any coverage for loss to property of others in the insured's care, custody or                     lessee to conduct its customary operations; and/or
         control, the Company will be entitled to recovery only after the insured has been fully                              (b) Is not used by the building owner to conduct customary operations.
         compensated for the loss or damage sustained, including expenses incurred in obtaining               • Buildings under construction or renovation are not considered vacant..
         full compensation for the loss or damage...
                                                                                                          2t,, The following provisions are added and replace any provisions to the contrary:
    5.: In accordance with ARK CODE ANN,§ 23-88-106, the Company is providing notice of the
     " following:                                                                                             a. The insured and Company must notify the other of the appraiser selected within 20 days
                                                                                                                * of the written demand for appraisal:
          Unless otherwise provided by this policy, the Company may deduct expense depreciation.
         Expense depredation is defined as depredation, inducting but not limited to the cost of              h, lithe appraisers do not agree on time selection of an umpire within 15 days, they must
         goods, materials, labor and services necessary to replace, repair or rebuild damaged                   * request selection of an umpire by a judge of a court having jurisdiction,'
         property.                                                                                        • Mortgageholder's Interests And Obligations                                •
       If expense depredation is applied to a loss for damaged property, the Company shall                    If loss hereunder is made payable, in whole or in part, to a designated mortgageholder not
       provide a written explanation as to how the expense depredation was calculated,                        named herein as the insured, such Interest In this policy may be cancelled by giving to
                                                                                                              such mortgageholder a ten days' written notice of cancellation:
                                        CALIFORNIA CHANGES-                                                   If the insured fails to render proof of loss such mortgageholder, upon notice, shall render
                                        ,                                                                     proof of loss in the form spedlied within sixty (60) days thereafter and shall be subject to
    1,, Concealment, Misrepresentation Or Fraud (As Respects Fire Covered Cause                     Of        the provisions hereof relating to appraisal and time of payment and of bringing suit, If the
        Loss)                                                                                                 Company claims that no lability existed as to the mortgagor or owner, the Comparii shall.
                                                                                                              to the extent of payment of loss to the mortgageholder, be subrogated to all the
       The Company does not provide coverage to the insured who, whether before or after a                    mortgageholders rights of recovery, but without impairing mortgageholders rights to sue;
       loss, has committed fraud or intentionally concealed or misrepresented any material fact or
                                                                                                              or the Company may pay off the mortgage debt and require an assignment thereof and of
       circumstance concerning:                                                                               the mortgage, Other provisions relating to the interests and obligations of such
       a, This policy;                                                                                        mortgageholder may be added hereto by agreement in writing,.
       b. The Covered Property;                                                                           • If any conditions of The Standard Fire Insurance Policy of the State of Connecticut, as set
       c., That insured's interest in the Covered Property; or                                                forth in the General Statutes of Connecticut, are construed to be more liberal than any
       d.. A claim under this policy..                                                                        other policy condition, the conditions of The Standard Fire Insurance Policy will apply.
   I'. Concealment, Misrepresentation Or Fraud (As Respects Covered Cause Of Loss                         5.. The Company WU pay for covered loss or damage within 30 days after it receives the
       Other Than Fire)                                                                                       sworn proof of loss, if the insured has complied with all of the terms of this policy and:
       This policy is void if any insured, whether before or after a loss, has committed fraud or           a., The Company has reached agreement with the insured on the amount of loss; or
       intentionally concealed or misrepresented any material tact or circumstance concerning:              b. An appraisal award has been made.:    .
       a. This policy;                                                                                      Prior to expiration of the aforementioned time period, the Company may make partial
       b.. The Covered Property;                                                                            payment towards the amount of loss as an advance payment, provided the Company and
                                                                                                            insured agree to such advance payment in writing. The advance payment will be credited
     c, An insured's interest in the Covered Property: or                                                   towards the total amount of covered loss or damage...An advance payment does not extend
     d. A claim under this policy.                                                                          the time for payment of the total amount of covered loss or damage,:
   . Appraisal
   3                                                                                                      . The actual cash value immediately prior to the time of covered direct physical loss or
                                                                                                          6
       If the Company and Insured disagree on the value of the properly or the amount of loss,              damage shall be the amount which it would cost to repair or replace the damaged building
       either may make written request for an appraisal of the loss. If the request is accepted,            with material of like kind and quality, minus reasonable depredation, Depredation, as used
       each party will select a competent and impartial appraiser. Each party shall notify the other        herein, means a decrease in value over a period of time due to wear and tear.
       of the appraiser selected within 20 days of the request The two appraisers will select an
       umpire, If they cannot agree within 15 days, either may request that selection be made by a
       judge of a court having jurisdiction. As respects physical loss or damage to Covered
       Property, the appraisers will slate separately the value of the property and amount of loss,                                               LORICK CHANGES
       As respects any Time Element loss, the appraisers will stale separately the amount of net
       income and operating expense or amount of loss, If the appraisers fail to agree, they will         1. The following provision applies in the event this policy contains a Coinsurance provision:
       submit their differences to the umpire...A decision agreed to by any two will be binding,.
                                                                                                             Coinsurance contract The rate charged in this policy is based upon the use of the
       Each party will:
                                                                                                             coinsurance clause attached to this policy, with the consent of the Insured.
       a, Pay its chosen appraiser, and
                                                                                                          2, Provided the insured has complied with all the terms of this policy, the Cori-teeny will pay for
       b. Bear the other expenses of the appraisal and umpire equally,                                       covered loss or damage upon he eariiesi of the following:
       If there is an appraisal, the Company will still retain its right to deny the claim.                  a, Within 20 days after the Company receives the sworn proof of foss and reach
   4. With respect loan 'open policy':                                                                      ' written agreement with the insured:
      a. In the event of a total loss lo a building or structure. actual cash value Is calculated as         ti; Within 30 days after the Company receives the sworn proof of loss and:
         the lesser of the following:                                                                           (1) There is an entry of a final judgment; or
          1) The Limit of Insurance applicable to that building or structure; or                                (2) There is a filing of an appraisal award with the Company; or
          2)The fair market value of the building or structure,                                               c. Within 90 days of receiving notice of an initial, reopened or supplemental claim, unless
       b. In the event of a partial loss to a building or structure, actual cash value is calculated as          the Company denies the claim during that time or factors beyond its control reasonably
          the lesser of the following:                                                                           prevent such payment If a portion of the claim is denied, then the 90-day time period for
                                                                                                                 payment of claim relates to the portion of the claim that is not denied.-

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         Paragraph c, applies only to the following:
        (1) A claim under a policy covering residential property;                                                                             , GEORGIA CHANGES,
        (2) A claim for building or contents coverage if the insured structure is 10,000 square
             feel or less and the policy covers only locations in Florida; or                          1, Its agreed that:
        (3) A claim for contents coverage under a tenant's policy if the rented premises are               a; The Company will not pay for loss or damage arising out of any act committed:
              10,000 square feet or less and the policy covers only locations in Florida”
                                                                                                             (1) By or at the direction of any insured; and
    3 Catastrophic Ground Cover Collapse
                                                                                                             (2) With the intent to cause a loss.
       The Company will pay for direct physical loss or damage to Covered Property caused by or
                                                                                                           b. However, this exclusion will not apply to deny coverage to an innocent co-insured,
       restating from catastrophic ground cover collapse, meaning geological activity that results
                                                                                                              provided the loss:
       in allot the following:
       a,. The abrupt collapse of the ground cover.                                                          (1) Is otherwise covered under this policy; and
       b. A depression in the ground cover dearly visible to the naked eye;                                 (2) Arose out of an ad of family violence by an insured against whom a family violence
                                                                                                                   complaint is brought for such act,..
       . "Structural damage' to the building, including the foundation; arid
       C
                                                                                                          C. If the Company pays a claim pursuant to Paragraph 1.04-the Cornpanys payment to the
       d. The insured structure being condemned and ordered to be vacated by the governmental                insured is limited to that insureds legal interest in the property less any payments the
          agency authorized by law to issue such an order for that structure:                                Company first made to a mortgageholder or other party with a legal secured interest in
       However, damage consisting merely of the sewing or cracking of a foundation. structure or             the property.Jn no event will the Company pay more than the Unit of Insurance.
       building does not constitute loss or damage resulting from a catastrophic ground cover          2 As respects the exclusion of fungus, wet or dry rot, or bacteria (or any variation thereof), if
       collapse:.                                                                                        any, and the limited coverage for fungus, wet or dry rot, and bacteria (or any variation), if
      Any exclusions for Earth Movement and Collapse do not apply to coverage for Catastrophic           any:
      Ground Cover Collapse.'                                                                            With respect to the portion of Covered Property that would still have required repair or
      Coverage for Catastrophic Ground Cover Collapse does not increase the applicable Limit             replacement had there been no fungus, wet or dry rot or bacteria, the exclusion and limited
      of Insurance, Regardless of whether loss or damage attributable to catastrophic ground             coverage, if any. will not serve to limil the amount of recovery for such repair or
      cover collapse also qualifies as Sinkhole Loss or Earthquake (if either or both of those           replacement,-.
      causes of loss are covered under this policy), only one Limit of Insurance MI apply to such        However, the exclusion and limited coverage, if any, shall continue to apply to:
      loss or damage.
                                                                                                          a; The cost to treat, contain, remove or dispose of fungus, wet or dry rot or bacteria
   4. Vvith respect to the Civil Authority coverage of this policy, if any:                                   beyond that which is required to repair or replace Covered Property;
      a. Any mileage linitation set forth therein, if any,shall not apply; and                            b. The cost of testing as described in the limited coverage; and
       b, A coverage period of not less than three weeks shall apply,                                         Any increase in loss under business income andfor extra expense coverage resulting
   5
   .- Wfith respect to the coverage provided under this Florida Changes amendatory, 'Structural               from a.orb.above,
      damage' means a covered building, regardless of the date of its construction, that has              Regardless of whether the exclusion and limited coverage, if any, apply to a loss, the IJrnit
      experienced the following:                                                                          of Insurance on Covered Property is not increased..The maximum recoverable, for the total
      a. Interior floor displacement or defection in excess of acceptable variances as defined in         Cl the cost to repair or replace Covered Property and any additional covered cost M treat,
          ACI 117-90 or the Florida Building Code, which results in seblement related damage to           contain, remove, dispose of or test for fungus, wet or dry rot or bacteria is the applicable
          the interior such that the interior building structure or members become unlit for service      Limit of Insurance on the affected Covered Propeny;
         or represent a safely hazard as defined within the Florida Building Code;                     3. In the event of loss or damage covered by this policy, at the Company's option the
      D. Foundation displacement or deflection in excess of acceptable variances as defined in            Company will either:
          ACI 316-95 or the Florida Building Code, which results in settlement related damage to          a. Repair, rebuild or replace Vie property with other property of like kind and quality, or pay
          the primary structural members or primary structural systems that prevents those                    the cost of such repair, rebuilding or replacement. as limited by any provision in this
          members or systems from supporting the loads and forces they were designed to                       policy; or
          support to the extent that stresses in those primary structural members or primary
          structural systems exceed one and one-third the nominal strength allowed under the              b, Take all or any part of the properly at an agreed or appraised value,
          Florida Building Code for new buildings of structure, purpose, or location;                     With respect to Paragraph a.., this policy covers only the cost of repair, rebuilding or
     c. (Damage that results in listing leaning, or buckling of the exterior load bearing wails or        replacement. Such cost does not include recovery of. and therefore this policy does not pay
     'other vertical primary structural members to such an extent that a plumb line passing               any compensation for, an actual or perceived reduction in the market value of any property,'
          through the center of gravity does not fall inside the middle one-third of the base as          But if the property that has sustained loss or damage is subject to an endorsement which
          defined within the Florida Building Code;                                                       explicitly addresses market value, then that endorsement will apply to such properly in
                                                                                                          accordance with its terms...
      d, Damage that results in the building, or any portion of the building containing primary
         structural members or primary structural systems, being significanny likely to imminently
         collapse because of the movement or instability of the ground within the influence zone
         of the supporting ground within the sheer plane necessary for the purpose of supporting
         such building as defined within the Florida Building Code; or                                 1, Fraud, Concealment Or Misrepresentation
      e. Damage occurring on or after October 15, 2005, that qualifies as substanfial structural
                                                                                                          a. This insurance is void in any case of fraud by the insured as it relates to this insurance
         damage as defined in the Florida Building Code.
                                                                                                             whether before or after a loss_
   6, Legal Action Against The Company
                                                                                                          b. Concealment or misrepresentation, whether before or after a loss, shall prevent a
      Legal action against the Company involving direct physical loss or damage to property                  recovery under this insurance if it
      must be brought within 5 years from the date the toss occurs,
                                                                                                            (1) Was made with actual intent to deceive; or
   7: Mediation Or Appraisal
                                                                                                             (2) Materially affects either the acceptance of the risk or the hazard assumed by the
      With respect to a loss to commercial residential property only,if the Company and Insured:                   Company,
      a,. Are engaged in a dispute regarding a claim, either party may request a mediation of the      2, Ills agreed that
          loss in accordance with the rules established by the Florida Department of Financial
                                                                                                          a. The Company will not pay for loss or damage arising out of any act committed:
          Services. The loss amount must be $500 or more, prior to application of the deductible;
          or there must be a difference of 5500 or more between the loss settlement amount the               (1) By or al the direction of any insured; and
          Company offers and the loss settlement amount that the insured requests,:. The                    (2) Vvith the intent to cause a loss,
         setUement in the course of mediation is binding only if both parties agree, in writing, on       b. However, this exclusion wit not apply to deny an insured's claim for an otherwise
          a settlement, and the Company has not rescinded the settlement within 3 business days              Covered Property loss if such loss is caused by an act of "domestic abuse" by another
          after reaching settlement The insured may not rescind the settlement after cashing or              insured under the policy, and the insured making claim:
          depositing the settlement check or draft the Company provided to the insured,
                                                                                                            (1) Files a police report and cooperates with any law enforcement investigation
         The Company will pay the cost of conducting the mediation conference. However, if:                       relating to the act of'domestic abuse"; and
        (1) The insured fails to appear at the mediation conference and the Company wishes                  (2) Did not cooperate in Cr contribute to the creation of the loss,
                to schedule a new conference after failing to appear, then the new conference will
                be scheduled only upon the insureds payment of a sum equal to the fees the               c, If the Company pays a claim pursuant to Paragraph lb, the Company's payment to
                Company paid for the mediation conference al which the insured failed to appear.             the insured is limited to that insureds insurable interest in the properly less any
                This sum will then be applied to the cost of the rescheduled mediation conference.           payments the Company first made to a mortgagee or other party with a legal secured
                and the Convert), will pay the balance, if any, of the cost of conducting the                interest in the property, In no event will the Company pay more than the Limit of
                rescheduled mediation conference; or                                                         Insurance.
        (2) The Company fails to appear at a mediation conference without good cause, the              3
                                                                                                       : If the Company pays an insured, who is a victim 01 "domestic abuse", for a loss caused
               Company will pay the insured's actual cash expenses the insured incurs in                 by an act of "domestic abuse", the rights of that insured to recover damages from the
               attending the mediation conference and also pay the total cost of the rescheduled         perpetrator of the abuse are transferred to the Company to the extent of its paymenL That
                mediation conference.                                                                              may not waive such rights to recover against the perpetrator of the "domestic
                                                                                                         abuse's
      b, Disagree on the value of the property or the amount of loss, either may request an
         appraisal of the loss, in writing. In this event, each party will select a competent and      4
                                                                                                       ,As used in this provision,'domestic abuse means:
          impartial appraiser,.The two appraisers will select an umpire. If they cannot agree.           a. Physical harm, bodily injury, assault or the infliction of fear of imminent physical harm,
         either may request that selection be made by a judge of a court having jurisdiction, The           bodily injury or assault between family or household members;
         appraisers will stale separately the value of the property and amount of loss„ If they fail      b. Sexual assault of one family or household member by another,
         to agree, they will submit their cifferences to the umpire. A decision agreed to by any          C. Stalking of one family or household member by another family or household member;or
         two will be binding. Each party will:
                                                                                                          d. Intentionally, knowingly or recklessly causing damage to property so as to intimidate or
        (1) Pay its chosen appraiser and
                                                                                                             attempt to control the behavior of another family or household member,
        (2) Bear the other expenses of the appraisal and umpire equally,
         If there is an appraisal, the Company will still retain its right to deny the claim,                                               ILLINOIS CHANGES
          However, the insured is not required to submit to, or participate in, any appraisal of the
          loss as a precondition to action against the Company for failure to pay the loss, if the     1, Legal Action Against The Company
         Company:
                                                                                                          The time period for legal action against the Company is extended by the number of days
         (1) Requested mediation one either party rejected the mediation result; or                       between the dale the proof of loss is filed with the Company and the date the Company
         (2)   Failed to notify the insured of the insureds right to participate in the mediation         denies the claim in whole or in part,
               program.                                                                                2. If this policy covers:

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      a. The following in a.(1) and (2). then Paragraphs b, and c, apply:                                     (3) The Company will not pay an amount that is greater than the amount an 'Innocent
        (1) Real property used principally for residential purposes up to and inducting a four                     coinsured" is entitled to under a decree of dissolution of marriage between the
            family dwelling; or                                                                                   'Innocent coinsured" and an individual described in Paragraphs e.(1)(a) or(b).
                                                                                                            a As used in this INDIANA CHANGES provision,"innocent coinsured' is an insured who:
        (2) Household or personal property that is usual or incidental to the occupancy of any
            premises used for residential purposes.,                                                         (1) Did not have knowledge of, cooperate in, or intentionally contribute to a property
      b. The following provisions are added and replace any provisions to the contrary:                            loss or damage that was caused or arranged by another individual who:
                                                                                                                    Is an insured and:
        (1) Each party will pay its own appraiser and bear the other expenses of the appraisal
              and umpire equally, except as provided in b. below.                                                  (a) Died in connection with the circumstances that caused the property loss or
                                                                                                                          damage; or
        (2) The Company will pay the insured's appraiser's tee and the umpires appraisal fee,
              if the following conditions exist:                                                                   (b) Has been charged with a dime based on a court finding that there is probable
             (a) The insured demanded the appraisal; and                                                                  cause to believe that the individual committed the crime in connection with the
                                                                                                                          circumstances that caused the property loss or damage;
             (b) The full amount of loss. as set by the insured's appraiser, is agreed to by the
                    Company's appraiser or by the umpire.                                                      (2)    Signs a sworn affidavit attesting that they did not have knowledge of, cooperate
                                                                                                                      in, or intentionally contribute to the property loss or damage; and
      c„ Concealment, Misrepresentation Or Fraud
                                                                                                              (3)     C ooperates in the investigation and resolution of the claim for the property lass or
        (1) This policy is void if the insured or any insured commit fraud or conceal or                              damage, any police investigation related to the properly loss or damage, and any
            misrepresent a fact in the process leading to the issuance of this insurance, and                         criminal.prosecution of the individual that caused or arranged the properly loss or
            such fraud concealment or misrepresentation is stated in the policy or endorsement                        damage.
            or in the written application for this policy and:
                                                                                                            f. As used in this INDIANA CHANGES provision,"final settlement" is a determination:
           (a) Was made with actual intent to deceive; or
                                                                                                               (1)    Of the amount owed by the Company to an 'Innocent coinsured" under building
           (b) Materially affected either the Company's decision to provide this insurance or                         coverage under the policy and for property loss or damage to the "Innocent
                 the hazard the Company assumed.                                                                      coinsurer:1's" primary residence; and
            However, this condition will not serve as a reason to void this policy after the policy            (2)      Made by:
            has been in effect for one year or one policy term, whichever Is less.
                                                                                                                       (a) Acceptance of a proof of loss by the Company;
         (2) The Company does not provide coverage, if the insured at arty time subsequent to
            the issuance of this insurance, commits fraud or intentionally conceals or                                 (b) Execution of a release by the 'innocent coinsured':
             misrepresents a material fact relating to:                                                                (c) Acceptance of an arbitration award by the 'innocent coinsured and the
           (a) This policy;                                                                                                  Company; or
             (b) The Covered Property;                                                                                 (d) Judgment of a court of competent jurisdiction,
             (c) The insured's interest in the Covered Property; or                                             However, "final settlement" does not apply to loss or damage related to contents,
                                                                                                                personal property, or another loss that is not covered under building coverage under
             (d) A claim under this policy,                                                                     this policy.
         (3) Notwithstanding the limitations staled in paragraph c,(1) above, the Company may            3. Transfer Of Rights Of Recovery Against Others To The Company
             cancel the policy accordance with the terms of the Cancellation Condition.
                                                                                                            If any person or organization to or for whom the Company makes payment under this policy
   3. The Company will not pay for loss or damage arising out of any act an insured commits or              has rights to recover damages from another, those rights are transferred to the Company to
    'conspires to commit with the intent to cause a loss,-                                                  the extent of its payment. The Company's right to recover damages from another may be
      In the event of such loss, no insured is entitled to coverage, even insureds who did not              enforced even if the person or organization to or for whom the Company makes payment
      commit or conspire to commit the act causing the loss.                                                has not been fully compensated for damages:
      However, this exclusion will not apply to deny payment to an innocent co-insured who did              The person or organization to or for whom the Company makes payment roust do
      not cooperate in or contribute to the creation of the loss if:                                        everything necessary to secure its rights and must do nothing after loss to impair them But
      a, The loss arose out of a pattern of criminal domestic violence; and                                 the insured may waive their rights against another party in writing:
      la, The perpetrator of the loss is criminally prosecuted for the act causing the losa.                ar Prior to a loss to the insured's Covered Property or Covered Income.,
      If the Company pays a claim pursuant to the foregoing paragraph, its payrnent to the                      After a loss to your Covered Property or Covered Income only if, at time of loss, that
      Insured is limited to that insured's insurable interest in the property less any payments the             party is one of the following:
      Company first made to a mortgagee or other party with a legal secured interest in the                    (1) Someone insured by this insurance;
      property, In no event will the Company pay more than the Urrit of Insurance,:                            (2)A business firra
   4. If the Company initially defends an insured or pays for an insureds defense but later                       (a) Owned or controlled by the insured; or
      determines that the claim(s) is (are) not covered under this insurance, the Company will
      have the right to reimbursement for the defense costs it has incurrect,.                                    (b) That owns or controls the insured; or
      The right to reimbursement for the defense costs under this provision will only apply to                (3)The insured's tenant:
      defense costs the Company has incurred after the Company notifies the insured in writing              This wil not restrict the insured's insurance;;
                                                                                                                                                          !
      that there may not be coverage, and that the Company is reserving its rights to terminate
      the defense and seek reimbursement for defense costs.                                                                                       IOWA CHANGES

                                         INDIANA CHANGES                                                 Legal Action Against The Company
                                                 HEDU                                                    1htith respect to any coverage for loss to property of others in the insured's care. custody or
                                                                                                         control, no person or organization has a right under this policy:
   SPecifIcaihr idehtified
   substances or materials '                                                                             a.: To join the Company as a party or otherwise brings the Company into a "suit" asking for
                                                                                                             damages from the insured; or
                                                                                                         b. To sue the Company on this policy unless all of its terls15 have been fully complied with.
                                                                                                         A person or organization may sue the Company to recover on an agreed settlement or on a
                                                                                                         final judgment against the insured that is returned unsatisfied; but the Company will not be
   1, In this policy, the definition of "pollutants" is deleted and replaced by the following:
                                                                                                         liable for damages that are not payable under the terms of this policy or that are in excess of
      "Pollutants" means any substance or material that is a solid, liquid, gaseous or thermal           the Limit of Insurance,The judgment creditor shall have a right of action against the Company
      irritant or contaminant including but not limited to, smoke, vapor, soot, fumes, acids, alkalis,   to the same extent that the insured could have enforced a claim against the Company had the
      chemicals, waste and any substances or materials identified in the Schedule, Waste                 insured paid such judgmenft An agreed settlement means a settlement and release of liability
      indudes materials lo be recycled, reconditioned or reclaimed                                       signed by the Company, the insured and the claimant or claimant's legal representative.
      The definition of "pollutants", applies whether or not the initant or contaminant has any
      lunction in your business, operations, premises, site or location.                                                                        KANSAS CHANGES
   2. Concealment, Misrepresentation Or Fraud
      a, The Company will not pay for any loss or damage in any case of:                                 1, Legal Action Against The Company
         (1) Concealment or misrepresentation of a material fact; or                                        No one may bring suit against the Company under this policy unless:
         (2) Fraud;                                                                                        a. There has been but compliance with all of the terms of this policy; and
          committed by an insured at any time and relating to a claim under this policy.                   1:x. The action is brought within five years after the date on which the direct physical loss or
                                                                                                                damage occurred,
      b. However, Paragraph a, does not apply when a claim is made by an 'innocent
        "coinsured", provided:                                                                           .The term "Actual Cash Value" means the amount it would cost to repair or replace Covered
                                                                                                         2
                                                                                                           Property with material of like kind and quality, less allowance for deterioration and
        (1) The property loss or damage occurs to the primary residence of the 'innocent                   depredation, including obsolescence,
              coinsurer!" as covered under Building Coverage.,
                                                                                                         . The following applies when coverage is provided for townhouse buildings and structures:
                                                                                                         3
        (2) The 'final setOemenr for the property loss or damage is at least 60% of available
              insurance proceeds under the policy.                                                          a, *Association of Townhouse Owners" as used in this KANSAS CHANGES provision
                                                                                                               includes every person or organization who is an owner of a fee simple title to a
      c, Any payment made pursuant to Paragraph b,will be for.
                                                                                                               townhouse unit, for which insurance is provided by this policy.
        (1) The actual cost of repair or replacement of the properly that is the subject of                 h. Control Of Property
              the claim it the actual cost of repair or replacement is less than or equal to the
              maximum limit of coverage under the poky; or                                                      The following will not affect this insurance if beyond the insured's direction or control:
        (2) The maximum limit of coverage under the poky if the actual cost of repair or                       (1) Any act or neglect by any occupants or owners of the buildings; or
              replacement of the properly that is the subject of the claim is greater than the                 (2) The insured's failure to comply with any warranty or condition with regard to any
              maximum limit of coverage under the policy.                                                             portion of the insured's premises.
      d„ Any payment made pursuant to Paragraph b. is limited to the following:                                 If the insured violates a condition of this policy, the Company will not pay for loss or
        (1) An "innocent coinsured's" ownership interest in the property, less any payments                     damage at the involved location'. But the insured's coverage will continue for other
            the Company makes to a mortgagee or other lienholder with a secured interest in                     locations at which the violation does not apply,
            the property,                                                                                   c, The following properly is excluded:
        (2) The Company will not pay another coinsured for any part of the claim for which the                  Household and personal property, if any, unless owned by the Association of
            Company has already paid to an "innocent coinsured",                                                Townhouse Owners,
                                                                                                            cl. The Company will pay for covered loss or damage to buildings or structures to:

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         (1) The Insurance Trustee for the benefit of each Townhouse Owner,                                 a. The Company will not pay for loss or damage arising out of any act committed:
         (2) The holder of each first mortgage; and                                                           (1) By or at the direction of any insured; and
        (3) The Association;                                                                                  (2) Vvith the intent to cause a loss:.
         as interests may appear.                                                                           b. With respect to loss or damage to Covered Property caused by fire, this exclusion does
   4, Appraisal                                                                                                not apply to an insured(s) who did not set the lire or otherwise participate in the cause
                                                                                                               of the loss, provided the loss is otherwise covered under this policy.
       If, after a claim has been made, a dispute arises because the insured and the Company
       disagree on the value of the property or the amount of loss, either may make a written               c; If the Company pays a claim pursuant to Paragraph b., the Company's payment to any
       request for an appraisal of the loss. However, an appraisal will be made only if both the                insured is limited to that insured's proportionate share of the policy proceeds, but not
       insured and the Company agree, voluntarily, to have the loss appraised. If so agreed,                    more than that insured's legal interest in the Covered Property that sustained the fire
       each party will select a competent and impartial appraiser. The two appraisers will select an            loss, Proportionate share will be determined based on the interests of all parties eligible
       umpire,. If they cannot agree, either may request that selection be made by a judge of a                 to receive payment, including a morlgageholder or other party with a secured legal
       court having jurisdiction: The appraisers will state separately the value of the property and            interest, The policy proceeds will not include any amount attributable to the interest of
       amount of loss. If they fail to agree, they will submit their differences to the umpire. A               the insured(s) who set the fire or otherwise participated in the cause of the loss. In no
       decision agreed to by any two will be binding. Each party will:                                          event will the Company pay more in total than the Limit of Insurance on the Covered
                                                                                                                Properly that sustained the fire loss..
       a. Pay its chosen appraiser, and
                                                                                                            cl. The Company may apply reasonable standards of proof to claims for such loss,
       b, Bear the other expenses of the appraisal and umpire equally.
      If there is an appraisal, the Company will still retain its right to deny the claim,.             6.' If the Company and the insured disagree on the value of the property or the amount of loss,
                                                                                                            either may make written demand for an appraisal of the loss. In this event, each party will
   5. Concealment, Misrepresentation Or Fraud                                                               select a competent and impartial appraiser. The two appraisers will select an unpire. If they
      The Company will not pay for any loss or damage under this policy if the insured or any               cannot agree, either may request that selection be made by a judge of a court having
      other insured in relation to an insurance application, rating, claim or coverage under policy         juristfiction.. Each appraiser will state separately the value of the property and amount of
      knowingly and with intent to defraud:                                                                 loss:As respects any Time Element loss, the appraisers will state separately the amount of
                                                                                                            net income and operating expense or amount of loss, If they fail to agree, they will submit
      a, Presents, causes to be presented or prepares with the knowledge or belief that it will be
                                                                                                            their differences to the umpire„Any outcome of the appraisal will not be binding on either
          presented to or by an insurer, purported insurer, broker or any agent thereof, any                party.' Each party will:
          written, electronic, electrode impulse, facsimile, magnetic, oral, or telephonic
          communication or statement which such person knows to contain materially false                    a. Pay its chosen appraiser; and
          information concerning any material fact; or                                                      b. Bear the other expenses of the appraisal and umpire equally„
      b.. Conceals information concerning any material fact for the purpose of misleading.                  If there is an appraisal, the Company will still retain its right to deny the claim,
                                                                                                              7, 1Mth respect to business income and extra expense coverage:
                                         KENTUCKY CHANGES                                                   The Company will pay for the undisputed portion of the loss or damage within 30 days after
                                                                                                            the Company receives the satisfactory sworn proof of loss.
   It is agreed that:                                                                                      However, the Company has no duty to provide coverage under this policy if the failure to
   1. It is agreed that:                                                                                   comply with the terms of this policy is prejudicial to the Company.
      a. The Company will not pay for loss or damage arising out of any act committed:                  8; It is agreed that:
         (l) By or at the direction of any insured; and                                                    a. Vl.fith respect to loss or damage caused by fire, the Company does not provide coverage
         (2) Wet the intent to cause a loss.                                                                    to the insured who, whether before or after the loss, has intentionally concealed or
                                                                                                                misrepresented any material fact or circumstance, with the intent to deceive,
      b.- However, this exclusion will not apply to deny coverage to an innocent co-insured
                                                                                                                concerning:
          who did not cooperate in or contribute to the creation of the loss, provided the loss is
          otherwise covered under this policy:                                                                 (1) This policy;
         (1) The loss arose out of a patient of domestic violence and abuse; and                               (2) The Covered Property;
         (2) The perpetrator of the loss is criminally prosecuted for the act causing the loss;                (3) The insured's interest in the Covered Property; or
       C.' If the Company pays a claim pursuant to Paragraph 1.b.. the Company's payment to                    (4) A claim under this policy,
           the insured is limited to that insured's ownership interest in the property less airy            b. lAfith respect to loss or damage caused by a peril other than fire and with respect
           payments the Company first made to a mortgagee or other party with a legal secured                  to all insureds covered under this policy, the Company provides no coverage for loss or
           interest in the property. In no event will the Cornpany pay more than the Limit of                  damage if, whether before or after a loss, one or more insureds have intentionally
           Insurance,                                                                                          concealed or misrepresented any material fact or circumstance, with the intent to
   2.: If the Company pays an innocent co-insured for loss described in Paragraph 1.b., the rights             deceive, concerning:
       of the innocent co-insured to recover damages from the perpetrator are transferred to the              (1) This policy;
       Company to the extent of the Company's payment. Following the loss, the innocent co-                   (2) The Covered Property;
      insured may not waive such rights to recover against the perpetrator of the domestic
       violence.                                                                                              (3) The insured's interest in the Covered Property; or
                                                                                                              (4) A claim under this policy,
                                        ,..LOUISIANA CHANGES                                            9, With respect to any coverage for loss to properly of others in the insured's care, custody or
                                                                                                           control, the Company has no duty to defend the insured against any 'suir seeking
   1, The following provision applies in the event this policy contains a Coinsurance provision:           damages, if all the allegations of the'suir are explicitly excluded by such insurance.
     The rate of premium for your policy is based on the use of a Coinsurance percentage that          10,, Vtfith respect to any exclusion of fungus, wet or dry rot, and bacteria exclusion (or any
     is shown in the Declarations:                                                                        - variation), and any limited coverage for fungus, wet or dry rol, and bacteria (or any
                                                                                                            variation):
   2;Transfer Of Rights Of Recovery Against Others To The Company
                                                                                                            a. Any reference to bacteria means any type, kind or roan of bacterium. This meaning also
      If any person or organization to or for whom the Company makes payment under this policy                  applies under any endorsement that modifies the aforementioned exclusion or linited
      has rights to recover damages from another, those rights are transferred to the Company to                coverage; and to use of the word bacteria in the exclusionary provisions under
      the extent of its payment. That person or organization must do everything necessary to                    increased costs of construction coverage (or any variation), if any.
      secure the Company's rights and must do nothing after loss to impair them. But the
      insured may waive their rights against another party in writing:                                      b. The fungus, wet or dry rot, and bacteria exclusion (or any variation), if any, is deleted
                                                                                                             - and replaced by the following:
      a:. Prior to a loss to your Covered Property or Covered Income.
                                                                                                                Presence, growth. proliferation, spread or activity of fungus, wet or dry rot or bacteria-
      b, After a loss to your Covered Property or Covered Income only if, at time of loss, that
                                                                                                                But if fungus, wet or dry rot or bacteria results in a Covered Cause of Loss, the
              party is one of the following:
                                                                                                                Company will pay for the loss or damage caused by that Covered Cause of Loss,
         (1) Someone insured by this insurance;
                                                                                                                This exclusion does not apply:
         (2) A business firm
                                                                                                              (1) When fungus, wet or dry rot or bacteria results from fire or lightning;
               (a) Owned or controlled by the insured; or
                                                                                                              (2) To the extent coverage is provided in the fungus. wet or dry rot, and bacteria
             (b) That owns or controls the insured;                                                                 limited coverage (or any variation), if any, with respect to loss or damage by a
         (3) The insured's employee or employer;                                                                    cause of loss other than fire or lightning; or
         (4) The owner, lessor or tenant of the:                                                              (3) Vt.fith respect to fungus, wet or dry rot or bacteria that is located on the portion of
                      (a) Described premises; or                                                                    the Covered Property that must be repaired or replaced because of direct physical
                                                                                                                    damage caused by a Covered Cause of Loss,,
              (b) Premises where loss or damage occurred:
                                                                                                               However, the exclusion shall continue to apply to the cost to test for, treat, contain,
               including their employees, partners and stockholders; or                                        remove or dispose of fungus, wet or dry rot or bacteria beyond that which is required to
          (5) The insured's relative by blood or marriage.                                                     repair or replace the Covered Properly physically damaged by a Covered Cause of
           If the insured waives their rights against another party in writing after a loss, the               Loss, except to the extent that coverage is provided in the fungus. wel or dry rot, and
           Company can recover from the insured any amount the insured received for that waiver,               bacteria (or any variation)limited coverage, if any,.
           But the Company cannot recover more than the amount the Company paid the insured                c: The fungus, wet or dry rot, and bacteria limited coverage (or any variation), if any, is
           for that loss,                                                                                     deleted and replaced by the following:
   3, If the loss or damage arises due to a catastrophic event for which a slate of disaster or               (1) The coverage described in c.(2) and c,(6) only applies when the fungus, wet or dry
      emergency is declared pursuant to law by civil officials, and the Covered Property is                        rot or bacteria is the result of one or more of the following causes that occur during
      located in an area within Ike declaration, the insured must submit the proof of loss to the                  the policy period and only if all reasonable means were used to save and preserve
      Company within 180 days; but this 180-day period does not commence as long as the                            the property from further damage alike time of and after that ocarrence:
      declaration of disaster or emergency is in existence and civil authorities are denying the                              (a) A Covered Cause of Loss other than fire or lightning; or
      insured access to their property.
                                                                                                                              (b) Flood, if flood coverage applies to the affected premises,
   4. With respects to coverage that applies one replacement cost basis:
                                                                                                                   This limited coverage does not apply to lawns, trees, shrubs or plants which are
      If the loss or damage arises due to a catastrophic event for which a state of disaster Of
                                                                                                                   part of a vegetated roof,
      emergency is declared pursuant to law by civil officials, and the Covered Property is
      located in an area vrithin the declaration, the Company will pay on a replacement cost basis            (2) The Company will pay for loss or damage by fungus. wet or dry rot or bacteria. As
      only if the repairs or replacement are completed within one year from the dale of loss or                    used in this limited coverage, the term loss or damage means,
      damage or the issuance of applicable insurance proceeds, whichever is later, or as soon as                  (a) Direct physical loss or damage to Covered Property caused by fungus, wet or
      reasonably possible thereafter                                                                                    dry rot or bacteria, including the cost of removal of the fungus, wet or dry rot
   5. II is agreed that:                                                                                                or bacteria;

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             (b) The cost to tear out and replace any part of the bidding or other properly as              1Mth respect to tenants'improvements and betterments, the following also apply:
                    needed to gain access to the fungus, wet or dry rot or bacteria; and                    c; If the conditions in e;and b,:alsove are not met, the value of tenants' improvements and
             (c) The COSI of testing performed after removal, repair, replacement or restoration               betterments will be determined as a proportion of the insured's original cost, as set forth
                    of the damaged propeny is completed, provided there is a reason to believe                 in the applicable Valuation condition; and
                    that fungus, wet or dry rot or bacteria are present:                                    d, The Company will not pay for loss or damage to tenants' improvements and betterments
         (3) The coverage described under c.(2) of this Wiled coverage is limited to 515.000,                  if others pay for repairs or replacement:
              unless a higher amount is otherwise provided in this policy. Regardless of the                The following provisions are added:
              number of claims, this limit is the most the Company will pay for the total of all loss
                                                                                                            a. In spite of any provision of any general or special law:
              or damage arising out of all occurrences of Covered Causes of Loss (other than
              fire or lightning) and Flood which lake pace in a 12-month period (starting v.rith the          (1) The Company will not pay for loss or damage to real property caused by any
              beginning of the present annual policy period). With respect to a particular                           Covered Cause of Loss if the amount of loss is 55,003 or more unless the insured
              occurrence of loss which results in fungus, wet or dry rot or bacteria, the Company                    first submits to the Company a certificate of municipal liens from the collector of
              will not pay more than a total of $15,000, or a higher amount if otherwise provided                    taxes of the city or town where the properly is located:,
              in this policy, even if the fungus, wet or dry rot or bacteria continue to be present or        (2) The Company will pay to the city or town any amount outstanding on the certificate
              active, or recur, in a later policy period.                                                            of municipal liens arising from the provisions of Massachusetts General Law
         (4) The coverage provided under this limited coverage does not increase the                                 Chapters 40. 59,60,80,83 and 164, Sections 58B through 58F,
              applicable Limit of Insurance on any Covered Property. If a particular occurrence                      The payment will not exceed the amount of loss payable under this policy,,
              results in loss or damage by fungus, wet or dry rot or bacteria, and other loss or                   The Company will send the insured and the rnortgageholder proof of the
              damage, the Company will not pay more, for the total of all loss or damage, than                     Company's payment lathe city or town..
              the applicable Limit of Insurance on the affected Covered Property.
                                                                                                              (3) The claim of the city or town will have priority over the claim of any
             ff there is covered loss or damage to Covered Property, not caused by fungus, wet                      mortgageholder, assignee, the insured or any other interested party, except where
             or dry rot or bacteria, loss payment will not be limited by the terms of this Umited                  otherwise provided by the laws of the United Slates:
             Coverage, except to the extent that 'fungus," wet or dry rot or bacteria cause an
              increase in loss. Any such increase in the loss will be subject to the terms of this            (4) The Company will not be liable to any city, town mortgageholder, assignee, the
             Limited Coverage,                                                                                     insured or any other interested party for.
         (5) The terms of this limited coverage do not increase or reduce the coverage, it at all,                (a) Amounts paid too city or town; or
              provided for water damage or collapse coverage.                                                      (b) Amounts not paid to a city or town based upon a certificate showing that no
                                                                                                                        municipal liens exist.
         (6) The following provisions apply only if business income and/or extra expense
             coverage applies to the described premises and only if the suspension of                         (5) Paragraphs ki.(1) through (4) above will not apply to any owner-occupied one- ix
             operations satisfies all terms and conditions of the applicable business Income                       four-family dwelling if the owner of the dwelling lived there when the claim for loss
             and/or extra expense coverage:                                                                        or damage arose.                                                                •

             (a) If the loss which resulted in fungus, wet or dry rot or bacteria does not in itself        b, The Company will not pay any claim for:
                   necessitate a suspension of operations, but such suspension is necessary                   (1) Loss, damage or destruction of 51,000 or more to a building or structure; or
                   due to loss or damage to property caused by fungus, wet or dry rot or
                                                                                                              (2) Loss, damage or destruction, of any amount. that causes a building or structure to
                   bacteria, then the Company's payment under business income and/or extra
                                                                                                                     become:
                   expense coverage is finfited to the amount of loss and/or expense sustained
                   in a period 01 001 more than 30 days. The days need not be consecutive.                          (a) Dangerous to life or limb; or
             (b) If a covered suspension of operations was caused by loss or damage other                           (b) Unused, uninhabited or abandoned and open to the weather,
                   than fungus, wet or dry rot or bacteria but remediation of fungus, wet or dry                     as provided under Massachusetts General Law, Section 6 of Chapter 143:
                   rot or bacteria prolongs the period of restoration, the Company will pay for                without giving at least 10 days' written notice before such payment to:
                   loss and/or expense sustained during the delay (regardless of when such a
                   delay occurs during the period of restoration), but such coverage is limited to            (3) The Building Commissioner or the appointed Inspector of Buildings; and
                   30 days.The days need not be consecutive.                                                  (4) The Board of Health or the Board of Selectmen of the city or town where the
                                                                                                                     property is located,:
                                           MAINE CHANGES                                                       If at any time before the Company's payment, the city or town notifies the Company by
                                                                                                               certified mail of its intent to begin proceedings designed to perfect a lien under
   1„ Concealment, Misrepresentation Or Fraud                                                                  Massachusetts General Law:
      The Company does not provide coverage to one or more insureds who, at any time:                         (1) Chapter 143, Section 3A or 9; or
      1., Intentionally concealed or misrepresented a material fact;                                          (2) Chapter 111, Section 127B;
      2. Engaged in fraudulent conduct; or                                                                     the Company will not pay while the proceedings are pending. The proceedings must be
                                                                                                               started within 30 days after the Company receives the notice,:
      3.. Made a false statement;
                                                                                                               Any lien perfected under the Massachusetts General Laws referred lo in c;(1), and c:(2)
      relating to this insurance.                                                                              above wit extend to the city or town and may be enforced by it against the proceeds of
   2,.The Company will pay interest accning after a judgment is entered in accordance with                     this policy:
      Maine law, The Company's duty to pay interest ends when the Company pays, offers to pay               d. The Company will not be liable to any city, town, mortgageholder, assignee, the insured
      or deposits in court that part of the judgment which does not exceed the Company's Limit of              or any other interested party for:
      Insurance for which coverage is provided under this policy.
                                                                                                              (1) Amounts paid to a City or town; or
      This payment will not reduce the Limit of Insurance for which coverage is provided under
      this policy.                                                                                            (2) Amounts not paid to a city or town,
                                                                                                               under Provisions 4.q, and 4,c,above,.
                                        MARYLAND CHANGES.                                                5, The following is added:
                                                                                                                                    Standard Fire Policy Provisions
      Legal Action Against The Company                                                                      Your policy contains Legal Action Against Us, Appraisal and Cancellation Provisions.,
      In addition to any other requirement for bringing a legal action against the Company, the             Massachusetts law requires that the Suit, Appraisal and Cancellation Provisions of the
      suit must be brought within three years from the date it accrues.                                     Massachusetts Standard Fire Policy supersede any similar provisions contained in your
   2. The Company does not provide coverage in any case of fraud by the insured, at any                     policy. Therefore, all Legal Action Against Us, Appraisal and Cancellation Provisions
      time, as it relates to this insurance.. The Company also does not provide coverage if                 contained in your policy are void„ The Suit, Appraisal and Cancellation Provisions of the
      the insured or any other insured, at any time, intentionally conceals or misrepresents a              Massachusetts Standard Fire Policy shall apply instead.
      material fact concerning:                                                                             In consideration of the Provisions and Stipulations Herein or Added Hereto and of the
      a.. This insurance;                                                                                   Premium Specified in the Declarations, this company, for the term of years specified in the
                                                                                                            Declarations from inception date (At 12:01 AM,Standard Time) to expiration date(At 12:01
      b, The Covered Property:
                                                                                                            A,M..Standard Time) at location of property involved, to an amount not exceeding the
      c,:. The insured's interests in the Covered Property; or                                              amount(s) specified in the Declarations, does insure the Insured named in the Declarations
          A claim under this insurance.                                                                     and legal representatives, to the extent of the actual cash value of the property at the time
                                                                                                            of loss, but in no event for more than the interest of the insured, against all Loss By Fire.
                                   MASSACHUSETTS CHANGES                                                    Lightning And By Removal From Premises Endangered By The Perils Insured Against In
                                                                                                            This Policy, Except As Hereinafter Provided, to the property described in the Declarations
                                                                                                            while located or contained as described in this policy or pro rata for five days at each
   1.,Vacancy Or Unoccupancy
                                                                                                            proper place to which any of the property shall necessarily be removed for preservation
      With respect to loss or damage caused by fire or lightning, if the building where loss or             from the perils insured against in this policy, but not elsewhere..
      damage occurs, whether intended for occupancy by owner or tenant, has been vacant or
                                                                                                            Assignment of this policy shall not be valid except with the written consent of this Company,
      unoccupied for more than:
                                                                                                            This policy is made and accepted subject to the foregoing provisions and stipulations and
      a„ 60 consecutive days for residential premises of 3 units or less; or
                                                                                                            those hereinafter stated, which are hereby made a part of this policy together with such
      ,
      b 30 consecutive days for all other premises;                                                         other provisions, stipulations and agreements as may be added hereto, as provided in this
      immediately before that loss or damage, the Company will not pay for the loss or damage..
     A building is vacant when it does not contain enough business personal property to conduct             Concealment or Fraud
     customary operations.                                                                                  This entire policy shall be void if, whether before or after a loss, the insured has wilfully
   2
   .Mortgageholders                                                                                         concealed or misrepresented any material fact or circumstance concerning this insurance
      The Company will pay for covered loss of or damage to real estate to each mortgageholder              or the subject thereof, or the interest of the insured therein, or in case of any fraud or false
      shown in the Declarations, or in an attached schedule, in the order of precedence, as                 swearing by the insured relating thereto.,
      interests may appear,                                                                                 Uninsurable And Excepted Property
   3, With regard to loss settlement on a replacement cost basis, the Company will not pay on a            This policy shall not cover accounts, bills, currency, deeds, evidences of debt, money or
      replacement cost basis for any loss or damage:                                                       securities: nor, unless specifically named hereon in writing, bullion or manuscripts.
      a, Until the lost or damaged property is actually repaired or replaced:                              Perils Not Included
         (1) On the described premises; or                                                                 This Company shall not be liable for loss by fire or other perils insured against in this policy
        (2) Al some other location in the Commonwealth of Massachusetts; end                               caused, directly or indirectly. by (a) enemy attack by armed forces, including action taken
                                                                                                            by mititary, naval or air forces in resisting an actual or an immediately impending attack;
      b. Unless the repairs or replacement are made within a reasonable time, but no more than             (b)invasion; (e) insurrecrion: (d) rebeltion; (e) revolution; (I) civil war;(g) usurped power;
         2 years after the loss or damage,
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     (h) order of any civil authority except acts of destruction at the time of and for the purpose        goodness, or it may, within fifteen days after such statement is submitted, notify the insured
     of preventing the spread of fire, provided that such fire did not originate from any of the           of its intention to rebuild or repair the premises, or any portion thereof separately covered
     perils excluded by this policy; (I) neglect of the insured to use all reasonable means to save        by this policy, and shall thereupon enter upon said premises and proceed to rebuild or
     and preserve the properly at and after a loss, or when the property is endangered by fire in          repair the same with reasonable expedition;It is moreover understood that there can be no
     the neighboring premises;(j) nor shall this company be liable for loss by theft..                     abandonment of the property described to the company, and that the company shall not in
     Other Insurance                                                                                       any case be liable for more than the sum insured, with interest thereon from the time when
                                                                                                           the loss shall become payable, as provided above. The company shall be liable for the
     Other Insurance may be prohibited or the amount of insurance may be limited by                        payment of interest to the insured at a rate of one percent over the prime interest rate on
     endorsement attached hereto.                                                                          the agreed figure commencing thirty days after the date an executed proof Of loss for such
     Conditions Suspending Or Restricting Insurance                                                        figure is received by the company, said interest to continue so long as the claim remains
     Unless otherwise provided in writing added hereto this company shall not be liable for loss           unpaid,
     occurring (a) while the hazard is increased by any means within the control or knowledge of           Appraisal
     the insured; or (b) while the described premises, whether intended for occupancy by owner             In case 01 1055 under this policy and a failure of the parties to agree as to the amount of
     or tenant, are vacant or unoccupied beyond a period of sixty consecutive days, for                    loss, il is mutually agreed that the amount of such loss shall be referred to three
     residential premises of three units or less and thirty (30) consecutive days for all other            disinterested men, the company and the insured each droosing one out of three persons to
     premises, or (c) as a result of explosion or riot, unless fire ensue, and in that event Inc loss
                                                                                                           be named by the other. and the third being selected by the two so chosen, and the award
     by fire only,                                                                                         in writing by a majority of the referees shall be conclusive and final upon the parties as to
     Other Perils Or Subjects                                                                              the amount of loss or damage, and such reference, unless waived by the parties, shall be a
     Any other peril to be insured against or subject of insurance to be covered in this policy            condition precedent to any right of action in law or equity to recover fa- such loss; but no
     shall be by endorsement in writing hereon or added hereto,                                            person shall be chosen or act as a referee, against the objection of either party, who has
     Added Provisions                                                                                      acted in a Gke capacity within four months.
                                                                                                           Suit
     The extent of the application of insurance under this policy and of the contribution to be
     made by this company in case of loss, and any other provision or agreement not                        No suit or action against this company for the recovery of any daim by virtue of this policy
     inconsistent with the provisions of this policy, may be provided for in writing added hereto,         shall be sustained in any court of law or equity In this commonwealth unless commenced
     but no provision may be waived except such as by the terms of this poky is subject to                 within two years from the time the loss occurred; provided, however, that if, within said two
     change,                                                                                               years, in accordance with the provisions of the preceding paragraph, the amount of the loss
     Waiver Provisions                                                                                     shall have been referred to arbitration after failure of the parties to agree thereon, the
                                                                                                           limitation of time for bringing such suit or action shall in no event be less than ninety days
      No permission affecting this insurance shall thest, or waiver of any provision be valid,             after a valid award has been made upon such reference or after such reference or award
     unless granted herein or expressed in writing added hereto, No provision, stipulation or              has been expressly waived by the parties. If suit or action upon this policy is enjoined or
     forfeiture shall be held to be waived by any requirement or proceeding on the part of Otis            abated. suit or action may be commenced at any tine within one year after the dssolution
     company relating to appraisal or to any examination provided for herein.                              of such injunction, or the abatement of such suit or action, to the same extent as would be
     Cancellation Of Policy                                                                                possible if there was no limitation of time provided herein for the bringing of such suit or
     This policy shall be cancelled at any time at the request of the insured, in which case this          action,
     company shall, upon demand and surrender of this policy, refund the excess of paid                    Subrogation
      premium above the customary short rates for the expired time. This policy may be                     This company may require from the insured an assignment of all right of recovery against
     cancelled at any time by this company by giving to the insured a the days written notice of           any party for loss to the extent that payment therefor is made by this company.
      cancellation, and to the mortgagee to whom this policy is payable twenty days written
      notice of cancellation except where the staled reason for cancellation is nonpayment of
      premium where, in such Instance, this policy may be cancelled at any time by this company                                                  MICHIGAN CHANGES.
      by giving to the insured a ten days written notice of cancellation, and the mortgagee a
      twenty days written notice of cancellation, with or without tender of the excess paid             1, If a municipality has elected to apply the provisions 01 1998 Michigan Public Ad 217, apart
      premium above the pro rata premium for the expired time, which excess, if not tendered,               of the Company's payment for fire, explosion, vandalism windstorm or hail, or riot or civil
     shall be refunded on demand. Notice of cancellation shall slate that said excess premium               commotion loss or damage to the insured's covered real property in that municipality will be
     (if not tendered) will be refunded on demand and shall state or be accompanied by a                    withheld if the loss or damage is subject to the provisions of the Act: The withheld amount
     statement of the specific reason or reasons for such cancellation. After this policy has been          will be paid either to:
      in effect for sixty days, or after sixty days from any anniversary date, no rtiatice of               e. The municipality;
     cancellation shall be effective unless it is based on the occurrence, after the effective date         b. The insured and the mortgagehoIder. if any; or
     of the policy, of one or more al the following: (1) nonpayment of premium;(2) conviction of
     a crime arising out of acts increasing the hazard insured against, (3) discovery of fraud or           c. V1Ath the insured's consent, the licensed contractor hired by the insured to perform
      material misrepresentation by the insured in obtaining the policy; (4) discovery of willful or             repair, replacement, or removal services on the lost or damaged real property;
     reckless acts or omissions by the insured increasing the hazard insured against; (5)                   according to the provisions of Public Act 217, The Company will notify the insured, any
      physical changes in the property insured which result in the property becoming                        mortgageholder and the municipality of any loss subject to the provisions of Public Act 217,
      uninsurable; or (6) a determination by the commissioner that continuation of the policy               If a municipality has elected to apply the provisions of MICH. COMP...LAWS § 500.3011,
     would violate or place the insurer in violation of the law. VVhere the stated reason is                any further payment for claims for loss or damage to the insured's Covered Property
      nonpayment of premium, the insured may continue the coverage and avoid the effect of the              caused by fire or explosion of $2,000 or more will be withheld if the insured has failed to
     cancellation by payment at any time prior to the effective date of cancellation.                       submit a required report to the fire or law enforcement authority designated by the
      Mortgagee Interests And Obligations                                                                   municipality.
     Notwithstanding any other provisions of this policy, if this policy shall be made payable to a     2., VVilh respect to coverage for loss to property of others in the insured's care, custody or
     mortgagee of the covered real estate, no ad or default of any person other than such                   control, if any:
     mortgagee or his agent or those claiming under him, whether the same occurs before or                  a. The Company will pay, with respect to any claim or any suit against the insured it
     during the term of this policy, shall render this poticy void as to such mortgagee nor affect              defends, prejudgment interest awarded against the insured on the part of the judgment
     such mortgagee's right to recover in case of loss on such real estate; provided, that the                  the Company pays If the Company makes an offer to pay the Limit of Insurance, the
     mortgagee shall on demand pay according to the established scale of rate for any increase                  Company will pay any prejudgment interest based on that period of time after the offer,
     of risk not paid for by the insured; and whenever this company shall be liable to a
     mortgagee for any sum for lass under this policy for which no liability exists as to the               b. The following provisions are added to for loss to property of others in the insured's care,
     mortgagor, or owner, and this company shall elect by itself, or with others, to pay the                    custody or control, if any, relating to duties and replace any provisions to the contrary:
     mortgagee the full amount secured by such mortgage, then the mortgagee shall assign and                   If a claim is made or suit Is brought against the insured, the insured must see to it that
     transfer to the company interested, upon such payment, the said mortgage together with                    the Company receives prompt notice of the claim or suit,.
     the note and debt thereby secured.                                                                        Notice given by or on behalf of the insured to the Company's authorized agent, with
     Pro Rata Liability                                                                                        particulars sufficient to identify the insured, shall be considered notice to the Company.
     This company shall not be liable for a greater proportion of any loss than the amount                     Failure to:
     hereby insured shall bear to the whole insurance covering the property against the peril                  1) Give the Company prompt notice of an accident, claim or suit; or
     involved,
                                                                                                            2) Immediately send the Company copies of demands, notices, summonses or legal
     Requirements In Case Loss Occurs                                                                           papers received In connection with a claim or suit;
     The insured shall give immediate written notice to this company of any loss, protect the               shall not invalidate a claim made by the insured if it shall be shown that it was not
     property from further damage, forthwith separate the damaged and undamaged personal                    reasonably possible to give the Company prompt notice or to immediately send the
     property, put it in the best possible order, fumish a complete inventory of the destroyed and          Company copies, and that the insured gave the Company notice and sere it copies as
     damaged property. showing in detail the quantity, description, actual cash value and                   soon as was reasonably possible,
     amount of loss claimed; and the insured shall forthwith render to this company a signed,           ,Legal Action Against The Company
                                                                                                        3
     sworn statement in proof of toss which sets forth to the best knowledge and belief of the
     insured the following: the time and cause of the loss, the interest of the insured and of all        The time for commencing an action against the Company is tolled from the time the insured
     others                                                                                        in     notifies the Company of the loss or damage until the Company formally denies liability for
     the property, the actual cash value of each item thereof and the amount of loss thereto, all         the claim.
     encumbrances thereon, all other contracts of insurance, whether valid or not, covering any         4
                                                                                                        . Appraisal
     of said property, any changes in the tile, use, occupancy, location, possession or                    If the Company and insured disagree on the value of the properly or the amount of loss.
     exposures of said property, since the issuing of this policy, by whom and for what purpose            either may make written demand for an appraisal of the loss, In this event, each party will
     any building herein described and the several parts thereof were occupied at the time of              select a competent and independent appraiser. The two appraisers will select a competent
     loss and whether or not it then stood on leased ground, and shall furnish a copy of all the           and impartial umpire,If they cannot agree, either may request that selection be made by a
     descriptions and schedules in all policies and detailed estimates for repair of lie damage:           judge of a court having jurisdiction, As respects physical loss or damage to covered
     The insured, as often as may be reasonably required, shall exhibit to any person                      properly, the appraisers will slate separately the value of the properly and amount of loss.
     designated by this company all that remains of any property herein described, and submit              As respects any Time Element loss, the appraisers svitl stale separately the amount of net
     lo examinations under oath by any person named by this company, and subscribe the                     income and operating expense or amount of loss. If the appraisers fail to agree. they will
     same; and as often as may be reasonably required, shall produce for examination all books             submit their dillerences to the umpire. A decision agreed to by any MO will be binding..
     of account, bills, invoices and other vouchers, or ratified copies thereof if originals be lost,      Each party will:
     at such reasonable time and place as may be designated by this company or its
     representative, and shall permit extracts and copies thereof lobe made.                               e. Pay its chosen appraiser, and
     When Loss Payable                                                                                     b. Bear the other expenses of the appraisal and umpire equally;
     In case of any loss or damage, the company within thirty days after the insured shall have            If there is an appraisal. the Company will still retain its right to deny the claim,
     submitted a statement, as provided in the preceding clause, shall either pay the amount for
     which it shall be liable, which amount if not agreed upon shall be ascertained by award of                                              MINNESOTA CHANGES.
     referees as hereinafter provided, or replace the properly with other of the same kind and

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   1„ Provided the insured has complied with all the terms of this policy, the Company will pay for                   (a) Someone insured by this insurance, unless the loss was caused
      covered loss or damage within 5 business days after the Company has received the proof                              intentionally by such insured;
      of loss and:                                                                                                    (b) A business fimy
      a. The Company has reached agreement with the insured or, in the event the Company                                               (i) Owned or controlled by the insured; or
          uses an independent claims adjuster. the Company has received the agreement and                                              (ii) That owns or controls the insured; or
          the insured has satisfied the conditions of the agreement, if any; or
                                                                                                                      (c) The insured's tenant,.
      b. An appraisal award has been made,
                                                                                                               This will not restrict the insured's insurance.
   Z. The Company agrees that in the event of a total loss of a covered building or structure, the
      value of the building or structure reported by the Insured to the represents its value.           11, With respect to coverage for loss to properly of others in the insured's care, custody or
                                                                                                            control:
   3, Examination of The insured's Books And Records
                                                                                                            a. The Company's rights do not apply against any person or organization insured under
      The Company may examine and audit the insured's books and records as they relate to                       this or any other policy the Company issues with respect to the same loss, provided
      this policy at any time during the policy period and up to one year afterward,                            the loss was not intentionally caused by such insureds.
   4. Concealment, Misrepresentation Or Fraud
                                                                                                            b. The Company will pay, with respect to any claim or any suit against the insured it
      The Company does not provide coverage to the insured who has:                                             defends, prejudgment interest awarded against the insured on the part of the judgment
      a. Before a loss, willfully: or                                                                           the Company pays. tithe Company makes an offer to pay the Limit of Insurance, the
      b, After a loss, willfully and with intent to defraud;                                                   Company will pay any prejudgment interest based on that period of time after the offer,

      concealed or misrepresented any material fact or circumstances concerning:                            C The Company does not provide coverage to the Insured who has:
        (1) This policy:                                                                                        1) Before a loss, willfully; or
         (2) The Covered Property,                                                                             2) After a loss, willfully and with intent to defraud;

         (3) That insureds interest in the Covered Property: or                                                concealed or misrepresented any material fact or drcumstance relating to this
                                                                                                               Insurance.
         (4) A claim under this policy;
                                                                                                            d, Bankruptcy, insolvency or dissolution of the insured or the insured's estate will not
   5, Infilh respect to loss or damage Caused by a Covered Cause of Loss other than fire, if any.              relieve the Company of its obligations under this policy, and in case an execution
      the Ccirpany will not pay for any loss or damage if any insured has:                                     against the insured on a final Judgment is returned unsatisfied, then such judgment
      a, Before a loss, willfully; or                                                                          creditor shall have a right of action on this policy against the Corrpany to the same
      b.. After a loss, willfully and with intent to defraud;                                                  extent that the insured would have, had the insured paid the final judgment,
      concealed or misrepresented any material fact or circumstances concerning:                        12. With respect to an appraisal, reference to a court having jurisdiction means a court of
                                                                                                            record in the stale where the described premises at which the loss occurred are located,
         (11   This policy;
         (2) The Covered Property;                                                                                                            MISSISSIPPI CHANGES
         (3) That insured's interest in the Covered Property; or
         (4) A claim under this policy.                                                                     Leg al Action Against The Company
   6, tAnth respect to the perils of fire and lightning, references in this policy to direct physical       No one may bring suit against the Company under this poky unless:
      loss or damage are construed to mean all loss or damage caused by fire and any damage                 a. There has been full compliance with all of the teens of this policy; and
      caused by lightning,
                                                                                                            b, The action is brought within 3 years after the dale on which the direct physical loss or
   .Any requirement to notify the Company of loss or damage can be satisfied by notifying the
   7                                                                                                           damage occurred,
      Company's agent, subject to all other terms of such requirement. Further, if a claim is made
      or suit is brought against the insured, the requirement to provide the Company with prompt
      notice of the claim or suit can be satisfied by written or oral notification.
                                                                                                                                              .MISSOURI.CHANGES

   8
   . It is agreed that:                                                                                  1. If covered partial loss or damage to Covered Property is caused by or results from fire, at
     a.. Any provision requiring the insured as soon as possible to give the Company a                      the insured's option, the Company will either
          desaiption of how, when and where the loss or damage occurred is deleted,                         a. Pay the insured an amount of money equal to the damage done; or
     b. As often as the Company reasonably requires, the insured shall:                                     b, Repair the damage,so that the property is in as good a condition as before the fire.
         (1) Permit the Company to inspect the property. Also, pennt the Company to take                    But the Company will not pay more than the Limit of Insurance.
               samples of damaged and undamaged property for inspection, testing and analysis;
                                                                                                         2, In the event of loss or damage covered under this policy, the Company will give the insured
        (2) Provide the Company with records and documents reasonably related to the loss,                  notice, within 15 working days after the Company receives a properly executed proof of
              or certified copies if the originals are lost, and permit the Company to make copies.         loss, that the Company:
      c, The insured shall send the Company, within 60 days after its request, a signed, sworn              a. Accepts the insureds claim;
         proof of loss containing the following information the Company requires to investigate
                                                                                                            b. Denies the insured's claim; or
         the claim
                                                                                                            c. Needs more time to determine whether the insured's daim should be accepted or
        (1) A description of how and when the loss or damage occurred;
                                                                                                                denied.
        (2) The value of the property, except in the case eta total loss of an insured building;
                                                                                                            If the Company denies the insured's claim, such notice will be in writing, and will state any
         (3) The interest of the insured and all others in the property; and                                policy provision, condition or exclusion used as a basis for the denial,
         (4) Other insurance which may cover the loss or damage.                                            If the Company needs more time to determine whether the insured's claim should be
          The Company will supply the insured with the necessary forms,                                     accepted or denied, the written notice will slate the reason(s) why rnore time is needed.
      cf. After the Company informs an insured:                                                             If the Company has not completed ils investigation. the Company will notify the insured
         (1) Of the right to counsel; and                                                                   again in writing, within 45 days alter the date the initial notice is sent informing the insured
                                                                                                            that the Company needs more lime to determine whether the insured's claim should be
         (2) That an insureds answers may be used against the insured in later civil or criminal            accepted or denied and thereafter every 45 days, The written notice shall slate why more
                proceedings;                                                                                time is needed to investigate the insured's claim.
          the Company may examine any insured under oath, while not in the presence of arty              3. Appraisal
          other insured and at such limes as may be reasonably required, about any matter
          relating to this insurance or the claim. In the event of an examination, an insured's             If the Company and Insured disagree on the value of the property or the amount of loss,
          answers must be signed.                                                                           either may make written demand for an appraisal of the loss.: In this event, each party will
                                                                                                            select a competent and impartial appraiser and notify the other of the appraiser selected
   9. Mortgageholders                                                                                       within 20 days of the written demand for appraisal, The two appraisers will select an
      a. The term"mortgagehdder includes trustees and contract for deed vendors.                            umpire,.If they cannot agree upon an umpire within 15 days, then, upon the insured's or
      b, If the Company denies the insured's claim because of the insured's acts or because the             Company's request, an umpire shall be selected by a judge of a court of record in the state
         insured has failed to comply with the terms of this policy, the mortgageholder will still          and county (or city if the city is not within a county) in which the property covered is located.
         have the right to receive loss payment if the rnortgageholder                                      As respects physical loss or damage to Covered Property, the appraisers will state
                                                                                                            separately the value of the property and amount of loss. As respects any Time Element
         (1) Pays any premium due under this policy at the Company's request if the insured
                                                                                                            loss, the appraisers will stale separately the amount of net income and operating expense
                has failed to do so;
                                                                                                            or amount of loss, If the appraisers fail to agree, they will submit their differences to the
         (2) Submits a signed, sworn proof of loss within 60 days after receiving notice from the           umpire,. The umpire shall make an award within 30 days after the umpire receives the
                Company of the insured's failure to do so.                                                  appraisers' submissions of their differences: A decision agreed to by any two will be
          All of the terms of this policy will then apply directly to the mortgageholder.                   binding.
      c. The Company will notify the mortgageholder of changes to this policy that result in a              Each party will:
         substantial reduction of coverage to the mortgaged property,                                       a. Pay its chosen appraiser-, and
  10. Transfer Of Rights Of Recovery Against Others To The Company                                          b. Bear the other expenses of the appraisal and umpire equally,
      a. If any person or organization to or for whom the Company makes payment under this                   It there is an appraisal, the Company will still retain its right to deny the claim„
         policy has rights to recover damages from another, those rights are transferred to the          4.; Legal Action Against The Company
         Company to the extent of its payment. That person or organization must do everything
         necessary to secure the Company's rights and must do nothing after loss to impair                   No one may bring a legal action against the Company under this policy unless:
         them. However, the Company's rights do not apply against:                                          a. There has been tut/ compliance with all of the terms of this policy; and
        (1) An insured; or                                                                                  b. The action is brought within 10 years after the date on which the direct physical loss or
        (2) Arty person or organization insured under another policy which was issued by the                    damage occurred.
            Company and responds to the same loss;                                                          This Paragraph 4, does not apply to any coverage for loss to properly of others in the
         provided the loss was not intentionally caused by such insureds,                                   insured's care, custody or control,
      b. The insured may waive their rights against another party in writing:                            5„ The following exclusion and related provisions are added:
        (1) Prior to a loss to the insured's Covered Property or Covered Income.                            a. The Company will not pay for loss or damage arising out of any act an insured commits
                                                                                                                or conspires to commit with the intent to cause a loss.
         (2) After a loss to the insured's Covered Properly or Covered Income only if. at the
             time of loss, that party is one of the following:                                                  In the event of such loss, no insured is entitled to coverage, even insureds who did not
                                                                                                               commit or conspire to commit the act causing the loss.


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            However, the foregoing exclusion wilt not apply to deny coverage to an innocent co-                  (1) Pays any premium due under this policy at the Company's request it the insured
            insured who did not cooperate in or contribute to the creation of the loss, provided the                 has failed to do so;
            loss is otherwise covered under this policy and the loss arose out of domestic violence.             (2) Submits a signed, sworn proof of loss within 60 days after receiving notice from the
            Such coverage wit be prodded only if the innocent co-insured files a police report and                   Company of the insured's failure to do so; and
            completes a sworn affidavit indicating both:
                                                                                                                 (3) Has notified the Company of any change in ownership, occupancy or substantial
           (1) The cause of the loss; and                                                                            change in risk known to the mortgageholder,
           (2) A pledge to cooperate in any criminal prosecution of the person committing the act                All of the terms of this policy will then apply directly to the mortgageholder.
                  causing the loss.
                                                                                                              b, If the Company pays the morlgageholder for any loss or damage and denies payment
        c„; If the Company pays a claim pursuant to Paragraph b, above, the Company's payment                    to the insured in accordance with the provisions of this policy:
            to the innocent co-insured will be limited to that insured's ownership interest in the
                                                                                                                (1) The mortgageholders lights under the rnortgage will be transferred to the
            property as reduced by any payment to a mortgagee or other secured interest; however,
                                                                                                                       Company to the extent of the amount the Company pays; and
            the Company shall not be required to make any subsequent payment for any loss for
            which the innocent co4nsured has received payment, In no event will the Company pay                  (2) The mortgageholders right to recover the full amount of the
            more than the Limit of Insurance,                                                                        mortgageholder's claim will not be impaired, ,
        d. If the Company pays an innocent co-insured for loss arising out of an act of domestic              Al the Company's option, the Company may pay to the morigageholder the whole principal
            violence by another insured, the rights of the innocent co- insured to recover damages            on the mortgage plus any accrued interest. In this event the insured's mortgage and note
            from the abuser are transferred to the Company to the extent of the Company's                     will be transferred to the Company and the insured will pay their remaining mortgage debt
            payment. Following the loss, the innocent co-insured may not waive such rights to                 to the Company.
            recover against the abuser.
    6_      With respect to Debris Removal coverage (or any variation), if any, and Pollutant Clean                                             NEBRASKA CHANGES
                                                                                                                                                               ,
            Up And Removal coverage (or any variation), if any, if the insured fails to report the
            expenses to the Company within the required timeframe. if any, of the specified                1. Appraisal
            occurrence, such failure will not invalidate a claim under Debris Removal coverage (or            If the Company and insured disagree on the value of the property or the amount of loss,
            any variation) and Pollutant Clean Up And Removal coverage (or any variation) uNess               both parties may agree in writing to an appraisal of the loss and to be bound by the results
            such failure operates to prejudice the Company's rights,                                          of that appraisal:1f both parties so agree, then each party will select a competent and
    .VVhen Replacement Cost loss settlement applies, with respect to any requirement to notify
    7                                                                                                         Impartial appraiser.-The two appraisers will select an umpire. If they cannot agree, either
        the Company of the Insured's intent to submit an additional claim (for the difference                 may request that selection be made by a judge of a court having jurisdiction. As respects
        between the actual cash value and replacement cost) within a specified timeframe after the            physical loss or damage to Covered Properly, the appraisers will state separately the value
        loss or damage occurs, if the insured fails to notify the Company of their intent within the          of the property and amount of loss. As respects any Time Element loss, the appraisers will
        specified timetrame, such failure will not invalidate the claim unless such failure operates to       slate separately the amount of net income and operating expense or amount of loss. If the
        prejudice the Company's rights.                                                                       appraisers fail to agree, they wilt submit their differences to the umpire. A decision agreed
    8., The following provisions are added:                                                                   to by any two will be binding, Each party will:
        a,. Transfer By Beneficiary Deed                                                                      a. Pay its chosen appraiser, and
                                                                                                              b. Bear the other expenses ot the appraisal and umpire equally,:
           If the insured conveys real property insured under this policy to a person (known as a
           grantee beneficiary) designated under a beneficiary deed, which has been properly                  If there is an appraisal, the Company wilt still retain its right to deny the claim„
          recorded prior to the insured's death, that person will have the insured's rights and            2. If this policy covers any real property in Nebraska against loss by fire, tornado, windstorm,
           d uties with respect to the insured real properly, but only for the period kern the date of        lightning or explosion and the property insured is wholly destroyed, without criminal fault on
          the insured's death until the first of the following occurs:                                        the part of the insured or their assignee, the amount of the insurance written on such real
          (1) A period 01 30 days from the dale of the insured's death;                                       property shall be taken conclusively to be the true value of the property insured and the
          (2) The date that alternative coverage is obtained on the insured's property; or                    true amount of loss and measure of damages, The applicable amount of insurance written
                                                                                                              on such real properly that be the value reported to the Company by the Insured on the
          (3) The end of the policy period as shown in the Declarations.                                      statement of values prior to loss,
        b. Transfer By Other Means Following Death                                                            Misrepresentation Or Breach Of Condition Or Warranty
          If the insured dies, their rights and duties will be transferred to Their legal representative      a. A misrepresentation or warranty made by the insured or on their behalf in the
          but only while acting within the scope of duties as their legal representative, Until the              negotiation of or application for this policy will void this policy if:
          insured's legal representative is appointed, anyone having proper temporary custody of
                                                                                                                (1) It is material;
          the insured's property will have the insured's rights and duties, but only with respect to
          that properly.-The insured's rights and duties under this policy may not be transferred               (2) It is made with the intent to deceive;
          without the Company's written consent except in the case of death of an individual                    (3) The Company relies on it; and
          Named Insured:                                                                                        (4) The Company is deceived to its injury,
    9; In this policy, any exclusion, irritation or other provision relating to pollutants, or any            b. A breach of warranty or condition will void the policy if such breach exists attire time of
     'amendment to or replacement of such exclusions, limitations or other provisions, applies                   loss and contributes to the loss.;
       whether or not the irritant or contaminant has any function in or on the insured's business,
      operations, premises, site or location,                                                              4, The Company will not pay for loss or damage arising out of any act committed:
   10, If changes are made to this policy after the beginning of the current policy period, and such          a. By or at the direction of any insured; and
        changes require an additional premium, the additional premium will be pro-rated to                     b. With the intent to cause a loss.
        recognize the actual period of coverage,-;                                                             However, this exclusion does net apply to deny coverage to an innocent insured to the
   1 1. Changes To A Covered Location                                                                          extent of that insured's legal interest (but not exceeding the applicable Limit of Insurance) in
       If changes are made to a location that was covered at the beginning of the current policy               Covered Property that has sustained damage if the damage arises out of abuse of the
       period, and those changes require additional premium (e.g., an Increase in the limit of                 innocent insured by a current or former family member or household member and is
       insurance), the Company will calculate the additional premium using the rates and ivies                 otherwise covered under this policy, The Company may apply reasonable standards of
       which were in effect on the effective dale of the current policy period..                               proof to claims for such damage,
   12. Additional Locations                                                                                5,- If the Company pays an innocent oainsured subject of abuse for loss arising out of abuse
                                                                                                               by another insured who is a current or former family member or household member, the
       a,. I( a location(s) is added to the policy after the beginring of the current policy                   rights of the innocent coinsured to recover damages from the abuser are transferred to the
           period, the Company will calculate the premium for that location(s), including all                  Company to the extent of the Company's payment.,The innocent coinsured may not waive
           coverages, options and causes of loss at that location(s), using the rates and rules                such rights to recover against the abuser;
           which are in effect when the location(s) is added,
                                                                                                           B,. In Paragraphs 4. and 5„,above, -abuse* means attempting to cause or intentionally,
       :
       b If changes are subsequently made to a location(s) described in 12.a. above, and                    ' knowingly, or recklessly causing damage to properly so as to intimidate or attempt to
           those changes require additional premium, the Company will calculate the additional
                                                                                                               control the behavior of another person,including a minor child.
           premium using the rates and rules which were In effect when the location(s) was added,
                                                                                                           7; The Company will give the insured notice, within 15 days after the Company receives
   13- Any additional premium calculated in accordance with this endorsement will be charged
                                                                                                               settlement information er a properly executed proof of loss, that the Company:
       in full, whether or not the Company applied a policywriling minimum premium in
       developing the premium that was charged at the beginning of the current policy period..                a„ Accepts the insured's claim;
                                                                                                              b. Denies the insured's claim; or
                                          MONTANA CHANGE                                                      c.. Needs more time to investigate the insured's claim,
                                                                                                              If the Company denies the insured's claim, the denial will be given to the insured in writing,
    1, Concealment, Misrepresentation Or Fraud
                                                                                                              If the Company needs more time to investigate the insured's claim, the Company will
       A, The Company will not pay for loss or damage in a case of:                                           preside an evlanation for its need for more time, The Company will continue to notify the
          1„.. Concealment or misrepresentation of a material fact; or                                        insured main in writing, at least every 30 days, of the status of the investigation and of the
               Fraud;                                                                                         continued time needed for the investigation,
           committed by the insured or any other insured, whether before or after the loss and                However, if the daim is in litigation, the requirements pertaining to notice of the status of
           relating to coverage of the loss under this policy,'                                               the Company's investigation do not apply„
       B, The Company will not pay for any loss or damage in any case if:                                     In the Company's deterrnination of the actual cash value of Covered Property at the time of
                                                                                                              loss or damage. the Company will take into account factors such as depreciation.
          1. Concealment or misrepresentation of a material fact; or                                          deterioration and obsolescence,
             Fraud;
          is committed by the insured or any other insured in the application for this policy.                                                    NEVADA CHANGES
    2; Conformity With Montana Statutes
       The provisions of this policy cenform to the minimum requirements of Montana law and                Concealment, Misrepresentation Or Fraud
       control over any conflicting statutes of any state in which the insured resides on or after the        The Company will not pay for any loss or damage in any case of:
       effective date of this policy. Any provision of this policy (including endorsements                    a. Concealment or misrepresentation of a material fad; or
       which modify the policy) that does not conform to the minimum requirements of a                        b. Fraud;
       Montana statute is amended to conform to such statute.                                                 committed by an insured at any time and relating to a claim under this policy,
    3, Mortgageholders
       a. If the Company denies the insured's claim in accordance with the provisions of this                                               NEW HAMPSHIRE CHANGES
          policy, that denial will not apply to a valid Claim of the MOrtgageholder, if the
          mortgageholder                                                                                   1, Concealment, Misrepresentation Or Fraud
                                                                                                              The Company does not provide coverage to one or more insureds who, at any time:

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       a„ Intentionally concealed or misrepresented a material fact;                                             cash value basis„ The Insured may then make claim within 180 days after loss for any
       b; Engaged in fraudulent conduct; or                                                                       additional liability according to the provisions stated in Paragraph a,above;
       C.: Made a false statement;                                                                        6. The following exdusion and related provisions are added and replace any similar condition
       relating to this insurance.                                                                           to the contrary:
    2. Other Insurance On Buildings                                                                          a. The Company will not pay for loss or damage arising out of any act committed:
    " a. The Insured is permitted to have other insurance that covers buildings at the premises                 (1) By oral the direction of any Insured; and
           described in the Declarations, The total Unit of Insurance on any building, including the             (2)With the intent to caused loss,
           Limit of Insurance for this policy, is limited to the amount shown in the Schedule below,         b, However, this exclusion MI not apply to deny coverage to an innocent coinsured victim
       b. If the Insured has other insurance on any building exceeding the amount shown in the                    of domestic abuse who did not cooperate in or contribute to the creation of the loss
           Schedule below, coverage under this policy will be automatically suspended for that                    provided that the loss is otherwise Covered under this policy and is proximately related
           building„ Suspension will occur regardless of whether the Insured can collect on that                  to and in furtherance of domestic abuse-.
           other insurance or not,                                                                           c. If the Company pays a claim pursuant to Paragraph 6,b;"above, the Company's
    3; Policy Value                                                                                               payment to the Insured is limited to the extent of that person's interest in the property. In
       a,. If a building insured for a specified amount, whether under a separate policy or under a               no event will the Company pay more than the Limit of Insurance.
           policy also covering other buildings, is totally destroyed by fire or lightning without        7, The following provision is added and replaces any similar provision to the contrary:
           criminal fault on the part of the Insured or his assignee, the sum for which such                 If the Company pays an innocent coinsured victim of domestic abuse for loss arising out of
           buildings are insured shall be taken to be the value of the Insureds interest therein             an act of domestic abuse by another insured, the rights of the innocent coinsured to
           unless overinsurance thereon was fraudulently obtained.                                           recover damages from the perpetrator of the domestic abuse are transferred to the
       b If an insured building is only partially destroyed by fire or lightning. the Insured shall be
       :                                                                                                     Company to the extent of its payment:.Following the loss, the innocent coinsured may not
           entitled to the actual loss sustained, not exceeding the sum insured.                             waive such rights to recover against the perpetrator of the domestic abuse;
       c. Nothing contained in Paragraph 3d, or 3,b, of this section shall be construed as                8. In Paragraphs 6. and 7. above, domestic abuse means attempting to cause or intentionally.
           prohibiting the use of coinsurance, or agreed amount,.                                            knowingly or recklessly causing damage to property for the purpose of intimidating or
       d. When a building is insured not for a specified amount but under a blanket form with one            attempting to control the behavior of another person,including a minor.
           amount covering two or more buildings or one or more buildings and personal property,
           the provisions of Paragraph 3.a,.of this section shall not apply.
                                                                                                                                                NEW YORK CHANGES
                                              SCHEDULE
                                                                                                           1. FRAUD
     Prem                'Bldg #'          -Total Unit of ,Insurance Permitted On'The                         The Company does not provide coverage for any Insured who has made fraudulent
                                           . Building                                                         statements or engaged in fraudulent conduct in connection with any loss or damage for
                                                                                                              which coverage is sought under this policy.
                                                                                                          2 . Any exclusion of loss or damage caused by or resulting from fungus, wet rot or dry rot does
                                                                                                              not apply when fungus. wet rot or dry rot results from a Covered Cause of Loss,.
                                                                                                           EL ilVith respect to any additional coverage for Increased Costs of Coverage, the Company will
                                                                                                              not pay for.
                                                                                                               1. The enforcement of or compliance with any ordinance or law which requires demolition,
                                                                                                                   repair, replacement. reconstruction, remodeling, or remediation of property due to
                                       NEW JERSEY CHANGES                                                          contamination by pollutants; or
                                                                                                              2, Any costs associated with the enforcement of or compliance vrith an ordinance or law
   1,. The Company will not pay for loss or damage arising out of any act committed:                          " which requires any insured or others to test for, monitor, dean up, remove, contain,
    •      By or at the direction of any insured; and                                                              treat, detoxify or neutralize, or in any way respond to, or assess the effects of pollutants,,
       b. With the intent to cause a loss.                                                                C, %Mtn respect to any Ordinance Or Law Coverage, the Company will not pay for:
   2.. However, the foregoing exdusion will not apply to deny payment to a co-insured who did                  1, Enforcement of or compliance with any ordinance or law which requires the demolition.
       not cooperate in or contribute to the creation of the loss if the loss arose out of domestic                repair,replacement, reconstruction, remodeling or remedation of property due to
       violence,:To the extent trial the Concealment, Misrepresentation Or Fraud Conetition                        contamination by pollutants; or
       conflicts with the provisions of this Paragraph 2,. this paragraph 2, will apply,                      2. The costs associated with the enforcement of or compliance with any ordinance or law
   3„ If the Company pays a claim pursuant to Paragraph 2, above, the Company's payment to                         which requires any insured or others to test for, monitor, dean up, remove, contain,
       the insured is limited to that insureds insurable interest in the property, In no event will the            treat. detoxify or neutratize, or in any way respond to, or assess the effects of pollutants,,
       Company pay more than the Limit of Insurance.                                                          3. As respects the Ordinance or Law, or Demolition and Increased Cost of Construction, -
   4, If the Company pays a co-insured for loss arising out of an act of domestic violence by                      coverage, if any:
       another insured, the rights of the co-insured, who did not cooperate in or contribute to the                a. Such coverage shall include the amount of actual and necessary loss the Insured
       creation of the loss, to recover damages from the perpetrator of domestic violence am                           sustains during any increased period of suspension of operations caused by or
       transferred to the Company to the extent of its payment. Following the loss, the co-insured                      resulting from a requirement to comply with any ordnance or law that:
       who did not cooperate in or contribute to the loss may not waive such rights to recover                        (1) Regulates the construction or repair of any property;
       against the perpetrator of domestic violence,.                                                                  (2) Requires the tearing down of parts of any property not damaged by a covered
                                                                                                                            cause of loss; and
                                      .NEW MEXICO CHANGES                                                             (3)Is in force at the time of loss.,
                                                                                                                   b. However, coverage is not extended hereunder to include loss caused by or resulting
   1 Provisions 2„ 3„ and 4. below apply to a claim for direct physical loss or damage to                              from the enforcement of or compliance with any ordinance oflaw which requires:
       Covered Properly, provided that:                                                                                (1)The demolition, repair, replacement, reconstruction, remodeling or remediation of
      :a The claim is for loss or damage that results from a catastrophe declared by the                                    property duets contamination by pollutants; or
           Superintendent of Insurance; and                                                                            (2) Any insured or others to test for. morritor. dean up, remove, contain, treat,
       b. The catastrophic event is a Covered Cause of Loss,                                                                detoxify or neutralize, or in any way respond to, or assess the effects of
   2 The following provisions are added and replace any similar provision to the contrary:                                  pollutants,
       a:, If the Insured reported its claim to the Company:                                              4. As respects the owner's interest of any of the following types of buildings or structures:
          (1) Before the catastrophe was declared, the Company Wit reach agreement with the                   a, Residential (except 1 or 2family buildings or structures);
               Insured on the amount of loss within 90 days after the date the catastrophe was                b, Commercial; or
               declared;                                                                                      c. Industrial;
          (2)After the catastrophe was declared, the Company will reach agreement with the                    Before payment to the Insured for loss or damage to the above buildings or structures
               Insured on the amount of loss within 90 days after the date on which the Insured               caused by or resulting from fire, the Company will:
               reported the daim.                                                                                 (1)Deduct from the Insured's payment the claim of any tax district that issues a
       D.. However, the time periods specified in a,above wit be extended by the period of time                         certificate of lien in accordance with the Insurance Law; and
           taken to resolve the following situations:                                                             (2) Pay directly to the tax district the amount of the claim,
          (1)The Company suspects the claim is fraudulent and commences an investigation to                   When the Company pays that claim, the Company will have no obligation to pay the
               make such a determination;                                                                     amount of that claim to the insured. The Company's payment of that claim within 30 days of
          (2) The Insured does not provide the necessary information regarding the nature of the              the Company's receipt of the certificate of lien will be a conclusive presumption that the
               daim, following the Company's request for such information; or                                 claim was valid and properly add,
          (3)The Insured filed suit against the Company in connection with the claim before               5, With respect to any condition of this policy which requires the Insured to notify the
               expiration of the applicable 90-day period,                                                    Company of loss or to notify the Company of an accident, claim or suit:
   3,      other provisions of this policy continue to apply in the event of a catastrophe, including         a: Notice given by or on the Insured's behalf; or
       the Legal Action Against The Company and Appraisal conditions.                                         b. Written notice by or on behalf of any claimant;
   4,,iThis does not invalidate the Company's right to deny the Insured's claint nor the right of             to any of the Company's agents in New York State, which adequately identities the Insured.
       either party to seek judgment in a court having jurisdction.                                           will bathe same as notice to the Company,
   5,. VOth respect to coverage provided under this policy for one through lour family residential        6. With respect to any coverage for loss to property of others in the insured's care. custody or
       buildings which the Insured owns and leases to others for use as a residence the                       control:
       Replacement Cost Optional Coverage applies, For such one through four family residential               a. No person or organization has a right under to this policy:
       buildings, the following applies with respect to the Replacement Cost Optional Coverage:                   (1) To join the Company as a party or otherwise bring the Company into a suit asking
       a.. The Company will pay. subject to the Limit of Insurance, no more than the actual cash                       for damages from the insured; or
           value of the damaged residential building until the actual repair or replacement is                    (2)To sue the Company unless all of the policy's terms have been fully complied with,.
           complete. However, if the actual cash value amount is insuffident to initiate repair or                 A person or organization may sue the Company to recover on an agreed settlement or
           replacement of the damaged residential building, the Company will advance to the                       on a final judgment against the insured; but the Company will not be liable for damages
           Insured the amount necessary for the Insured to initiate such repair or replacement.                    that are not payable under this policy or that are in excess of the Limit of Insurance, An
           After the payment of actual cash value or such greater amount as described above. the'                 agreed settlement means a settlement and release of liability signed by the Company,
           Company will advance further amounts as necessary to continue the repair or                             the insured and the claimant or the claimant's legal representative,
           replacement, The total of all advances and other payments hereunder will not exceed                b. The Company will have the right and duty to defend a suit seeking those damages even
           the arrount allowed under the Replacement Cost Optional Coverage, nor will that total                   II the allegations of the suit are groLridess, false or fraudulent,
           exceed the amount of loss payment the Company agrees upon.                                         C, If the Company concludes that, based on claims or 'suits' which have been reported to
           Under this loss settlement procedure, the following special provisions apply:                          Ike Company and to which this insurance may apply, a Limit of Insurance is likely to be
          (1)The Insured shall promptly fonvard to the Company evidence of the agreement with                      used up in the payment of judgments or settlements. the Company will notify the first
               the party repairing or replacing the damaged residential building showing the cost                  Named Insured, in writing, to that effect,
               and estimated completion date of the repairs to the building;                                  d. Vilhen the Until of Insurance has actually been used up in the payment of judgments or
          (2)The Company will send to the Insured the balance, if any, of the loss payment                         settlements:
               previously agreed upon when the Insured forwards to the Company evidence of the                    (1)The Company will notify the first Named Insured, in writing, as soon as practicable,
               completion of the repairs to the damaged residential buffeting,                                          that:
       b„ The Insured may disregard the replacement cost optional coverage provisions and                              (a)Such a limit has actually been used up; and
           make claim under this policy, for loss or damage to a residential building, on an actual

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                 (b)The Company's duty to defend suits seeking damages subject to that limit has              (2) The expiration of the Insurance Commissioner's order declaring action for the specific
                     also ended.                                                                                   disaster, as determined by the Insurance Commissioner,
           (2)The Company will initiate, and cooperate in. the transfer of control, to any                  b. Except as otherwise provided in Paragraph a, above, the following applies if the Insured or
                 appropriate insured, of all claims and stits seeking damages which are subject to             the Company reside in or are located in the geographic area designated in the disaster
                  that limit and which are reported to the Company before that limit is used up, Thal          declaration or proclamation:
                 insured must cooperate in the transfer of control of said claims and suits.      -            If this policy or an endorsement attached to this policy imposes a time limitation on the
                 The Company will take no action whatsoever with respect to any claim or suit                  Insured or the Company for a performance of:
                 seeking damages that would have been subject to that limil, had it not been used up,         (1) A premium or debt payment or
                 if the claim or suit is reported to the Company after that limit of insurance has been       (2)Any other duty or any act(including transmittal of information),
                  used up;                                                                                     under the terms of this policy and such performance would be required during the time
           (3)The firs( Named Insured, and any other insured involved in a suit seeking damages                period prior to the expiration of the Insurance Commissioner's order declaring action for the
                 subject to that limit, must arrange for the defense of such suit within such time period      specific disaster, as determined by the Insurance Commissioner. the Insured's
                 as agreed to between the appropriate insured and the Company, Absent such                     performance and the Company's performance is subject to a deferral period of 30 days;
                 agreement, arrangements for the defense of such suit must be made as soon as                  The Commissioner of Insurance may extend such deferral period,,
                  practicable.
        e; The first Named Insured will reimburse the Company for expenses the Company incurs                                                VORTH DAKOTA CHANGES.
             in taking those steps the Company deems appropriate in accordance with paragraph
            d,(2) above. The duty of the first Named Insured to reimburse the Company will begin             , EXAMINATION OF THE INSURED'S BOOKS AND RECORDS
                                                                                                            1,
            on:                                                                                             ' a. Except as provided in Paragraph b.,below, the Company may examine and elicit the
           (1)The date on which the applicable limit of insurance is used up, if the Company sent                   Insured's books and records as they relate to this policy at any time during the policy
                 notice in accordance with the first sentence of Paragraph c, above; or                             period and up to three years aftenvard,
           (2)The date on which the Company sent notice in accordance with Paragraph d.(1)                     b, Any audit conducted to determine .the premium due or to be refunded must be
                 above, if the Company did not send notice in accordance with the first sentence of                completed within 180 days after
                 Paragraph c, above..                                                                             (1)The expiration date of the policy; or
       .f The exhaustion of any limit of insurance by the payments of judgments or settlements,                    (2)The anniversary date, if this is a continuous poficy or a policy written for a term
            and the resulting end of the Company's duty to defend, will not be affected by the                          longer than one year:
            Company's failure to company with any of the provisions of this condition, ,                            unless the Insured agrees in writing to extend the audit period,
    7. EXAMINATION OF THE INSURED'S BOOKS AND RECORDS                                                       2, LEGAL ACTION AGAINST THE COMPANY
        a: Except as provided in Paragraph b, below, the Company may examine and audit the                     No one may bring a legal action against the Company under this Policy unless:
             Insured's books and records as they relate to this policy at any time during the policy           a, There has been full compliance with all of the terms of this Policy. and
             period and up to three years afterward.                                                           b. The action is brought within 3 years after the date on which the direct physical loss or
        b. The Company will conduct an audit to determine the final premium due or to be                            damage occurred,
             refunded, for coverage for which an advance or deposit premium was paid based on                  This provision does not apply to any coverage for loss to property of others in the insured's
            estimated exposure. But the audit may be waived if.                                                care, custody or control..
           (1) The total annual premium attributable to the auditable exposure base is not                  3. VALUED POLICIES
                 reasonably expected to exceed $1,500; or                                                   "a. When this Policy is written to insure any real property in North Dakota against toss
           (2)The policy requires notification to the insurer with the specific identification of any               caused by or resulting from any Covered Cause Of Loss, and the property is wholly or
                 additional exposure units (e.g., buildings)for which coverage is requested.                        completely destroyed by any Covered Cause Of Loss without fraud on the part of the
             If the audit is not waived, it must be completed within 180 days after:                               "insured" or assignee, the amount of insurance written on such real property shall be
           (1)The expiration date of the policy: or                                                                 taken to be the We value of the properly insured and the We amount of loss and
           (2)The ariniversary dale, if this is a continuous policy or a poky written for a term                    measure of damages, subject to the exceptions and conditions in parts b„ c„ d„and e„,
                 longer than one year,                                                                              below and In the policy section pertaining to Other Insurance,
    B,. APPRAISAL                                                                                              b. If a covered loss occurs within 60 days after the effective date of the Policy or the Limit
        a, If the Company and the Insured disagree on the value of the property, the extent of the                  of Insurance applying to the real property was increased by 25% or more at the
            loss or damage or the amount of the loss or damage, either may make written demand                      insured's request without construction of additions, the Company will pay no more than
            for an appraisal of the loss. In this event, each party wtil select a competent and                     the lesser of the following:
            impartial appraiser and notify the other of the appraiser selected within 20 days of such              (1)The Unit of Insurance under this Policy that applies to the real properly; or
            demand„                                                                                                (2) The amount paid in accordance with the policy provisions as if a partial loss
        b, If the Company or the Insured fails to proceed with the appraisal of the covered loss                        occurred,.
         • after a written demand is made by either party, then either party may apply to a court              c, Paragraph b. above does not apply to:
            having jurisdiction for an order directing the party that failed to proceed with the                   (1) Renewal policies for which the Limit of Insurance applying to the real property is
            appraisal to comply with the demand for the appraisal of the loss. In this event, each                      increased less than 25%;
            party will select a competent and impartial appraiser and notify the other of the                      (2)Policies for which the Limit of Insurance applying to the real property has increased
            appraiser selected within 20 days of such order.                                                            by 25% or more due to the construction of additions; or
        c„. The two appraisers will select an umpire- If they cannot agree within 15 days upon such                (3)Policies for which an increased Limit of Insurance applying to the real property was
            umpire, either may request that selection be made by a judge of a court having                              approved by the Company prior to the loss:.
            jurisdiction, As respects physical loss or damage to covered property, the appraisers will         d. Builders' risk policies of insurance covering property in the process of being constructed
            state separately the value of the property, the extent of the loss or damage and the                    shall be valued and settled according to the actual value of that portion of the
            amount of the loss or damage. As respects any Time Element loss, the appraisers will                   construction completed at the time of the loss.
            slate separately the amount of net income and operating expense, the extent of the loss            e. The Valued Policy Provisions above and In the policy section pertaining to Other
            or damage and the amount of the loss or damage, If they fail to agree, they will submit                 Insurance below do not apply to any claim for loss to an appurtenant or separate
            their differences to the umpire.A decision agreed to by any two will be binding.                        structure, unless the appurtenant or separate structure is individually described in the
       d4 Each party wit:                                                                                          Policy and a value has been assigned to the appurtenant Of separate structure before
           (1)Pay its chosen appraiser, and                                                                         the loss..
           (2) Bear the other expenses of the appraisal and umpire equally.                                         Wien the Valued Policy Provisions do not apply, the claim for loss to an appurtenant or
            If there is an appraisal. the Company will still retain its right to deny the claim,                    separate structure will be settled for actual cash value or replacement cost. depending
    9. ESTIMATION OF CLAIMS                                                                                        on the Policy provisions applicable to that structure:
        Upon request, the Company will famish the Insured or its representative with a written              4. Valued Policies —Other Insurance
       estimate of damages to real property specifying all deductions, provided such an estimate               Wth respect to valued policies, if two or more policies are written upon the same property
       has been prepared by the Company or has been prepared on the Company's behalf for its                   interest and cover the loss, each insurer will pay only that proportion of the cost of the loss
       own purposes. This estimate will be provided within thirty days after the Insured's request             that the limit of insurance under its policy bears to the total amount of insurance covering
       or its preparation, whichever is later,                                                                 the loss,
                                                                                                            5
                                                                                                            :The following exclusion is added:
                                      'NORTH CAROLINA CHANGES'                                                 a, The Company will not pay for loss or damage arising out of any act committed:
                                                                                                                   (1)By or at the direction of any Insured; and
 1...LEGAL ACTION AGAINST THE COMPANY                                                                              (2) With the intent lo cause a loss.
     No one rnay bring a suit against the Company under this policy unless:                                    b. However, this exclusion will not apply to deny coverage to an innocent ce nsured who
    a., There has been full compliance with all of the terms of this policy; and                                    did not cooperate in or contribute to the creation of the loss, provided the loss is
     b. The action is brought within 3 years after the date on which the direct physical loss or                   otherwise covered under this Policy and:
         property damage occurred:                                                                                 (1)The loss arose out of domestic violence; and
 2. APPRAISAL                                                                                                      (2)The perpetrator of the loss is criminally prosecuted for the act causing the loss,
    lithe Company and the Insured disagree on the value of the property or the amount of loss.                 c, If the Company pays a claim pursuant to part b, above, the Company's payment to the
    either may make written demand for an appraisal of the loss. In this event, each party will                     insured is limited to that insureds ownership interest in the property less any payments
    select a competent and impartial appraiser, The Insured and the Company must notify the                         Ike Company first made to a mortgagee or other party with a legal secured interest in
    other of the appraiser selected within 20 days of the written demand for appraisal: The two                     the property, In no event will the Company pay more than the Lirrit of Insurance.
    appraisers will select an umpire, If the two appraisers do not agree on the selection of an             6. If the Company pays an innocent co-insured victim of domestic violence for loss arising out
    umpire within 15 days, they must request selection of an umpire by a judge of a court having               of an act of domestic violence by another insured, the rights of the innocent co4nsured to
    jurisdiction. -The appraisers will state separately the value of the property and amount of loss.          recover damages from the perpetrator of the domestic violence are transferred to the
    If they fat to agree, they will submit their differences to the umpire. A decision agreed to by            Company to the extent of the Company's payment, Following the loss, the innocent co-
    any two will be the appraised value of the property or amount of loss. If the Insured makes a              insured may not waive such rights to recover against the perpetrator of the domestic
    written demand loran appraisal of the loss, each party will:                                               violence,
    a. Pay its chosen appraiser: and
    b, Bear the other expenses of the appraisal and the umpire equally,                                                                            01410 CHANGES
 3 .TIME PERIOD FOR PERFORMANCE OF CONTRACTUAL OBLIGATIONS
    Whenever a slate of disaster is proclaimed for the state of North Carolina or for an area within        1,The Company will give the Insured notice, within 21 days after the Company receives a
    this state in accordance with state law, or whenever a major disaster is declared for North                properly executed proof of loss, that the Company:
    Carolina or an area within this state by the President of the United States under the Stafford             a, Accepts the Insured's claim;
    Act or its successors, the following provisions apply:                                                     b. Denies the Insured's claim; or
    a;,. If the Covered Properly that has sustained loss or damage is located within the geographic            c. Need more time to investigate the Insured's claim,
         area designated in the disaster declaration or proclamation, the time period for the                  If the Company needs more time to investigate the Insured's claim. the Company will
         Insured's submission of a proof of loss (as set forth in the Duties In The Event Of Loss Or           provide an explanation for the Company's need for more time. The Company will continue
         Damage Condition or provision in this policy or in an endorsement attached to this policy)            to notify the Insured again in writing, at least every 45 days, of the status of the
         shall be extended by a lime period not exceeding the earlier of:                                      investigation and of the continued time needed for the investigation,
       (1) The expiration of the disaster proclamation or declaration and all renewals of the               2, Provided the Insured has complied with all the terms of this policy, the Company will pay for
             proclamation; or                                                                                  covered toss or damage within:


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        a, 10 days after the Company accepts the Insured's claim if such acceptance occurs within              g, If the Company cancels this policy, the Company will give written notice to the
           the first 21 days after the Company receives a properly executed proof of loss, unless                 mortgagehdder
           the claim involves an action by a probate court or other extraordinary circumstances as               (1) In accordance with Paragraph a: above; or
           documented in the claim file; or                                                                      (2)At least:
        b. 5 days after the Company accepts the Insured's claim if such acceptance occurs more                        (a)10 days before the effective date of the cancellation If the Company cancels for the
           than 21 days after the Company receives a properly executed proof of loss, and                                 Insured's nonpayment of premium; or
          (1)An appraisal award has been made; or                                                                     (b)30 days before the effective date of cancellation if the Company cancels for any
          (2)The Company has reached an agreement with the Insured on the amount of loss                                  other reason other than provided for in Paragraph a.„ebove,
              thal was in dispute.                                                                             h. If the Company elects not to renew this policy, the Company will give written notice to the
                                                                                                                  mortgageholder at least 10 days before the expiration date of this policy,
                                                                                                                                                                                          :
                                         ,OKLAHOMA CHANGES.
                                                                                                                                                   PENNSYLVANIA CHANGES
     1.. APPRAISAL                                                                                                                                     •                    •
         If the Company and the Insured disagree on the value of the property or the amount of loss,           A, Transfer Of Interest In This Policy
         either party may make written demand for an appraisal of the loss, In this event, only the               The Insured's rights and duties under this policy may not be transferred without the
         party wlich demanded the appraisal wit be bound by the results of that appraisal.                        Company's written consent except in the case of death of an individual named insured.
         Each party will select a competent and impartial appraiser and notify the other of the                   If the Insured dies, the Insured's rights and duties will be transferred to the Insured's legal
         appraiser selected within 20 days after the written demand for an appraisal has been made.               representative but only while acting within the scope of duties as its legal representative.
         The two appraisers will select an umpire. II they cannot agree upon an umpire within 15                  Until the Insured's legal representative is appointed, anyone having proper temporary'
         days. then, at the request of either the Insured or the Company, and after notice of hearing             custody of the Insured's property will have its rights and duties but only with respect to that
         to the non-requesting party by certified mail, selection of the umpire will be made by a                 property.
         judge of a district court in the county where the loss occurred. As respects physical loss or            If the Insured dies, this policy wit remain in effect as provided in Paragraph 1. or 2..below.
         damage to covered properly, the appraisers will stale separately the value of the property               whichever is later
         and amount of loss As respects any Time Element loss, the appraisers will state                          1, For 180 days after the Insured's death regardless of the policy period shown in the
         separately the amount of net income and operating expense or amount of loss. If the                          Declarations, unless the insured properly is said prior to that date; or
         appraisers submit a written report of agreement to the Company, the amounts agreed upon                  2, Until the end of the policy period shown in the Declarations, unless the insured property
         will be the value of the property and the amount of loss and will be binding on the party                     is sold prior to that date;
         which demanded the appraisal. If the appraisers fail to agree, they will submit their                        Coverage during the period of lime after the Insured's death is subject to all provisions
         differences to the umpire: A decision agreed to by any two will be binding on the party                      of this policy induding payment of any premium due for the policy period shown in the
         which demanded the appraisal,Each party will:                                                                Declarations and any extension of that period,
         a. Pay its chosen appraiser; and                                                                      B, NOTICE OF ACCEPTANCE OR DENIAL OF CLAIM
        • Bear the other expenses of the appraisal and umpire equally                                              1. Except as provided in Paragraph 3. below, the Company will give the Insured notice,
         If there is an appraisal, the Company will still retain its right to deny the claim,,                         within 15 working days after the Company receives a properly executed proof of loss,
     2. CONCEALMENT, MISREPRESENTATION OR FRAUD                                                                        that the Company.
         The Company does not provide coverage in any case of fraud by the Insured as it relates to                   a, Accepts the Insured's dairrc
         this policy at any time..The Company also does not provide coverage if the Insured or any                     b: Denies the Insured's claim; or
         other Insured, at any time, intentionally conceal or misrepresent a material fact concerning:                c,:Need more time to determine whether the Insured's claim should be accepted or
         a, This policy;                                                                                                   denied.
         lo: The Covered Property;                                                                                     If the Company denies the Insured's claim, such notice will be in writing, and will stale
         c. The Insured's interest in the Covered Property: or                                                        any policy provision, condition or exclusion used as a basis for the denial:
                                                                                                                                                                                                 ,
         d A claim under this policy,                                                                                  If the Company needs more time to determine whether the Insured's claim should be
     32•INARNING:                                                                                                     accepted or denied, the written notice will state the reason why more time is required..
      - Any person who knowingly, and with intent to injure, defraud or deceive any insurer, makes                2, If the Company has not completed its investigation, the Company will notify the Insured
         any claim for the proceeds of an insurance policy, containing any false, incomplete or                       again in writing, within 30 days after the date of the initial notice as provided in
         misleading information. is guilty of a felony                                                                Paragraph 1.c. above, and thereafter every 45 days. The written notice will state why
                                                                                                                       more time is needed to investigate the Insured's daim and when the Insured may
                                            OREGON.CHANGES,                                                           expect the Company to reach a decision on the Insured's claim
                                                                                                                  3, The notice procedures In Paragraphs 1.-and 2.-above do not apply if the Company has
 1, CONCEALMENT, MISREPRESENTATION OR FRAUD                                                                         - a reasonable basis, supported by specific information, to suspect that an insured has
      a,Subject to Paragraphs b,, and c. below, this entire policy wit be void if, whether before or                  fraudulently caused or contributed to the loss by arson or other illegal activity.tUnder
           after a loss, the Insured has willfully concealed or misrepresented any material fact or                   such circumstances, the Company will notify the Insured of the disposition of the
           circumstance concerning this insurance or the subject of it, or the Insured's interest in it, or           Insured's claim within a period of time reasonable to allow full investigation of the daim,
           in case of any fraud or false swearing by the Insured relating to it,                                      after the Company receives a properly executed proof of loss;
      b All statements made by the Insured or on its behalf, in the absence of fraud, will be deemed           C. Actual cash value is calculated as the amount it would cost to repair or replace Covered
           representations and not warranties.;No such statements that arise from an error in the                 Properly. at the time of loss or damage, with material of like kind and quality, subject to a
           application will be used In defense of a claim under this policy unless:                               deduction for deterioration, depredation and obsolescence: Actual cash value applies to
          (1) The statements are contained in a written application; and                                          valuation of Covered Property regardless of whether that property has sustained partial or
          (2)A copy of the application is endorsed upon or attached to this Policy when Issued,                   total loss or damage:,
     c.;In order to use any representation made by the Insured or on the Insured's behalf in                      The actual cash value of the lost or damaged property may be significantly less than its
           defense of a claim under the policy, the Company must show that the representations are                replacement cosh',
           material and that the Company relied on them...                                                     p, "Insurance Consultation Services Exemption Act
 2; APPRAISAL                                                                                                     1, An Insurance Corrpany, its agents, employees, or service contractors acting on its
 ' If the Company and the Insured disagree on the value of the property or the amount of loss,                        behalf, may provide services to reduce the likelihood of injury, death or lossf.,These
     both parties may agree to an appraisal of the loss and to be bound by the results of that                        services may include any of the following or related services incident to the application
     appraisal. If both parties so agree, then each party will select a competent and impartial                       for, issuance, renewal or continuation of, a policy of insurance:
     appraiser. The two appraisers will select an umpire. If they cannot agree, either may request                    a. Surveys;
     that selection be made by a judge of a court having jurisdiction. As respects physical loss or                    b...Consultation or advice; or
     damage to covered properly, the appraisers will state separately the value of the property and                   c. Inspections,
     amount of loss. As respects any Time Element loss, the appraisers wit state separately the                   2, The "Insurance Consultation Services Exemption Act" of Pennsylvania provides that the
     amount of net income and operating expense or amount of loss, If they fall to agree, they will                 " Insurance Company, its agents, employees or service contractors acting on its behalf, is
     submit their differences to the umpire, A decision agreed to by any two will be binding. Each                    not liable for damages from injury, death or loss °coming as a result of any act or
     party will:                                                                                                      omission by any person in the furnishing of or the failure to furnish these services, The
   • Pay its chosen appraiser, and                                                                                    Act does not apply:
     tn:.Bear the other expenses of the appraisal and umpire equally,                                                         the injury, death or loss occurred during the actual performance of the services
      If thereto an appraisal. the Company will still retain its right to deny the daim.                                   and was caused by the negligence of the Insurance Company, its agents,
 3. The Insured most send the Company a signed, sworn proof of loss containing the information                             employees or service contractors:
      the Company requests to investigate the Claim; The Insured must do this within 90 days after                        ,To consultation services required to be performed under a written service contract
     the Insured receives the necessary forms from the Company,.                                                           not related lox policy of insurance; or
 4, MORTGAGEHOLDERS                                                                                                   C, If any acts or omissions of the Insurance Company, its agents, employees or service
     a,7If loss hereunder is made payable, in whole or in part, to a designated mortgagee not                         • contractors are judicially determined to constitute a crime, actual malice, or gross
           named herein as the Insured, such interest in this policy may be canceled by giving to such                     negligence,.
           mortgagee a 10 days' written notice of cancellation.                                                E, Wth respect to covered loss to property of others In the insured's care, custody or control,
   • If the Insured fails to render proof of loss such mortgagee, upon notice, shall render proof                 if the Company initially defends an Insured or pay for an Insured's defense but later
          of loss in the form herein specified within 60 days thereafter and shall be subject to the              determine that none of the claims, for which the Company provided a defense or defense
           provisions hereof relating to appraisal and time of payment and of bringing suit. If this              costs, are covered under this insurance, the Company has the right to reimbursement for
          company shall claim that no liability °Awed as to the mortgagor or owner, it shall, to the              the defense costs the Company has incurred, The right to reimbursement under this
          extent of payment of toss to the mortgagee, be subrogated to all the mortgagee's rights of              provision will only apply to the costs the Company has incurred after the Company notifies
          recovery, but without impairing mortgagee's right to sue; or it may pay off the mortgage                the Insured in writing that there may not be coverage and that the Company is reserving its
          debt and remire an assignrnent thereof and of the mortgage. Other provisions relating to                rights to terminate the defense or the payment of defense costs and to seek reimbursement
          the interests and obligations of such mortgagee may be added hereto by agreement in                     for defense costs.
          writing,:
     C. The term mortgageholder includes trustee.                                                                                                RHODE ISLAND CHANGES.
     d. The Company will pay for covered loss of or damage to buildings or structures to each
           mortgageholder identified in this Policy in their order of precedence, as interests may            '1: Appraisal
          appear.                                                                                                 a. To the extent any appraisal condition of this Policy contains the Company's reservation
    e The mortgageholder has the right to receive loss payment even if the mortgageholder has                         of its right to deny the claim in the event an appraisal is conducted, such reservation is
          started foreclosure or action on the building or structure,                                                 deleted.
    1, If the Company denies the Insured's claim because of the Insured's ads or because the                      Is, The Insured and the Company must notify the other of the appraiser selection within 20
          Insured has failed to comply with the terms of this insurance, the mortgageholder will still                days of the written demand for appraisal,
          have the right to receive loss payment it the mortgageholder                                            c If the appraisers do not agree on the selection of an umpire within 15 days, they must
                                                                                                                  .
         (1)Pays any premium due under this insurance at the Company's request if the Insured                         request selection of an umpire by a judge of a court having jurisdiction..
               has failed to do so;                                                                            2. VACANCY AND UNOCCUPANCY
         (2)Submits a signed, SWOM proof of loss in accordance with Paragraph b, above; and,                      a, If the building where loss or damage occurs has been vacant or unoccupied for more
         (3) Has notified the Company of any change in ownership, occupancy or substantial                            than 30 consecutive days after a local building inspector issues an order stating that the
              change in risk known to the mongageholder..                                                             building is in violation of the Stale Building Code, the Company will not pay for any loss
          All the terms of the affected insurance will then apply directly to the mortgageholder.                     or damage caused by fire or lightning.
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        b. If the building where loss or damage occurs has been vacant for more than 60                             However, the Valued Policy Provision applies if the amount of insurance was increased:
           consecutive days before that loss or damage occurs:                                                    (1)In accordance with an inflation adjustment option; or
          (1)The Company will not pay for any loss or damage caused by any of the following                        (2) As a consequence of upgrading coverage to a replacement cost basis, provided
                even if they are Covered Causes of Loss:                                                                there is a written agreement between the Insured and the Company that the policy
               (a) Vandalism;                                                                                           will be written on a valued basis„
               (b)Sprinkler leakage, unless the Insured has protected the system against freezing;             3, Builders risk policies of insurance covering property in the process of being constructed
               (c) Building glass breakage;                                                                         shall be valued and settled according to the actual value of that portion of the
               (d) Water damage;                                                                                    construction completed at the time of the fire, tornado or lightning loss„
               (e)Theft or                                                                                     4, Property in the process of being newly constructed for the purpose of serving as a
               (f) Attempted theft..                                                                                residence, other than property covered by a builders risk policy, shall be valued and
          (2) With respect to Covered Causes of Loss other than those listed in b.(1)(a) through                    settled according to the terms and conditions of the policy for valuation of that portion of
                b.(1)(f) above, the Company will reduce the amount the Company Would otherwise                      the construction completed at the time of the fire, tornado or lightning loss;
                pay for the loss or damage by 15%; However, the Company will not pay for any loss              5. If two or more policies are written upon the same property interest and cover the tire,
                or damage caused by fire or lightning if the circumstances stated in a, above apply,                tornado or lightning loss, each insurer will pay only that proportion of the cost of the loss
      • Wth respect to Section b.. above, when this policy is issued to a tenant, and with                          that the limit of liability under its policy bears to the total amount of insurance covering
           respect to that tenant's interest in Covered Property, building means the unit or suite                  the loss,
           rented or leased to the tenant.                                                                     6. Paragraph 1. above, does not apply to any claim for total loss to any building which Is
       ct. A building is vacant when it does not contain enough business personal properly to                       insured under a blanket form or endorsement with one Unlit of Insurance applicable to
           conduct customary operations.                                                                            two or more buildings:Any claim for total loss to a building insured on such blanket
       e. Buildings under construction or renovation are not considered vacant.                                     basis will be settled at actual replacement cost or at actual cash value, depending on
   3 No provision, stipulation or forfeiture will be held to be waived by any requirement or                        the policy provisions applicable to the building.
       proceeding on the Company's part relating to appraisal or to any examination provided for            D.. LEGAL ACTION AGAINST THE COMPANY
       in this policy,                                                                                          No person or organization has a right under this policy to join the Company as a party or
   • VVith respect to covered loss or damage to buildings by fire or explosion, other than owner-              otherwise bring the Company into a suit asking for damages from the Insured..
       occupied 1-to 4-family dwellings:                                                                       A person or organization may sue the Company to recover on an agreed settlement or on a
       a, The Company will not pay for a loss that is more than 510,000 unless the Company                     final judgment against the Insured obtained after an actual trial; but the Company will not
           receives from the Insured a certificate issued by the taxing jurisdiction official that             be liable for damages that are not payable under the terms of this policy or that are in
           shows:                                                                                              excess of the Limit of Insurance. An agreed settlement means a settlement and release of
          (1) Thal no lien exists for the benefit of the taxing jurisdiction; or                               liability signed by the Oanpany. the Insured and the claimant or the claimant's legal
          (2)The amount of any such lien that exists;                                                          representative,.
           against the building or structure,:
           The $10,000 firnit shown above may be adjusted yearly for inflation by the Insurance                                                    TEXAS CHANGE4,
           Department,
       la Under the following conditions, the Company will put its payment for loss or damage               1: Appraisal
           into an interest-bearing escrow account                                                             As respects physical loss or damage to covered property, if the Company and the Insured
          (1)The taxing jurisdiction official certifies that a lien exists; The Company will not put           disagree on the amount of loss, either may make written demand for an appraisal of the
                more than the amount of that lien into the account;                                            loss, As respects any Time Element loss, if the Company and the Insured disagree on the
          (2)The Insured does not receive a certificate from the taxing jurisdiction official within           amount of net income and operating expense or the amount of loss, either may make
               30 days after the Insured files a statement of loss with the Company, In this case,             written demand for an appraisal of the loss. In this event. each pasty will select a
                the Company will put the entire loss payment into the account:,                                competent and impartial appraiser and notify the'other of the appraiser selected within 20
     • But, if the Insured can prove to the Company that:                                                      days of such demand„The two appraisers will select an umpired If they cannot agree within
          (1) The Insured has requested the certificate by certified mail; and                                 15 days upon such umpire, either may request that selection be made by a judge of a court
          (2)The taxing jurisdiction official has not provided it to the Insured within 15 days after          having jurisdiction. Each appraiser will state the amount of loss. If they fail to agree, they
                the Insureds request:                                                                          will submit their differences to the umpire. A decision agreed to by any two will be binding
           The Company will make its payment directly to the Insured as soon as possible,.                     as to the amount of loss, Each party will:
       d. Also, if the taxing authority certifies that it has received proof that the Insured will repair      a,. Pay its chosen appt'aiser, and
           or rebuild on the same premises where the loss or damage occurred, the Company can                  b.. Bear the other expenses of the appraisal and umpire equally.
           then pay the Insured directly for the loss or damage,.                                              If therein an appraisal:
   . LEGAL ACTION AGAINST THE COMPANY
   5                                                                                                           a. The Insured will still retain its right to bring a legal action against the Company, subject
       a.: No one may bring a suit against the Company under this policy unless there has been                      to the provisions of the Legal Action Against The Company condition; and
           full compliance with all of the terms of this policy.                                               b. The Company will still retain its right to deny the claim,„
       b. Subject to Paragraph a,,above, any action on this policy for the recovery of any daim for         2. Duties in the Event of Loss:
           direct loss or damage by fire and lightning must be brought within 2 years after the date           a. The Insured will give the Company prompt notice of the loss or damage. Include a
           on which such direct loss or damage occurred,                                                            description of the properly involved,. However, with respect to loss or damage in he
   6,. A Mortgagee shall not be entitled to payment of a claim under this policy for loss or damage                 State of Texas caused by windstorm or hail in the catastrophe area as defined by the
       to a covered building when such loss or damage is less than 53,500. and for which said                       Texas Insurance Code, any claim must be filed with the Company not later than one
       Mortgagee is otherwise entitled to payment, unless no liability mists as to the mortgagor.                   year after the date of the loss or damage that is the subject of the claim, except that a
   • Iftfith respect to any coverage for loss to property of others in the insured's care, custody or               claim may be filed after the first anniversary of the date of the loss or damage for good
      control, the Company will pay with respect to any claim or suit against the insured that the                  cause shown by the person fifing the claim,
      Company defends:                                                                                         b. The Insured vrill send the Company a signed, sworn proof of loss containing the
      a.. Prejudgment interest awarded against the Insured on the entire judgment if the                            information the Company requests to investigate the claim,,The Insured must do this
           Company rejects a written settlement offer by the plaintiff that is equal to or less than                within 91 days after the Company's request„The Company will supply the Insured with
           the applicable limit of insurance in tris policy; or                                                     the necessary forms:.
       b.: If Paragraph 7,a. above does not apply, prejudgment interest awarded against the                 3. Claims Handling
           Insured on that part of the judgment the Company pays„                                              a, Wthin 15 days after the Company receives written notice of claim, the Company will:
                                                                                                                   (1) Acknowledge receipt of the claim. If the Company does not acknowledge receipt of
                                     SOUTH CAROLINA CHANGES                                                             Die claim in writing, the Company.will keep a record of the date, method and content
                                                                                                                        of the acknowledgment;
   LEGAL ACTION AGAINST THE COMPANY                                                                                (2) Begin any investigation of the claim; and
   No one may bring a suit against the Company under this policy unless:                                           (3) Request a signed, sworn proof of loss, specify the information the Insured must
   .
   1 There has been full compliance with all of the terms of this policy; and                                           provide and supply the Insured with the necessary forms, The Company may
   2, The action is brought within 3 years after the date on which the direct physical loss or                          request more information at a later date, if during the investigation of the claim such
      damage occurred.                                                                                                  additional information is necessary.,
                                                                                                               b. The Company will notify the Insured in writing as to whether
                                    ,SOUTH DAKOTA CHANGES-,                                                        (1)The claim or part of the daim will be paid;
                                                                                                                  (2)The claim or part of the claim has been denied, and inform the Insured of the
   A::APPRAISAL                                                                                                         reasons for denial;
        1„.. If the Company and the Insured disagree on the value of the properly or the amount of                (3) More information is necessary; or
              the loss, both parties may agree to an appraisal of the loss, If both parties so agree,             (4)The Company needs additional time to reach a decision. If the Company needs
              then each party will select a competent and impartial appraiser. The hvo appraisers will                  additional time, the Company will inform the Insured of the reasons for such need,';
            sated an umpire. If they cannot agree, either may request that selection be made by a              c. The Company will provide notification as described in Paragraphs b,(1) through b.(4)
            judge of a court having jurisdiction. As respects physical loss or damage to covered                    above, within:
              property, the appraisers will state separately the value of the property and the amount of           (1) 15 business days after the Company receives the signed, sworn proof of loss and all
             loss:. As respects any Time Element loss, the appraisers will state separately the                         information the Company requested; or
             amount of net income and operating expense and the amount of loss, If they fail to                   (2)30 days after the Company receives the signed, sworn proof of loss and all
             agree, they will submit their differences to the umpire, Any outcome of the appraisal will                 information the Company requested, if the Company has reason to believe the loss
             not be binding on either party. Each party will:                                                           resulted from arson.,
             a.      Pay its chosen appraiser, and                                                                  If the Company has notified the insured that the Company needs additional time to
             tt,     Bear the other expenses of the appraisal and umpire equally,                                   reach a decision, the Company must then either approve or deny the claim within 45
             If the Company submits to an appraisal. the Company will retain its right to deny the                  days of such notice.
             claim                                                                                             di The Company will pay for covered loss or damage within 5 business days after
   B,'. LEGAL ACTION AGAINST THE COMPANY                                                                          (1)The Company has notified the Insured that payment 0111w claim or part of the claim
              No one may bring a suit against the Company under this policy unless the action is                        will be made and have reached agreement with the Insured on the amount of loss;
              brought within 6 years after the date on which the direct physical loss or damage                         or
            occurred;                                                                                              (2) An appraisal award has been made.
   C.,VALUATION:                                                                                                    However, if payment of the claim or part of the claim is conditioned on the Insureds
        1,, When this policy insures any real property in South Dakota against loss by fire, tornado               compliance with any of the terms of this policy, the Company will make payment within
            or lightning and the property insured is wholly destroyed by fire, tornado or lightning.               5 business days after the date the Insured has complied with such terms,.
             without criminal fault on the part of the Insured or the Insured's assignee, the amount of        e, Catastrophe Claims
             the insurance written on such real property shall be taken conclusively to be the true                (1) If a claim results from a weather related Catastrophe or a Major Natural Disaster, the
             value of the property insured and the true amount of loss and measure of damages,                          claim handling and claim payment deadlines described above are extended for an
            subject to the exceptions and conditions in Paragraphs?,through 6. below,                                   additional 15 days..
       2,. Paragraph I,above, does not apply to afire loss which occurs less than 90 days after.                   (2) Catastrophe or Major Natural Disaster means a weather related event which:
            a, The policy was initially issued; or                                                                     (a)Is declared a disaster under the Texas Disaster Ad of 1975; or
             ta: The amount of insurance on the destroyed property was increased by 25% or more                        (b) Is determined to bee catastrophe by the Slate Board of Insurance,
                 at the Insureds request.
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      1. The term "business day" means a day other than Saturday, Sunday or a holiday                                was disclosed to the Company or to its agent in connection with communications or
          recognized by the state of Texas.                                                                          investigations associated with the policy under which the subject claim arises.
   4. Pursuant to Chapter 862 — Subsection 862.053, Policy A Liquidated Demand, a fire                          (7) No trivial or transitory:
      insurance policy, in case of total loss by fire of properly insured, slidl be held and                                  (a) Breach of; or
      considered to be a liquidated demand against the insurer for the full amount of such policy                   (b) Noncompliance with;
      The provisions of this Article shall not apply to personal property,                                           any of the above provisions is a basis for avoiding this policy.
   5, MORTGAGEHOLDER:                                                                                    2. If there is other insurance covering the same loss or damage, other than that described in
      a. If the Company denies the Insured's claim because of the Insured's acts or because the             the paragraph above, the Company will pay only for the amount of covered loss or damage
       ' Insured has failed to comply viith the terms of this policy, a mortgageholder will still have      in excess of the amount due from that other insurance. But the Company will not pay more
          the right to receive loss payment if the mongageholder                                            than the applicable Limit of Insurance.
         (1) Pays any premium due under this policy at the Company's request if the Insured has          3, Legal Action Against The Company
              failed to do so;                                                                              No one may bring a suit against the Company under this policy unless the action is brought
         (2)Submits a signed, sworn proof of loss within 91 days after receiving notice from the            within 3 years after the date on which the direct physical loss or damage occurred,
              Company of the Insureds failure to do so; and                                              4. Notification and Proof of Loss:
         (3) Has notified the Company of any change in ownership. occupancy or substantial                  a. The Insured trust give prompt notice of the loss or damage to the Company or its agent,
              change in risk known to the mongageholder                                                          including a description of the property involved. The Insured may fulfill this requirernent
          Allot the terms of this policy will then apply directly to the mongageholder,                          by mailing the notice to the Company, postage prepaid, through first class mail
      b. If this policy is cancelled, the Company will give the mortgageholder(s) named in the                   deposited in a United States Post Office,
          policy written notice of cancellation.                                                            b. The Insured must send the Company a signed, swom proof of loss containing the
      c. If the Company cancels this policy, the Company will give written notice to the                         information the Company requests to settle the claim, The Company will supply the
          mortgageholder at least                                                                                Insured with the necessary forms, The Insured must send the proof of loss within 60
         (1) 14 days before the effective date of cancellation if the Company cancels for the                    days after the Company's request Failure to send the requested proof of loss within 60
              Insured's nonpayment of premium; or                                                                days does not invalidate the Insured's claim, if the Insured shims that it was not
         (2)30 days before the effective date of cancellation if the Company cancels for any                     reasonably possible to do so and also show that the Insured submitted the proof of loss
              other reason,                                                                                      to the Company as soon as reasonably possible, The Insured may send the requested
          If the Insured cancels the policy, the Company will give the mortgageholder notice of                  proof of loss by mailing it to the Company, postage prepaid. through 11 ml class mail
          cancellation to be effective on the date slated in the notice. The date of cancellation                deposited in a United States Post Office.
          cannot be before the 10th day after the date the Company mails the notice.                     5. The Legal Action Against The Company condition is deleted from coverage for legal liability
   6. Legal Action Against The Company                                                                      for property in the care. custody or control of the insured. if any.
      a, Except as provided in Paragraph b,, below, no one may bring a suit against the                  6. As respects coverage for legal liability for property of others, if any, the Insured may send
          Company under this policy unless:                                                                 written notice or other material by mailing it lo the Corrpany, postage prepaid, through first
        (1)There has been full compliance with all the terms of this policy; and                            class mail deposited in a United Stales Post Office. Notice to the Company's agent Is
         (2)The action is brought within 2 years and 1 clay from the date the cause of action first         considered notice lathe Company.
              accrues„ A cause of action accrues on the date of the initial breach of the
              Company's contractual duties as alleged in the action.                                                                           VERMONT CHANGES
      b, VVith respect to loss or damage in the State of Texas caused by windstorm or hail in the
          catastrophe area as defined by the Texas Insurance Code, no one may bring a suit               1 The Insured's right to bring legal action against the Company is not conditioned upon the
          against the Company under this policy unless:                                                     Insured's compliance with the provisions of the APPRAISAL Condlion, if any,
         (1)There has been full compliance with all the terms of this policy; and                        2. The Company will pay for covered loss or damage within 10 working days after the
         (2)The action is brought within the earlier of the following:                                      Company reaches agreement with the Insured on the amount of loss, provided the
             (a)2 years and 1 day from the date the Company accepts or rejects the claim; or                Company receives the swom proof of loss within 30 days and the following are satisfied:
             (b) Three years and one day from the date of the loss or damage that is the subject            a. In the event of loss Of damage covered by this policy, at the Corrpany's option, the
                  of the claim,                                                                                 Company will either
          This provision does not apply to any coverage for loss to property of others in the                   (1)Pay the value of lost or damaged property
          insured's care, custody or control.                                                                  (2)Pay the cost of repairing or replacing the lost or damaged property subject to
   7. VOth respect to any coverage for loss to properly of others in the insured's care, custody or                   Paragraph b. below;
      control, the Company will notify the first Named Insured in writing of:                                  (3)Take all or any part of the property at an agreed or appraised value; or
      a. An kilfral offer to settle a claim Mode-er suit brought against the Insured. The notice will          (4) Repair, rebuild or replace the property with other property of like kind and quality,
          be gliiehnot later than the 10'day after the date on which the offeris made.                                subject to Paragraph b. below,
      b. Any tettierrient of a claim made or suit brought egalmt the insured under this coverage.               The Company will determine the value of lost or damaged property, or the cost of its
         The notkewill be given no)later than the 30'dray after the cuire of the settioment.                    repair or replacement, in accordance with the applicable terms of the Valuation
                                                                                                                Condition or any applicable provision which amends or supersedes the Valuation
                                           UTAH CHANGES                                                         Condition.
                                                                                                            b. The cost to repair, rebuild or replace does not include the increased cost attributable to
   1. FRAUD OR MISREPRESENTATION                                                                                 enforcement of or compliance vrith any ordnance or law regulating the construdion, use
      This policy may be voided In the event of fraud or misrepresentation by the Insured relating               or repair of any property.
      to;                                                                                                   c, The Company will not pay the Insured more than your financial interest in the Covered
      a. This policy;                                                                                           Property.
      b. The Covered Properly;                                                                              d. The Company may adjust losses with the owners of lost or damaged property if other
      c. The Insured's interest in the Covered Property; or                                                      than the Insured. If the Company pays the owners, such payments will satisfy the
      d. A claim under this policy,                                                                              Insured's claims against the Company for the owners' property, The Company will not
      subject to the following provisions of Utah Code Section 31A-21-105:                                       pay the owners mom than their Inancial interest in the Covered Property,
        (1) No statement, representation, or warranty made by any person representing the                   e. The Company may elect to defend the Insured against suits arising from claims of
             Company in the negotiation for an individual insurance contract affects the                         owners of property, The Company will do this at the Company's expense,
             Company's obligations under this policy unless the statement, representation, or            1 CONCEALMENT, MISREPRESENTATION OR FRAUD
              warranty is stated:                                                                           The Company will not pay for any loss or damage in any case of:
            (a)In this policy; or                                                                           a. Concealment or misrepresentation of a material fact or
            (b)In a written application signed by the Insured.                                              12, Fraud;
              No person, except the Insured or another person by the Insured's written consent,             committed by the Insured at any time and relating to coverage under this policy
              may alter the application, other than for administrative purposes in a way which is        4. The following provisions are added to coverage for legal liability for property of others in the
             clearly not ascribable to the Insured,                                                         care, custody or control of the Insured, if any, and replace any provision to the contrary:
        (2)The Insured, its assignee and the loss payee, mortgagee or lienholder. if any, under             a, In addition to paying and satisfying judicial judgments rendered against the Insured in
             property insurance, may request, in writing, from the Company a copy of the                        consequence of claims lo which this policy applies, the Company will protect the
             application, it:                                                                                    Insured against the levy of executions issued on such judgments or claims against the
            (a)This policy or a copy of the application has not been received: or                                Insured,
            (b)This policy has been reinstated or renewed without the attachment of a copy of               b. The Company may, without the Insured's consent, continue litigation after a judgment
                 the original application,                                                                       has been rendered with respect to the Insured's legal liability under this policy for
             If the Company does not deliver or mail a copy of the application, within 30 days                   damages in a particular instance. In that event, no limitation of the Company's liability
             after receipt of the request by the Company or the Company's agent, nothing in the                  will be valid where the maser of that litigation is concerned
             application affects the Company's obligations under this policy to the person making           c Under this policy, any legal action against the Corrpany lo recover for loss under this
             the request                                                                                         policy must be brought within one year after amount of loss is finally established The
         (3)Except as provided in Paragraph (6) below, no misrepresentation or breach of an                      amount of loss can be established only by:
             affirmative warranty affects the Company's obligations under this policy urdess:                  (1)Judicial judgment or
            (a)The Company relies on it and it is either material or is made with intent to                    (2)An agreement between the parties involved with the Company's written consent,
                 deceive; or                                                                                d, In the event of the Insured's bankruptcy or insolvency, an injured person or claimant
            (b)The fact Msrepresented or falsely warranted contributes to the loss,                              who has obtained a judgment against the Insured may bring suit against the Company,
         (4) No failure of a condition prior to the loss, and no breach of a promissory warranty.                provided:
             affects the Company's obligations under ttis policy unless it:                                    (1)The judgment was for damages covered by this policy; and
            (a)Exists at the time of the loss; and                                                              (2)The suit is for damages in amounts no greater than the applicable Limits of
            (b) Either:                                                                                               Insurance of this policy,
                (i) Increases the risk alike time of the loss; or                                           e. Payment by the Insured of any judicial judgment or claim for any of the Company's
                (ii) Contributes to the loss.                                                                    liability under this policy will not deprive the Company of the right to bring action against
             However, this Paragraph (4) does not apply to nonpayment of premium,                                the Company
         (5) Nondisclosure of information not requested by the Company is not a defense to an
             action against the Company. Failure to correct within a reasonable period of time                                                  VIRGINIA CHANGES
             any representafion that becomes incorrect because of changes in circumstances is
             misrepresentation, not nondisclosure.                                                       1 Coverage under this policy begins at 12:01 A.M. (Standard Time) at the mailing address
        (6)11, after the Company issues this policy, the Company acquires knowledge of                     shown in the Declarations, However, to the extent that this policy replaces coverage in
             sufficient facts to constitute a general defense to all claims under this policy, the         other policies terminating at 12.01 AM,(Standard Time) on the inception date of this policy
             defense is only available if, within 60 days after acquiring such knowledge the               at the location of the property involved. coverage under this policy, at each location,
             Company notifies the insured of the Company's intention to defend against a claim if          becomes effective when such other coverage terminates.
             one should arise. However, in order to continue this policy, the Company and the            2
                                                                                                         . Appraisal
             insured may both agree to endorse it to include specific exceptions or modifications          If the Company and the Insured disagree on the value of the property or the amount of loss,
             For purposes of this paragraph (6), the Company is to be considered as having                 either may make wriften demand for an appraisal of the loss. In this event, each party will
             acqtired knowledge only if the information alleged to give rise to such knowledge             select a competent and impartial appraiser The Insured and the Company must notify the
                                                                                                           other of the appraiser selected within 20 days of the written demand for appraisal. The two
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        appraisers will select an umpire. If the appraisers do not agree on the selection of an                  B.. Inspection And Surveys
        umpire within 15 days, the Insured or the insurer may apply in writing. tor the appcintment                  a. The Company has the right to:
        of an umpire, to the judge of the circuit court of the county or city in which the damaged or                " (1) Make inspections and surveys at any time;
        destroyed property was located at the time of loss. The appraisers will state separately the                     (2) Give the Insured reports on the conditions the Company finds; and
        value of the properly and amount of loss, If the appraisers submit a written report of an                        (3) Recommend changes.
        agreement to the Company, the amount agreed upon will be the amount of loss. If they fail                    b. The Company is not obligated to make any inspections, surveys, reports or
        to agree, they will submit their differences to the umpire, A decision agreed to by any two                       recommendations, and any such actions the Company does undertake relate only to
        will set the amount of loss. Any outcome of the appraisal will be binding on both parties.                        insurability and the premiums to be charged. The Company does not make safety
        Each party will:                                                                                                  inspections, The Company does not undertake to perform the duly of any person or
        a.% Pay its chosen appraiser, and                                                                                 organization to provide for the health or safety of workers or the public; And the
        b. Bear the other expenses of the appraisal and umpire equally,                                                   Company does not warrant that conditions:
             However, if the Company makes written demand for an appraisal of the loss, the                              (1) Are sate or healthful; or
             Corrpany will reimburse the Insured for the reasonable cost of the Insured's chosen                         (2) Comply with laws, regulations, codes or standards;,
             appraiser, and for the Insured's portion of the cost of the umpire.                                     c, Paragraphs a. and b, of this condition apply not only to the Company, but also to any
             If there is an appraisal, the Company will still retain its right to deny the claim..                        rating, advisory. rale service or organization which makes insurance inspections.
    3.„ VOth respect to Replacement Cost coverage, if any:                                                                surveys, reports or recommendations,
        The Insured may make an initial claim for loss or damage covered by this insurance on an                     d. Paragraph b.of this condition does not apply to any inspections, surveys, reports or
        actual cash value basis instead of on a replacement cost basis, In the event the Insured                          recommendations the Company may make relative to certification, under slate or
        elects to have loss or darnage settled on an actual cash value basis. the Insured may still                        municipal statutes, ordinances or regulations, of boilers, pressure vessels or elevators;
        make a claim for the additional coverage this Replacement Cost coverage provides if the                 9.Premiums
        Insured notifies the Company of its intent to do so within six months of the later of the                    The first Named Insured shown in the Declarations:
        following dates:                                                                                             a. Is responsible for the payment of as premiums; and
        a. The last date on which the Insured received a payment for actual cash value; or                           b. Wit be the payee for any return premiums the Company pays.,
        b..; The dale of entry of a final order of a court of competent jurisdiction declaring the               10..Transfer Of The Insured's Interest In This Policy
             Insured's right to full replacement cost,                                                               The Insured's rights and duties under this policy may not be transferred without the
    4.. Fire Department Service Charge                                                                               Company's written consent except in the case of death of an individual Named Insured;
        a.. When the fire department is called to save or protect Covered Property from a Covered                    If the Insured dies, the Insured's rights and duties will be transferred to its legal
             Cause of Loss, the Company will pay up to 51,000 for service at each premises                           representative but only while acting within the scope of duties as the Insured's legal
             described In the Declarations, unless a higher limit is shown in the Declarations. Such                 representative, Until The Insured's legal representative is appointed, anyone having proper
             limit is the most the Company wit pay regardless of the number of responding fire                       temporary custody of the Insured's properly will have its rights and duties but only with
             departments or fire units, and regardless of the number or type of services performed,                  respect to that property,
             This Additional Coverage applies to the Insureds liability for fire department service             7,        Any introductory paragraph preceding an exclusion or list of exclusions is replaced by
             charges:                                                                                                     the following paragraph, which pertains to application of those exclusions:
            (1)Assumed by contract or agreement prior to loss; or                                                The Company will not pay for loss or damage caused by any of the excluded events described
            (2)Required by local ordinance,.                                                                              below,Loss or damage will be considered to have been caused by an excluded event if
        b. If the fire department service 'charge is not covered under the terms of Paragraph a.                          the occurrence of that event:
             above, then the fitikowingapallest,                                                                 a.       Directly and solely results in loss or damage; or
             Vsnlep-if../oicirileeF.fr!,!... c#peT.Ieri*is called to save or protect Covered Property from a     b.-      Initiates a sequence of events that results in loss or damage, regardless of the nature of
             Covered daiiie of Loss, the'Company will pay the amount billed to the Insured, up to                         any intermediate or final event in that sequence..
             $250, unless a higher limit is shown in the Declarations tor volunteer fire department             The following exclusions are added and replace any similar provisions to the contrary:
             service charges.                                                                                    Water
             This Additional Coverage applies to the Insureds liability for service charges billed to            1,       Flood, surface water, waves(including tidal wave and tsunami), tides, tidal water,
             the Insured by a volunteer fire department, provided that:                                                   overflow of any body of water, or spray from any of these all whether or not driven by
            (1)The volunteer fire department is not fully funded by real estate taxes or other                            wind (including storm surge);
                 property taxes; and                                                                            2.         Mudslide or rrudflow,
           (2) The service charge is not made in response to a call outside of the volunteer fire              3.         Water    that backs up or overflows or is otherwise discharged from a sewer, drain, sump,
                  department's fire protection district, city or municipality pursuant to a contract,                     sump pump or related equipment;
        No Deductible applies to this Additional Coverage.                                                      4.        Water under the ground surface pressing on, or flawing or seeping through:
                                                                                                                 a,       Foundations, walls, floors or paved surfaces;
                                       ,WASHINGTON CHANGES                                                                Basements, whether paved or not; or
                                                                                                                c.        Doors, windows or other openings; or
    1.,The term actual cash value means:                                                                        5 .       Waterborne material carried or otherwise moved by any of the water referred loin
        a. When the damage to property is economically repairable, actual cash value means the                            Paragraph 1„;3,or 1„. or material carried or otherwise moved by mudslide or muctflow.-
             cost of repairing the damage, less reasonable deduction for wear and tear, deterioration           This exclusion applies if any of the above,in Paragraphs 1.through 5,:
             and obsolescence.                                                                                 (a)        Occurs independently-,
        b. When the loss or damage to properly creates a total loss, actual cash value means the               (b)        Is caused by an act of nature;
              m antel value of property in a used condition equal to that of the destroyed property, if        (c)        Is caused by an act or omission of humans or animals; or
             reasonably available on the used market.                                                          (d)        Is attributable to the failure, in whole or in part, of a dam,levee, seawall or other
        c
        ,Otherwise, actual cash value means the market value of new, identical or nearly                                  boundary or containment system..
             identical property less reasonable deduction for wear and tear, deterioration and                   But if any of the above,in Paragraphs 1:: through 511 results in fire, explosion or sprinkler
             obsolescence,                                                                                                leakage, the Company will pay for the loss or damage caused by that fire, explosion or
   2.-As respects any coverage for legal liability for property of others in the Insured's care,                         sprinkler leakage (if sprinkler leakage is a Covered Cause of loss),
        custody or control, if the Company initially defends an Insured or pay for an Insured's                 Weather Conditions
        defense but later deterrrine that none of the claims, for which the Company provided a                  The Company will not pay for loss or damage caused by or resulting from any of the following:
        defense or defense costs, are covered under this insurance, the Company has the right to                1.        A weather condition which results in:
        reimbursement for the defense costs the Company has incurred, The right                     to          a.        Landslide. mudslide or mudflow;
        reimbursement under this provision will only apply to the costs the Company has incurred                b.        Mine subsidence; earth sinking, rising or shifting (other than sinkhole collapse);
        after the Company notifies the Insured in writing that there may not be coverage and that              c,         Water, as described in Paragraphs 1,. through 5. above;
        the Company is reserving its rights to terminate the defense or the payment of defense                  But if loss or damage by fire, explosion or sprinkler leakage results, the Company will pay for
       costs and to seek reimbursement for defense costs,                                                                 Ike loss or damage caused by that fire, explosion or sprinkler leakage (if sprinkler
      .a.' The Company will not pay for loss or damage arising out of any act committed:                                  leakage is a Covered Cause of Loss).
           (1) By or al the direction of any Insured; and                                                      2.         A weather condition which results in the failure of power, communication, water or other
           (2) With the intent to cause a toss.                                                                           utility service supplied to the described premises, if the failure:
        b However, this exdusion or the Concealment, Misrepresentation Or Fraud condition will                  a:.      Originates away from the described premises: or
             not apply to deny an Insured's claim for an otherwise covered property loss if such toss           b.       Originates at the described premises, but only if such failure involves equipment used to
             is caused by an act of "domestic abuse' by another insured under the policy, and the                        supply the utility service to the described premises from a source away from the
             Insured making claim:                                                                                        described premises,
           (1) Files a police report and cooperates with any law enforcement investigation relating            But if loss or damage by a Covered Cause of Loss resLits, the Company will pay for that
                 Is the act of'domestic abuse": and                                                                      resulting loss or damage-.
           (2) Did not cooperate in or contribute to the creation of the loss,,                                Earth Movement
       C,.• lithe Company pays a claim pursuant to the provisions added by Paragraph b. above,                  1.       Earthquake,including tremors and aftershocks and any earth sinking, rising or shifting
            the Company's payment to the innocent insured is limited to that insureds ownership                          related to such event
            interest in the property less any payments the Company first made to a mortgagee or                2,        Landslide, including any earth sinking, rising or shifting related to such event;
            other party with a legal secured interest in the property.. In no event will the Company           3  .       Mine subsidence, meaning subsidence of a man-made mine, whether or not mining
             pay more than the Limit of Insurance:.                                                                      activity has ceased;
   4, If the Company pays an Insured, who is a victim of "domestic abuse", for a loss caused by                4...      Earth sinking (other than sinkhole collapse). rising or shifting including soil conditions
       an act of "domestic abuse", the rights of that Insured to recover damages from the                                which cause settling, cracking or other disarrangement of foundations or other parts of
       perpetrator of the abuse are transferred to the Company to the extent of the Company's                            really, Soil conditions indude contraction, expansion, freezing, thawing, erosion.
       payment: That Insured may not waive such rights to recover against the perpetrator of the                         improperly compacted soil and the action of water under the ground surface,.
      "domestic abuse".                                                                                        eut if Earth Movement, as described in Paragraphs 1,through 4.above, results in fire or
   5. As used in this WASHINGTON CHANGES provision,'domestic abuse' means:                                               explosion. the Company will pay for the loss or damage caused by that fire or explosion,
       a., Physical harm, bodily injury, assault or the infliction of fear ol imminent physical harm,          5..       Volcanic eruption, explosion or effusion, But if volcanic eruption, explosion or effusion
            bodily ii- ury or assault between family or household members:                                               results in fire, building glass breakage or Volcanic Action, the Company will pay for the
       b. Sexual assault of one family or household member by another,                                                   loss or damage caused by that fire, building glass breakage or Volcanic Action,
       C
       . Stalking, as defined in RCW 9A,46;110 of one family or household member by another                    Volcanic Action means direct loss or damage resulting from the eruption of a volcano when the
            family or household member, or                                                                               loss or damage is caused by:
       d, Intentionally, knowingly or recklessly causing damage to property so as to inlinidate or             a. Volcanic blast or airborne shock waves; or
            attempt to control the behavior of another family or household member,                             b.        Ash, dust or particulate matter.
   6, The policy contains all the agreements between the insured and the company concerning                    This exclusion applies if any of the above, in Paragraphs 1,through 5.:
       the insurance afforded; The first named insured shown in the declarations is authorized to              a,        Occurs independently;
       make changes in the terms of this policy wilh the Company's consent, This policy's terms                b.        Is caused by an act of nature: or
       can be amended or waived only by endorsement issued by the company and made a part                      c,.       Is caused by an act or omission of humans or animals,'
       of this poky..
   7. Examination Of The Insured's Books And Records                                                                                               WEST VIRGINIA CHANGES
       The Company may examine and audit the Insured's books and records as they relate to
       this policy at any time during the policy period and up to three years afterward.
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    1. In settlement of all or part of any daim, the Company will pay the amount agreed upon                       If there is an appraisal. the Company will still retain its right to deny the claim,
          within 15 working days after.
          a. The Company's receipt of the agreement; or                                                                                            WYOMING CHANGES,
          b, The dale of the performance by the claimant of any condition set by the agreement;
          Whichever is later.,                                                                              1, LEGAL ACTION AGAINST THE COMPANY
    2. Total Losses .4                                                                                         No one may bring a suit against the Company under this policy unless:
          In case of total loss by fire or other covered cause of loss, the Company will pay the Limit ot          T here has been full compliance with all of the terms of this policy; and
          Insurance slated in this policy applicable to the rear property.                                     b. The action is broujht within 4 years beginning from the date on which the direct
     11, Partial Losses                                                                                            physical loss or damage was discovered
          In the case of partial loss by lire or other covered cause of loss, the Company will pay the      1 Claims for benefits under this policy shall be rejected or accepted and paid by the
          total amount of the partial loss; but Inc Company will not pay fTVCC than the Lirnit of              Company or the Company's agent designated to receive Nose claims within 45 days after
          Insurance applicable to the real property.,                                                          receipt of the claim and supporting bills::
    4: The Coinstrance Condition of the policy and depredation do not apply to real property loss           1, With respect to coverage for legal liability for property of others in the care, custody or
          settlements. This section will not apply if there is insurance written by another insurer            control of the Insured, if any:
          coveting the Wale interest in the real properly:,                                                    a„ If the Company initially defends an Insured or pay for an Insured's defense but later
    5. Appraisal                                                                                                   determine that none of the daims, for which the Company provided a defense or
          If the Company and the Insured disagree on the value of the property or the amount of loss,              defense costs, are covered under this insurance, the Company has the right to
          either may make written demand for an appraisal of the loss,,In this event, each party will              reimbursement for the defense costs the Company has incurred, The right to
          select a competent and impartial appraiser and notify Me other ol the appraiser selected                 reimbursement under this provision will only apply to the costs the Company has
          Within 20 days of such demand. The two appraisers will soled an umpire,II they cannot                    incurred after the Company notifies the Insured in writing that Mere may not be
          agree within 15 days upon an umpire, either may request that selection be made by a judge                coverage and that the Company is reserving its rights to terminate the defense or the
          of a court having jurisdiction': As respects physical loss or damage to covered property, the            payment of defense costs and to seek reimbursement for defense costs.
          appraisers will state separately the value of the properly and the amount of loss:. As               b.. The Company's right and duty to defend end when the Company has e*austed the
          respects any Time Element loss, the appraisers will slate separately the amount of net                   applicable Limit of Insurance in the payment of judgments or settlements.. But the lender
          income and operating expense and amount of loss. If they fail to agree, they will submit                 of policy limits before judgment or settlement does not relieve the Company of its duly
          their differences to the umpire, A written decision 'agreed to by any two will be binding.::             to defend.
          Each party will:
          a. Pay its chosen appraiser, and                                                                         Damages include prejudgment interest awarded against the Insured,.
          tif, Bear the other expenses of the appraisal and umpire equally:



          All other terms and conditions of this Policy remain unchanged.




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CHLJBET
                                                                         NOTIFICATION OF CLAIMS



To our Brokers/Agents-To Be Kept With Policy

What to do when Loss Occurs:

   :1,     Upon knowledge of any occurrence likely to give rise to a claim hereunder, "you" must give immediate notice
           to:

           Chubb Property Claims
           One Beaver Valley Road, Suite 4E
           Wilmington, Delaware 19803

           &Mail:proørtyfirsthotices chubb corn

           Fax:(302)476-7855

           Phone:(800)433-0385

   2.      Chubb Property claims cannot be processed through any other facility and must be reported as indicated
           above.

   3.      Adjustors can only be assigned by or with the specific authorization of the Chubb Property Claims
           Department.




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     H UIBBr
                                                                                 Notice to Policyholders



                                     TRADE OR ECONOMIC SANCTIONS
                                           Practices & Policies



       This insurance does not apply to the extent that trade or economic sanctions or other laws or regulations prohibit
       us from providing insurance, including, but not limited to, the payment of claims.




AGP-33236a (09/14)                                                                                              Page 1 of 1
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CHUBB°




                                         Chubb Producer Compensation
                                             Practices & Policies

Chubb believes that policyholders should have access to information about Chubb's practices and policies related to the
payment of compensation to brokers and independent agents. You can obtain that information by accessing our website
at   J/wwi                                    or by calling the following toll free telephone number: 1-866-512-2862.




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                                                                                                             IL P 001 01 04

     U.S. TREASURY DEPARTMENT'S OFFICE OF FOREIGN
                ASSETS CONTROL("OFAC")
            ADVISORY NOTICE TO POLICYHOLDERS

 No coverage is provided by this Policyholder Notice nor can it be construed to replace any provisions of your policy. You
 should read your policy and review your Declarations page for complete information on the coverages you are provided.
 This Notice provides information concerning possible impact on your insurance coverage due to directives issued by
 OFAC. Please read this Notice carefully.
 The Office of Foreign Assets Control (OFAC) administers and enforces sanctions policy, based on Presidential
 declarations of "national emergency". OFAC has identified and listed numerous:
    I Foreignagents;
    I Frontorganizations;
    I Terrorists;
    I Terroristorganizations; and
    I Narcoticstraffickers;
 as "Specially Designated Nationals and Blocked Persons". This list can be located on the United States Treasury's web
 site — http//www.treas.gov/ofac.
 In accordance with OFAC regulations, if it is determined that you or any other insured, or any person or entity claiming the
 benefits of this insurance has violated U.S. sanctions law or is a Specially Designated National and Blocked Person, as
 identified by OFAC, this insurance will be considered a blocked or frozen contract and all provisions of this insurance are
 i mmediately subject to OFAC. When an insurance policy is considered to be such a blocked or frozen contract, no
 payments nor premium refunds may be made without authorization from OFAC. Other limitations on the premiums and
 payments also apply.




IL P 001 01 04                                 © ISO Properties, Inc., 2004                                    Page 1 of 1
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                                                                          SIGNATURES
Named Insured                                                                                                                        • Endorsement Number
Resort Hotel Association, Inc.                                                                                                        024
PolicySymbol              ' Policy Minter      •              Policy Paiiod' • "" '-                                                  Effective Date of Endorsement
GPA                         D42219174 003                     03/08/2020 to            03/08/2021                                     03/08/2020
Issued By(Name of Insurance Company)
ACE American Insurance Company

       Insert the policy number. The remainder of the information is to be completed only when this endorsement is issued subsequent to the preparation of the policy.


THE ONLY SIGNATURES APPLICABLE TO THIS POLICY ARE THOSE REPRESENTING THE COMPANY NAMED ON
THE FIRST PAGE OF THE DECLARATIONS.


                               By signing and delivering the policy to you, we state that it is a valid contract.


                           INDEMNITY INSURANCE COMPANY OF NORTH AMERICA(A stock company)
                             BANKERS STANDARD FIRE AND MARINE COMPANY(A stock company)
                                BANKERS STANDARD INSURANCE COMPANY(A stock company)
                                   ACE AMERICAN INSURANCE COMPANY(A stock company)
                          ACE PROPERTY AND CASUALTY INSURANCE COMPANY (A stock company)
                                INSURANCE COMPANY OF NORTH AMERICA(A stock company)
                               PACIFIC EMPLOYERS INSURANCE COMPANY(A stock company)
                              ACE FIRE UNDERWRITERS INSURANCE COMPANY(A stock company)
                                 WESTCHESTER FIRE INSURANCE COMPANY(A stock company)

                               436 Walnut Street, P.O. Box 1000, Philadelphia, Pennsylvania 19106-3703




                REBECCA L COLLINS,Secretary                                                                                JOHN J. LUPICA. President




                                                                                                                         Authorized Representative


                                                                                                                                           Chubb.Insured:


CC-1K11h (03/14)                                                                                                                                                 Page 1 of 1
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                                                                     sedgwick®
                                                                      1818 Market Street, Suite 2720
                                                                            Philadelphia,PA 19103
                                                                                 T:(215)832-0322
                                                                                 F:(215)832-0328




    September 15, 2021

    Ms. Lisa Zumbrum
    Director, Risk Management
    Herschend Family Entertainment Corporation
    100 Meadow View Lane
    Pine Mountains, GA 31822

    Sent Via E-Mail -

          Re:            Insured:                Resort Hotel Association -
                                                 Callaway Gardens Resort
                         Sedgwick File No.:      PHI-20106580
                         ACE American Claim No.: KY20K226049X
                         ACE American Policy No.: GPA D42219174 003(US)
                         Date of Loss:     _     Repcift6ti§'
                                                    •...
                                                             agich 25;2020

    Dear Ms. Zumbrum,


            Sedgwick has been retained in connection with the above-referenced claim by the
    insurers providing first-party property coverage to Callaway Gardens Resort
   ("Callaway") for the policy period March 8, 2020 through March 8, 2021. This letter is
    issued on behalf of ACE American Insurance Company ("ACE") pursuant to policy
    number CPA D42219174 003(US)(the "ACE Policy")issued by ACE for the March 8,
    2020 through March 8, 2021 policy period. The only authorized communications
    concerning coverage are those communications in writing from ACE or ones - such as
    this letter - which expressly state that they have authorized the writing on its behalf.
   Sedgwick is responsible to gather and confirm factual information sufficient to permit
    ACE to evaluate whether coverage is afforded under the ACE Policy and to ascertain
    the amounts that are claimed and can be supported. It is ACE alone, and not Sedgwick
    or any other individual or entity, which have the authority to accept or deny coverage
    under the ACE Policy.
          Callaway's Claim
           Callaway has sought coverage under subparagraph 20.h (4) of the ACE Policy.
    The facts regarding Callaway's claim were discussed in the March 30, 2021 reservation
    of rights letter and the May 21,2021 denial letter.
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           In its May 26, 2021 letter, Callaway reiterated that it is seeking coverage under
    subparagraph 20.h. (4) of the ACE Policy, and asserted that coverage is triggered by
    Executive Order numbers 03.23.20.01, 04.02.20.01 and 04.08.20.04. Callaway requested
    that ACE further review Callaway's claim. On June 10, 2021, ACE acknowledged
    receipt of the May 26 letter and advised Callaway that they were reviewing the letter
    and would provide a response once that review was complete.
           ACE's Coverage Position
           ACE has further reviewed Callaway's claim, including the information and
    arguments in the May 26, 2021 letter. For the reasons discussed below and in the May
    21, 2021 letter, ACE maintains its position that there is no coverage for Callaway's claim
    under subparagraph 20.h.4 of the ACE Policy. To the extent Callaway seeks coverage
    under any other provisions of the ACE Policy, ACE continues to reserve all rights.
          Subparagraph 20.h. of the ACE Policy provides in relevant part as follows:

                 20. EXTENSIONS          OF    BUSINESS      INTERRUPTION
                 COVERAGE

                 This Policy, subject to all its provisions and without
                 increasing the amount of said Policy, insures against loss,
                 Business Interruption, Extra Expenses, Expense to Reduce
                 Loss, Soft Costs, Rental Value, Rental Income, Royalties and
                 Leasehold Interest (collectively, "Contingent Business
                 Interruption") resulting from the perils insured against, to
                 the following:

                                              ** *

                 h)Loss of Attraction - This Policy is extended to insure loss
                 as insured hereunder, including Clean Up and Remediation,
                 when there is an interruption or interference with the
                 business of the Insured as a consequence of:

                 1. Infectious or contagious disease manifested by any person
                 while on the premises of the Insured and access to such
                 location is limited, restricted or prohibited by an order of an
                 authorized governmental agency regulating the actual not
                 suspected presence of communicable disease.

                However, this coverage will not apply to any losses
                sustained from an event arising from the 2019 Coronavirus
                (COVID-19).

                                              ** *
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                  4. Closing of the whole or part of the Covered Property of
                  the Insured by order of a public authority consequent upon
                  the existence or threat of hazardous conditions either actual
                  or suspected at the Covered Property of the Insured.
           As ACE advised in the May 21, 2021 letter, there is no coverage under
    subparagraph 20.h. (4). To trigger coverage under this subparagraph, issuance of an
    order of a public authority consequent upon certain conditions either actual or
    suspected at Covered Property of the Insured is required. The Executive Orders
    referred to by Callaway were not issued because of any conditions at Callaway's
    property. Instead, the orders were issued as a general response to COVID-19 cases in
    Georgia and were intended to curb the growth of COVID-19 cases in Georgia generally.
           Callaway asserts that the language of the orders encompasses Callaway's
    property because the orders are written in broad language. Subparagraph 20.h. (4),
    however, does not provide coverage on such a broad basis. Subparagraph 20.h.(4)
    applies when there has been a "Closing of the whole or part of the Covered Property of
    the Insured by order of a public authority consequent upon the existence or threat of
    hazardous conditions either actual or suspected at the Covered Property." The orders
    referred to by Callaway were not issued because of the existence or threat of any
    condition at Callaway Gardens.
           Moreover, the Executive Orders did not close the Covered Property. Restrictions
    on use do not constitute a total or partial closure. In its May 26 letter, Callaway states
    that"Order 04.08.20.04 addresses the specific limitation around Short Term Rentals." By
    its terms, however, the limitations concerning "Vacation Rentals" contained in this
    order do not apply to "hotels" and "extended stay hotels" as defined by the Rules and
    Regulations of the State of Georgia.
           Even if the orders referred to by Callaway did close the Covered Property, such
    closure would not trigger coverage under subparagraph 20.h.(4) because subparagraph
    20.h.(4) does not apply to "infectious or contagious disease." Subparagraph 20.h. (1) of
    the Loss of Attraction provision provides coverage, subject to the terms of the ACE
   Policy, for interruption of business as a consequence of "contagious or infectious
    disease," and identifies the specific requirements under which infectious or contagious
    disease may be covered. Among other requirements, the infectious or contagious
    disease must be manifested by a person while on the insured's property. Moreover, in
    the ACE Policy, coverage for infectious or contagious disease under subparagraph 20.h.
   (1) of the Loss of Attraction provision expressly excludes coronavirus/COVID-19.
    Callaway, however,expressly does not seek coverage under subparagraph 20.h (1).
          Subparagraph 20.h (4) does not refer to "contagious or infectious disease," but
   instead expressly refers to "hazardous conditions." Thus the ACE Policy clearly
   differentiates between "contagious or infectious disease" on the one hand, and
   "hazardous conditions" on the other. To include infectious or contagious disease, such
   as COVID-19, within the scope of subparagraph 20.h. (4) renders the differentiation
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    between the two provisions meaningless, which is not a reasonable interpretation of the
    ACE Policy.


           If Callaway has any information that it believes would alter ACE's coverage
    position, please forward it to us for further evaluation. ACE will review the information
    without prejudice to its denial, which denial remains effective unless we notify you in
    writing of a change in their position. To the extent Callaway seeks coverage under any
    other provisions in the ACE Policy, ACE requests that Callaway so state in writing and
    that Callaway provide responses to the requests for information in the March 30, 2021
    letter. ACE continues to reserve all rights with respect to all other provisions in the
    ACE Policy, as set forth in the March 30, 2021 letter.
           This letter is not, and should not be construed as, a waiver of any terms,
    conditions, exclusions or other provisions of the ACE Policy or any rights or defenses
    under the ACE Policy. ACE expressly reserves all rights under the ACE Policy,
    including the right to amend the above disclaimer to include any additional grounds for
    disclaimer of coverage. All rights are reserved.
           If you should have any questions, please do not hesitate to contact me.

    Very truly yours,

    Sedgwick,Inc.

           6geg*tee.
    Connor Crawford
    National General Adjuster


    Cc:    Charles McAninley, Sedgwick
           Tammy Glaser, Resort Hotel Association
           Kristin Kronick, Alliant
           Jesse McCoy,Palmer and Cay
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                                                                     sedgwick®
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                                                                            Philadelphia,PA 19103
                                                                                 T:(215)832-0322
                                                                                 F:(215)832-0328


    October 15, 2021


    Ms. Lisa Zumbrum
    Director, Risk Management
    Herschend Family Entertainment Corporation
    100 Meadow View Lane
    Pine Mountains, GA 31822

    Sent Via E-Mail -1'Wr.tunitifian@lt.can earn
                                             .


           Re::          Insured:                Resort Hotel Association -
                                                 Callaway Gardens Resort
                        Sedgwick File No.:       PHI-20106580
                        ACE American Claim No.: KY20K226049X
                        ACE American Policy No.: GPA D42219174 003(US)
                        Allied World Claim No.: P014353/010-001
                        Allied World Policy No.: PG2012221
                        Date Of Loss             ketiortta-- Math-23-2020'

    Dear Ms.Zumbrum,

          I write in response to your September 27, 2021 letter which you sent on behalf of
    Callaway Gardens Resort("Callaway").
           Sedgwick has been retained in connection with the above-referenced claim by the
    insurers providing first-party property coverage to Callaway for the policy period
    March 8, 2020 through March 8, 2021. This letter is issued on behalf of ACE American
    Insurance Company ("ACE") and Allied World Assurance Company ("Allied World")
   (collectively, the "Insurers"), pursuant to the policies issued by each of them in the
    March 8, 2020 through March 8, 2021 policy period.1 The only authorized
   communications concerning coverage are those communications in writing from the
    Insurers or ones - such as this letter - which expressly state that they have authorized
    the writing on its behalf. Sedgwick is responsible to gather and confirm factual
    information sufficient to permit the Insurers to evaluate whether coverage is afforded


    1 Each of ACE and Allied issued, severally, its own policy in this policy period. For
    purposes of convenience, their policies are collectively referred to as the Policy.
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    under the Policy and to ascertain the amounts that are claimed and can be supported. It
    is the Insurers alone, and not Sedgwick or any other individual or entity, which have
    the authority to accept or deny coverage under the Policy.
           For the reasons discussed below, and the reasons set forth in the letters of May
    21, 2021 and September 15, 2021, which are incorporated herein by reference, the
    Insurers' position remains that there is no coverage under sub-paragraph 20.h.4 for
    Callaway's claim.2
          As the Insurers have previously stated, all of the possibly applicable coverages
    provided by the Policy, other than the Loss of Attraction coverage, require direct
    physical loss of or damage to Covered Property to trigger coverage. Callaway has not
    demonstrated any physical loss or damage. Thus, no coverage other than the Loss of
    Attraction coverage is at issue.
           Callaway seeks coverage based on the threat of COVID-19, which is an infectious
    or contagious disease, at its Covered Property. The Policy, however, does not provide
    coverage for the threat of an infectious or contagious disease at Callaway's property.
    The Policy only provides coverage in the event of an actual manifestation of an
    infectious or contagious disease by a person on the premises of the insured. This is
    made clear in sub-paragraph 20.h (1).3
          Callaway, however,interprets sub-paragraph 20.h (4) to dramatically expand the
    coverage provided for infectious or contagious disease. Callaway's position is that sub-
    paragraph 20.h.4 applies to the threat of, or suspected presence of, infectious Or
    contagious disease at its property.
          As the Insurers have previously stated, Callaway's interpretation is
   unreasonable. Sub-paragraph 20.h (4) does not contain the phrase "infectious Or
   contagious disease". Sub-paragraph 20.h (4) uses the phrase "hazardous conditions".
   Callaway asserts that the phrase "hazardous conditions", in isolation, arguably includes
   "infectious or contagious disease." That cannot be so with regard to the Policy, because
   the Policy uses the phrase "infectious or contagious disease" in sub-paragraph 20.h (1),
   but uses the entirely different phrase "hazardous conditions" in sub-paragraph 20.h (4).
   Thus, in this instance, the phrase "hazardous conditions" cannot be interpreted to
   include "infectious or contagious disease".
           Moreover, the effect of Callaway's proposed interpretation would be to
    exponentially increase the coverage for infectious or contagious disease. Sub-paragraph
    20.h (1), subject to the Policy provisions, expressly limits coverage for infectious or
    contagious disease to the actual manifestation of infectious or contagious disease while
    a person is on the Covered Property. As Callaway agrees, there is no coverage provided
    in sub-paragraph 20.h (1) for the threat of infectious or contagious disease either actual

    2 Alliedhereby joins in the September 15, 2021 letter issued by ACE.
    3 Inthis instance, as Callaway acknowledges, sub-section 20.h.1 does not apply because
    of the COVID-19 carve-out.
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    or expected at the Covered Premises. Yet Callaway's interpretation of sub-paragraph
    20.h (4) would have the exact effect of creating such coverage.
          Further, Callaway's interpretation would render sub-paragraph 20.h (1)
    surplusage. Sub-paragraph 20.h (1) provides coverage solely for the actual
    manifestation of infectious or contagious disease on the Covered Property. Sub-
    paragraph 20.h (4) applies to the actual existence of "hazardous conditions" at the
    Covered Property. If the phrase "hazardous conditions" were interpreted to include
    COVID-19, then sub-paragraph 20.h (1) would be useless because it would be
    completely subsumed by sub-paragraph 20.h (4).
           Moreover, Callaway's interpretation of sub-paragraph 20.h (4) would eviscerate
    the exclusion for COVID-19 coverage. Sub-paragraph 20.h (1), in accordance with its
    terms, expressly excludes coverage for COVID-19. Thus, the intent is clearly to
    eliminate infectious or contagious disease coverage for COVID-19. Interpreting
    "hazardous conditions" to include COVID-19 effectively eliminates that exclusion.
             Your September 27, 2021 letter states that Callaway has villas and cottages that
    are sold to residents and rented as "Vacation Rentals". This statement does not appear
    to bring such properties within the scope of Georgia Executive Order 04.08.20.04. Even
    if it did, there would still be no coverage under sub-paragraph 20.h (4).
          For these reasons, and the reasons set forth in the May 21, 2021 and September
    15,2021 letters, there is no coverage under sub-paragraph 20.h (4)for Callaway's claim.
          If Callaway has any information that it believes would alter the Insurers'
    coverage position, please forward it to us for further evaluation. The Insurers will
    review the information without prejudice to their denial, which denial remains effective
    unless we notify you in writing of a change in their position. To the extent Callaway
    seeks coverage under any other provisions in the Policy, the Insurers request that
    Callaway so state in writing and that Callaway provide responses to the requests for
    information in the March 30, 2021 letter. The Insurers continue to reserve all rights with
    respect to all other provisions in the Policy, as set forth in the March 30, 2021 letter.
           This letter is not, and should not be construed as, a waiver of any terms,
    conditions, exclusions or other provisions of the Policy or any rights or defenses under
    the Policy. The Insurers expressly reserve all rights under the Policy, including the
    right to amend the above disclaimer to include any additional grounds for disclaimer of
    coverage. All rights are reserved.


          If you should have any questions, please do not hesitate to contact me.
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    Very truly yours,


    Sedgwick,Inc.



    Connor Crawford
    National General Adjuster


    Ce:i   Charles McAninley, Sedgwick
           Tammy Glaser, Resort Hotel Association
           Kristin Kronick, Alliant
           Jesse McCoy,Palmer and Cay
